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 RI WKDW FHUWDLQ Senior Secured, Super-Priority Debtor-In-Possession Credit Agreement DV WKH

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 Declaration of David Kurtz in Support of the Debtors’ Emergency Motion for Entry of Interim

 and Final Orders (I) Authorizing the Debtors to Obtain Postpetition Financing, (ii) Authorizing



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 the Debtors to Use Cash Collateral, (iii) Granting Liens and Providing Superpriority

 Administrative Expense Status, (iv) Granting Adequate Protection to the Prepetition Lenders, (v)

 Modifying the Automatic Stay, (vi) Scheduling a Final Hearing, and (vii) Granting Related

 Relief, WKH Declaration of James A. Mesterharm, Chief Restructuring Officer of the Gymboree

 Corporation, in Support of the Debtors’ Emergency Motion for Entry of Interim and Final

 Orders (I) Authorizing the Debtors to Obtain Postpetition Financing, (ii) Authorizing the

 Debtors to Use Cash Collateral, (iii) Granting Liens and Providing Superpriority Administrative

 Expense Status, (iv) Granting Adequate Protection to the Prepetition Lenders, (v) Modifying the

 Automatic Stay, (vi) Scheduling a Final Hearing, and (vii) Granting Related Relief, DQG WKH

 Declaration of James A. Mesterharm, Chief Restructuring Officer of The Gymboree

 Corporation, in Support of Chapter 11 Petitions and First Day Motions WKH ',3 'RFXPHQWV

 DQGWKHHYLGHQFHVXEPLWWHGDQGDUJXPHQWPDGHDWWKHLQWHULPKHDULQJKHOGRQ-XQH WKH

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 Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and

 Providing Superpriority Administrative Expense Status, (IV) Granting Adequate Protection to

 the Prepetition Lenders, (V) Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and

 (VII) Granting Related Relief RQ -XQH   >'RFNHW 1R @ WKH ³,QWHULP 2UGHU´  DQG

 QRWLFH RI WKH )LQDO +HDULQJ KDYLQJ EHHQ JLYHQ LQ DFFRUGDQFH ZLWK %DQNUXSWF\ 5XOHV 

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 (DVWHUQ 'LVWULFW RI 9LUJLQLD WKH ³/RFDO 5XOHV´  DQG WKH )LQDO +HDULQJ KDYLQJ EHHQ KHOG DQG

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 UHTXHVWHG LQ WKH ',3 0RWLRQ RQ D ILQDO EDVLV LV QHFHVVDU\ WR DYRLG LPPHGLDWH DQG LUUHSDUDEOH

 KDUP WR WKH 'HEWRUV DQG WKHLU HVWDWHV DQG RWKHUZLVH LV IDLU DQG UHDVRQDEOH DQG LQ WKH EHVW

 LQWHUHVWVRIWKH'HEWRUVWKHLUHVWDWHVDQGDOOSDUWLHVLQLQWHUHVWDQGLVHVVHQWLDOIRUWKHFRQWLQXHG

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 FRQFOXVLRQV RI ODZ SXUVXDQW WR %DQNUXSWF\ 5XOH  PDGH DSSOLFDEOH WR WKLV SURFHHGLQJ SXUVXDQW WR
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                                 Prepetition ABL Facility  3XUVXDQW WR WKDW FHUWDLQ &UHGLW

 $JUHHPHQW GDWHG DV RI 0DUFK   DV DPHQGHG UHVWDWHG VXSSOHPHQWHG RU RWKHUZLVH

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 WKH³3UHSHWLWLRQ$%/7HUP$JHQW´DQGWRJHWKHUZLWKWKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQW

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 3UHSHWLWLRQ $%/ $JUHHPHQW DQG DOO LQWHUHVW IHHV SUHSD\PHQW SUHPLXPV FRVWV DQG RWKHU

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                                 Prepetition ABL Liens and Prepetition ABL Priority Collateral

 $V PRUH IXOO\ VHW IRUWK LQ WKH 3UHSHWLWLRQ $%/ 'RFXPHQWV SULRU WR WKH 3HWLWLRQ 'DWH WKH

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 OLHQV RI WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW RQ WKH 3UHSHWLWLRQ 7HUP 3ULRULW\ &ROODWHUDO DQG

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 XQGHUWKH3UHSHWLWLRQ7HUP/RDQ)DFLOLW\ZDV FROOHFWLYHO\WRJHWKHUZLWKDFFUXHG

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 DFFRXQWDQWV¶ IHHV DSSUDLVHUV¶ IHHV DQG ILQDQFLDO DGYLVRUV¶ IHHV DQG UHODWHG H[SHQVHV DQG

 GLVEXUVHPHQWV LQGHPQLILFDWLRQREOLJDWLRQVDQGRWKHUFKDUJHVDPRXQWVDQGFRVWVRIZKDWHYHU

 QDWXUH RZLQJ ZKHWKHU RU QRW FRQWLQJHQW ZKHQHYHU DULVLQJ DFFUXHG DFFUXLQJ GXH RZLQJ RU

 FKDUJHDEOHLQUHVSHFWRIDQ\RIWKH3UHSHWLWLRQ7HUP/RDQ%RUURZHU¶VDQGWKH3UHSHWLWLRQ7HUP

 /RDQ *XDUDQWRUV¶ REOLJDWLRQV SXUVXDQW WR WKH 3UHSHWLWLRQ 7HUP /RDQ 'RFXPHQWV LQFOXGLQJ DOO

 ³2EOLJDWLRQV´ DV GHILQHG LQ WKH 3UHSHWLWLRQ 7HUP /RDQ $JUHHPHQW DQG DOO LQWHUHVW IHHV FRVWV

 DQGRWKHUFKDUJHVDOORZDEOHXQGHU6HFWLRQ E RIWKH%DQNUXSWF\&RGHWKH³3UHSHWLWLRQ7HUP

 /RDQ2EOLJDWLRQV´DQGWRJHWKHUZLWKWKH3UHSHWLWLRQ$%/2EOLJDWLRQVWKH³3UHSHWLWLRQ6HFXUHG

 2EOLJDWLRQV´ 

                                 Prepetition Term Loan Liens and Prepetition Term Priority

 Collateral$VPRUHIXOO\VHWIRUWKLQWKH3UHSHWLWLRQ7HUP/RDQ'RFXPHQWVSULRUWRWKH3HWLWLRQ

 'DWHWKH3UHSHWLWLRQ7HUP/RDQ%RUURZHUDQGWKH3UHSHWLWLRQ7HUP/RDQ*XDUDQWRUVJUDQWHGWR

 WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW IRU WKH EHQHILW RI LWVHOI DQG WKH 3UHSHWLWLRQ 7HUP /RDQ

 /HQGHUV D VHFXULW\ LQWHUHVW LQ DQG FRQWLQXLQJ OLHQ RQ WKH ³3UHSHWLWLRQ 7HUP /RDQ /LHQV´ DQG

 WRJHWKHUZLWKWKH3UHSHWLWLRQ$%//LHQVWKH³3UHSHWLWLRQ/LHQV´ VXEVWDQWLDOO\DOORIWKHLUDVVHWV

 DQG SURSHUW\ ZLWK FHUWDLQ H[FHSWLRQV VHW RXW LQ WKH 3UHSHWLWLRQ 7HUP /RDQ 'RFXPHQWV 

 LQFOXGLQJ D  D ILUVW SULRULW\ VHFXULW\ LQWHUHVW LQ DQG FRQWLQXLQJ OLHQ RQ WKH 3UHSHWLWLRQ 7HUP

 3ULRULW\ &ROODWHUDO DQG E  D VHFRQG SULRULW\ VHFXULW\ LQWHUHVW LQ DQG FRQWLQXLQJ OLHQ RQ WKH

 3UHSHWLWLRQ $%/ 3ULRULW\ &ROODWHUDO VXEMHFW RQO\ WR WKH OLHQV RI WKH 3UHSHWLWLRQ $%/

 $GPLQLVWUDWLYH $JHQW RQ WKH 3UHSHWLWLRQ $%/ 3ULRULW\ &ROODWHUDO DQG 3UHSHWLWLRQ 7HUP /RDQ

 3HUPLWWHG3ULRU/LHQV DVGHILQHGKHUHLQ 



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                                   Priority of Prepetition Liens; Intercreditor Agreement.  7KH

 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW DQG WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW HQWHUHG LQWR WKDW

 FHUWDLQ,QWHUFUHGLWRU$JUHHPHQWGDWHGDVRI1RYHPEHU DVVXSSOHPHQWHGDQGPRGLILHG

 E\ WKDW FHUWDLQ $FNQRZOHGJPHQW DQG $JUHHPHQW GDWHG DV RI -XQH   DQG DV PD\ EH

 IXUWKHUDPHQGHGUHVWDWHGVXSSOHPHQWHGRURWKHUZLVHPRGLILHGLQDFFRUGDQFHZLWKLWVWHUPVWKH

 ³,QWHUFUHGLWRU $JUHHPHQW´  WR JRYHUQ WKH UHVSHFWLYH ULJKWV LQWHUHVWV REOLJDWLRQV SULRULW\ DQG

 SRVLWLRQV RI WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV ZLWK UHVSHFW WR WKH DVVHWV DQG SURSHUWLHV RI WKH

 'HEWRUVDQGRWKHUREOLJRUV(DFKRIWKH3UHSHWLWLRQ%RUURZHUVDQG3UHSHWLWLRQ*XDUDQWRUVXQGHU

 WKH3UHSHWLWLRQ'RFXPHQWVDFNQRZOHGJHGDQGDJUHHGWRWKH,QWHUFUHGLWRU$JUHHPHQW

                                   Validity, Perfection, and Priority of Prepetition ABL Liens and

 Prepetition ABL Obligations. 7KH'HEWRUVDFNQRZOHGJHDQGDJUHHWKDWDVRIWKH3HWLWLRQ'DWH

  D WKH3UHSHWLWLRQ$%//LHQVRQWKH3UHSHWLWLRQ&ROODWHUDOZHUHYDOLGELQGLQJHQIRUFHDEOHQRQ

 DYRLGDEOHDQGSURSHUO\SHUIHFWHGDQGZHUHJUDQWHGWRRUIRUWKHEHQHILWRIWKH3UHSHWLWLRQ$%/

 3DUWLHV IRU IDLU FRQVLGHUDWLRQ DQG UHDVRQDEO\ HTXLYDOHQW YDOXH E  WKH 3UHSHWLWLRQ $%/ /LHQV

 ZHUHVHQLRULQSULRULW\RYHUDQ\DQGDOORWKHUOLHQVRQWKH3UHSHWLWLRQ&ROODWHUDOVXEMHFWRQO\WR

   WKH3UHSHWLWLRQ7HUP/RDQ/LHQVRQWKH3UHSHWLWLRQ7HUP3ULRULW\&ROODWHUDODQG  FHUWDLQ

 OLHQV RWKHUZLVH SHUPLWWHG E\ WKH 3UHSHWLWLRQ $%/ 'RFXPHQWV VROHO\ WR WKH H[WHQW DQ\ VXFK

 SHUPLWWHG OLHQV ZHUH YDOLG SURSHUO\ SHUIHFWHG QRQDYRLGDEOH DQG VHQLRU LQ SULRULW\ WR WKH

 3UHSHWLWLRQ$%//LHQVDVRIWKH3HWLWLRQ'DWHWKH³3UHSHWLWLRQ$%/3HUPLWWHG3ULRU/LHQV´  F 

 WKH 3UHSHWLWLRQ $%/ 2EOLJDWLRQV FRQVWLWXWH OHJDO YDOLG ELQGLQJ DQG QRQDYRLGDEOH REOLJDWLRQV

 RI WKH 'HEWRUV HQIRUFHDEOH LQ DFFRUGDQFH ZLWK WKH WHUPV RI WKH DSSOLFDEOH 3UHSHWLWLRQ $%/

 'RFXPHQWV G  QR RIIVHWV UHFRXSPHQWV FKDOOHQJHV REMHFWLRQV GHIHQVHV FODLPV RU

 FRXQWHUFODLPV RI DQ\ NLQG RU QDWXUH WR DQ\ RI WKH 3UHSHWLWLRQ $%/ /LHQV RU 3UHSHWLWLRQ $%/



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 2EOLJDWLRQVH[LVWDQGQRSRUWLRQRIWKH3UHSHWLWLRQ$%//LHQVRU3UHSHWLWLRQ$%/2EOLJDWLRQVLV

 VXEMHFW WR DQ\ FKDOOHQJH RU GHIHQVH LQFOXGLQJ DYRLGDQFH GLVDOORZDQFH GLVJRUJHPHQW

 UHFKDUDFWHUL]DWLRQRUVXERUGLQDWLRQ HTXLWDEOHRURWKHUZLVH SXUVXDQWWRWKH%DQNUXSWF\&RGHRU

 DSSOLFDEOH QRQEDQNUXSWF\ ODZ H  WKH 'HEWRUV DQG WKHLU HVWDWHV KDYH QR FODLPV REMHFWLRQV

 FKDOOHQJHVFDXVHVRIDFWLRQDQGRUFKRVHVLQDFWLRQLQFOXGLQJDYRLGDQFHFODLPVXQGHU&KDSWHU

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 DJHQWVDWWRUQH\VDGYLVRUVSURIHVVLRQDOVRIILFHUVGLUHFWRUVDQGHPSOR\HHVDULVLQJRXWRIEDVHG

 XSRQ RU UHODWHG WR WKH 3UHSHWLWLRQ $%/ )DFLOLW\ I  WKH 'HEWRUV KDYH ZDLYHG GLVFKDUJHG DQG

 UHOHDVHG DQ\ ULJKW WR FKDOOHQJH DQ\ RI WKH 3UHSHWLWLRQ $%/ 2EOLJDWLRQV WKH SULRULW\ RI WKH

 'HEWRUV¶ REOLJDWLRQV WKHUHXQGHU DQG WKH YDOLGLW\ H[WHQW DQG SULRULW\ RI WKH OLHQV VHFXULQJ WKH

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 VHFXUHGFODLPVZLWKLQWKHPHDQLQJRIVHFWLRQVDQGRIWKH%DQNUXSWF\&RGH

                                 Validity, Perfection, and Priority of Prepetition Term Loan Liens

 and Prepetition Term Loan Obligations. 7KH'HEWRUVIXUWKHUDFNQRZOHGJHDQGDJUHHWKDWDVRI

 WKH3HWLWLRQ'DWH D WKH3UHSHWLWLRQ7HUP/RDQ/LHQVRQWKH3UHSHWLWLRQ&ROODWHUDOZHUHYDOLG

 ELQGLQJ HQIRUFHDEOH QRQDYRLGDEOH DQG SURSHUO\ SHUIHFWHG DQG ZHUH JUDQWHG WR RU IRU WKH

 EHQHILW RI WKH 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV IRU IDLU FRQVLGHUDWLRQ DQG UHDVRQDEO\ HTXLYDOHQW

 YDOXH E WKH3UHSHWLWLRQ7HUP/RDQ/LHQVZHUHVHQLRULQSULRULW\RYHUDQ\DQGDOORWKHUOLHQVRQ

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 3ULRULW\ &ROODWHUDO DQG   FHUWDLQ OLHQV RWKHUZLVH SHUPLWWHG E\ WKH 3UHSHWLWLRQ 7HUP /RDQ

 'RFXPHQWV VROHO\ WR WKH H[WHQW DQ\ VXFK SHUPLWWHG OLHQV ZHUH YDOLG SURSHUO\ SHUIHFWHG QRQ

 DYRLGDEOHDQGVHQLRULQSULRULW\WRWKH3UHSHWLWLRQ7HUP/RDQ/LHQVDVRIWKH3HWLWLRQ'DWHWKH



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 ³3UHSHWLWLRQ7HUP/RDQ3HUPLWWHG3ULRU/LHQV´DQGWRJHWKHUZLWKWKH3UHSHWLWLRQ$%/3HUPLWWHG

 3ULRU/LHQVWKH³3HUPLWWHG3ULRU/LHQV´  F WKH3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQVFRQVWLWXWH

 OHJDO YDOLG ELQGLQJ DQG QRQDYRLGDEOH REOLJDWLRQV RI WKH 'HEWRUV HQIRUFHDEOH LQ DFFRUGDQFH

 ZLWKWKHWHUPVRIWKHDSSOLFDEOH3UHSHWLWLRQ7HUP/RDQ'RFXPHQWV G QRRIIVHWVUHFRXSPHQWV

 FKDOOHQJHV REMHFWLRQV GHIHQVHV FODLPV RU FRXQWHUFODLPV RI DQ\ NLQG RU QDWXUH WR DQ\ RI WKH

 3UHSHWLWLRQ7HUP/RDQ/LHQVRU3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQVH[LVWDQGQRSRUWLRQRIWKH

 3UHSHWLWLRQ7HUP/RDQ/LHQVRU3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQVLVVXEMHFWWRDQ\FKDOOHQJHRU

 GHIHQVH LQFOXGLQJ DYRLGDQFH GLVDOORZDQFH GLVJRUJHPHQW UHFKDUDFWHUL]DWLRQ RU VXERUGLQDWLRQ

     HTXLWDEOHRURWKHUZLVH SXUVXDQWWRWKH%DQNUXSWF\&RGHRUDSSOLFDEOHQRQEDQNUXSWF\ODZ H 

 WKH 'HEWRUV DQG WKHLU HVWDWHV KDYH QR FODLPV REMHFWLRQV FKDOOHQJHV FDXVHV RI DFWLRQ DQGRU

 FKRVHV LQ DFWLRQ LQFOXGLQJ DYRLGDQFH FODLPV XQGHU &KDSWHU  RI WKH %DQNUXSWF\ &RGH RU

 DSSOLFDEOH VWDWH ODZ HTXLYDOHQWV RU DFWLRQV IRU UHFRYHU\ RU GLVJRUJHPHQW DJDLQVW DQ\ RI WKH

 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV RU DQ\ RI WKHLU UHVSHFWLYH DIILOLDWHV DJHQWV DWWRUQH\V DGYLVRUV

 SURIHVVLRQDOV RIILFHUV GLUHFWRUV DQG HPSOR\HHV DULVLQJ RXW RI EDVHG XSRQ RU UHODWHG WR WKH

 3UHSHWLWLRQ7HUP/RDQ)DFLOLW\ I WKH'HEWRUVKDYHZDLYHGGLVFKDUJHGDQGUHOHDVHGDQ\ULJKW

 WR FKDOOHQJH DQ\ RI WKH 3UHSHWLWLRQ 7HUP /RDQ 2EOLJDWLRQV WKH SULRULW\ RI WKH 'HEWRUV¶

 REOLJDWLRQVWKHUHXQGHUDQGWKHYDOLGLW\H[WHQWDQGSULRULW\RIWKHOLHQVVHFXULQJWKH3UHSHWLWLRQ

 7HUP /RDQ 2EOLJDWLRQV DQG J  WKH 3UHSHWLWLRQ 7HUP /RDQ 2EOLJDWLRQV FRQVWLWXWH DOORZHG

 VHFXUHGFODLPVZLWKLQWKHPHDQLQJRIVHFWLRQVDQGRIWKH%DQNUXSWF\&RGH

                                               Release7KH'HEWRUVKHUHE\VWLSXODWHDQGDJUHHWKDWWKH\IRUHYHU

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 IRUPHU DQG FXUUHQW ',3 /HQGHUV DQG HDFK RI WKHLU UHVSHFWLYH VXFFHVVRUV DVVLJQV DIILOLDWHV

 VXEVLGLDULHV SDUHQWV RIILFHUV VKDUHKROGHUV GLUHFWRUV HPSOR\HHV DWWRUQH\V DQG DJHQWV SDVW

 SUHVHQWDQGIXWXUHDQGWKHLUUHVSHFWLYHKHLUVSUHGHFHVVRUVVXFFHVVRUVDQGDVVLJQV FROOHFWLYHO\

 WKH³5HOHDVHHV´ RIDQGIURPDQ\DQGDOOFODLPVFRQWURYHUVLHVGLVSXWHVOLDELOLWLHVREOLJDWLRQV

 GHPDQGV GDPDJHV H[SHQVHV LQFOXGLQJ UHDVRQDEOH DWWRUQH\V¶ IHHV  GHEWV OLHQV DFWLRQV DQG

 FDXVHVRIDFWLRQRIDQ\DQGHYHU\QDWXUHZKDWVRHYHUUHODWLQJWRDVDSSOLFDEOHWKH',3)DFLOLWLHV

 WKH ',3 'RFXPHQWV WKH 3UHSHWLWLRQ 6HFXUHG )DFLOLWLHV WKH 3UHSHWLWLRQ 'RFXPHQWV DQGRU WKH

 WUDQVDFWLRQV FRQWHPSODWHG KHUHXQGHU RU WKHUHXQGHU DULVLQJ EHIRUH HQWU\ RI WKLV )LQDO 2UGHU

 LQFOXGLQJ [  DQ\ VRFDOOHG ³OHQGHU OLDELOLW\´ RU HTXLWDEOH VXERUGLQDWLRQ RU UHFKDUDFWHUL]DWLRQ

 FODLPV RU GHIHQVHV \  DQ\ DQG DOO FODLPV DQG FDXVHV RI DFWLRQ DULVLQJ XQGHU WKH %DQNUXSWF\

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 SHUIHFWLRQRUDYRLGDELOLW\RIWKHOLHQVRUFODLPVRIWKH3UHSHWLWLRQ$JHQWVWKH3UHSHWLWLRQ6HFXUHG

 3DUWLHVWKH',3$JHQWVDQGWKH',3/HQGHUV7KH'HEWRUVIXUWKHUZDLYHDQGUHOHDVHDQ\GHIHQVH

 ULJKW RI FRXQWHUFODLP ULJKW RI VHWRII RU GHGXFWLRQ WR WKH SD\PHQW RI WKH 3UHSHWLWLRQ 6HFXUHG

 2EOLJDWLRQV DQG WKH ',3 2EOLJDWLRQV ZKLFK WKH 'HEWRUV PD\ QRZ KDYH RU PD\ FODLP WR KDYH

 DJDLQVWWKH5HOHDVHHVDULVLQJRXWRIFRQQHFWHGZLWKRUUHODWLQJWRDQ\DQGDOODFWVRPLVVLRQVRU

 HYHQWVRFFXUULQJSULRUWRWKLV&RXUWHQWHULQJWKLV)LQDO2UGHU

                                 Default by the Debtors. 7KH 'HEWRUV DFNQRZOHGJH DQG VWLSXODWH

 WKDWWKH\KDYHEHHQDQGDUHLQGHIDXOWRIWKHLUREOLJDWLRQVXQGHUWKH3UHSHWLWLRQ'RFXPHQWVDQG

 WKDWDVDUHVXOWRIWKH&DVHVDQ(YHQWRI'HIDXOWKDVRFFXUUHGXQGHUWKH3UHSHWLWLRQ'RFXPHQWV

 $VRIWKH3HWLWLRQ'DWHWKHUHIRUHLQWHUHVWZDVDFFUXLQJRQWKH3UHSHWLWLRQ6HFXUHG2EOLJDWLRQVDW

 WKHGHIDXOWUDWH

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 E\WKLV&RXUWWKDWDQ\DOOHJHG3HUPLWWHG3ULRU/LHQLVYDOLGVHQLRUHQIRUFHDEOHSULRUSHUIHFWHG

 RU QRQDYRLGDEOH  0RUHRYHU QRWKLQJ VKDOO SUHMXGLFH WKH ULJKWV RI DQ\ SDUW\LQLQWHUHVW

 LQFOXGLQJ EXW QRW OLPLWHG WR WKH 'HEWRUV WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW WKH ',3 7HUP

 /RDQ$JHQWWKH3UHSHWLWLRQ6HFXUHG3DUWLHVRUWKH&RPPLWWHHWRFKDOOHQJHWKHYDOLGLW\SULRULW\

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 DQGRU VHFXULW\ LQWHUHVWV  7KH ULJKW RI D VHOOHU RI JRRGV WR UHFODLP VXFK JRRGV XQGHU VHFWLRQ

  F  RI WKH %DQNUXSWF\ &RGH LV QRW D 3HUPLWWHG 3ULRU /LHQ DQG LV H[SUHVVO\ VXEMHFW WR WKH

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 3DUWLHV

                   ,    ,QWHUFUHGLWRU $JUHHPHQW  3XUVXDQW WR VHFWLRQ  RI WKH %DQNUXSWF\

 &RGH WKH ,QWHUFUHGLWRU $JUHHPHQW DQG DQ\ RWKHU DSSOLFDEOH LQWHUFUHGLWRU RU VXERUGLQDWLRQ

 SURYLVLRQVFRQWDLQHGLQDQ\RIWKH3UHSHWLWLRQ'RFXPHQWV L VKDOOUHPDLQLQIXOOIRUFHDQGHIIHFW

  LL VKDOOFRQWLQXHWRJRYHUQWKHUHODWLYHSULRULWLHVULJKWVDQGUHPHGLHVRIWKH3UHSHWLWLRQ6HFXUHG

 3DUWLHV LQFOXGLQJWKHUHODWLYHSULRULWLHVULJKWVDQGUHPHGLHVRIVXFKSDUWLHVZLWKUHVSHFWWRWKH

 UHSODFHPHQW OLHQV DQG DGPLQLVWUDWLYH H[SHQVH FODLPV DQG VXSHUSULRULW\ DGPLQLVWUDWLYH H[SHQVH

 FODLPVJUDQWHGRUDPRXQWVSD\DEOHE\WKH'HEWRUVXQGHUWKLV)LQDO2UGHURURWKHUZLVHDQGWKH

 PRGLILFDWLRQ RI WKH DXWRPDWLF VWD\  DQG LLL  VKDOO QRW EH GHHPHG WR EH DPHQGHG DOWHUHG RU

 PRGLILHG E\ WKH WHUPV RI WKLV )LQDO 2UGHU RU WKH ',3 'RFXPHQWV XQOHVV H[SUHVVO\ VHW IRUWK

 KHUHLQ RU WKHUHLQ  7KH ',3 $%/ &UHGLW )DFLOLW\ LV GHHPHG D ³UHILQDQFLQJ´ RI WKH 3UHSHWLWLRQ

 $%/ )DFLOLW\ DV VXFK WHUP LV XVHG LQ WKH ,QWHUFUHGLWRU $JUHHPHQW DQG WKH FRQYHUVLRQ RI WKH

 3UHSHWLWLRQ $%/ 2EOLJDWLRQV LQWR ',3 $%/ 2EOLJDWLRQV SXUVXDQW WR WKH ,QWHULP 2UGHU GLG QRW



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 FRQVWLWXWHD³'LVFKDUJHRI$%/2EOLJDWLRQV´ DVGHILQHGLQWKH,QWHUFUHGLWRU$JUHHPHQW 7KH

 ',37HUP/RDQ)DFLOLW\LVGHHPHGD³UHILQDQFLQJ´LQSDUWRIWKH3UHSHWLWLRQ7HUP/RDQ)DFLOLW\

 DV VXFK WHUP LV XVHG LQ WKH ,QWHUFUHGLWRU $JUHHPHQW DQG WKH FRQYHUVLRQ RI  RI WKH

 3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQVSXUVXDQWWRWKH,QWHULP2UGHUGLGQRWFRQVWLWXWHD³'LVFKDUJH

 RI 7HUP 2EOLJDWLRQV´ DV GHILQHG LQ WKH ,QWHUFUHGLWRU $JUHHPHQW   7KH 3UHSHWLWLRQ $%/

 $GPLQLVWUDWLYH $JHQW WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW

 DQG WKH ',3 7HUP /RDQ $JHQW DUH DOVR SDUW\ WR WKDW FHUWDLQ $FNQRZOHGJPHQW DQG $JUHHPHQW

 GDWHGDVRI-XQHZKLFKLVDFNQRZOHGJHGDQGDJUHHGWRE\WKH'HEWRUV

                   -   )LQGLQJV5HJDUGLQJ3RVWSHWLWLRQ)LQDQFLQJ

                                    Request for Postpetition Financing7KH'HEWRUVVHHNDXWKRULW\RQ

 DILQDOEDVLVWRFRQWLQXH D ERUURZLQJXQGHUWKH',3)DFLOLWLHVRQWKHWHUPVGHVFULEHGKHUHLQDQG

 LQWKH',3'RFXPHQWVDQG E XVLQJ&DVK&ROODWHUDORQWKHWHUPVGHVFULEHGKHUHLQWRDGPLQLVWHU

 WKHLU&DVHVDQGIXQGWKHLURSHUDWLRQV

                                    Priming of the Prepetition Liens  7KH SULPLQJ RI WKH 3UHSHWLWLRQ

 /LHQV RQ WKH 3UHSHWLWLRQ &ROODWHUDO XQGHU VHFWLRQ  G  RI WKH %DQNUXSWF\ &RGH DV

 FRQWHPSODWHGE\WKH',3)DFLOLWLHVDVDXWKRUL]HGE\WKH,QWHULP2UGHUDQGWKLV)LQDO2UGHUDQG

 DV IXUWKHU GHVFULEHG EHORZ ZLOO HQDEOH WKH 'HEWRUV WR FRQWLQXH ERUURZLQJ XQGHU WKH ',3

 )DFLOLWLHVDQGWRFRQWLQXHRSHUDWLQJWKHLUEXVLQHVVHVWRWKHEHQHILWRIWKHLUHVWDWHVDQGFUHGLWRUV

 7KH3UHSHWLWLRQ6HFXUHG3DUWLHVDUHHDFKHQWLWOHGWRUHFHLYHDGHTXDWHSURWHFWLRQDVVHWIRUWKLQWKH

 ,QWHULP 2UGHU DQG WKLV )LQDO 2UGHU SXUVXDQW WR VHFWLRQV   DQG  RI WKH %DQNUXSWF\

 &RGH IRU DQ\ 'LPLQXWLRQ LQ 9DOXH RI HDFK RI WKHLU UHVSHFWLYH LQWHUHVWV LQ WKH 3UHSHWLWLRQ

 &ROODWHUDO LQFOXGLQJ&DVK&ROODWHUDO 

                                    Need for Postpetition Financing and Use of Cash Collateral



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 6LQFH WKH 3HWLWLRQ 'DWH WKH 'HEWRUV KDYH KDG D QHHG WR XVH &DVK &ROODWHUDO DQG WR FRQWLQXH

 REWDLQLQJFUHGLWSXUVXDQWWRWKH',3)DFLOLWLHVLQRUGHUWRDPRQJRWKHUWKLQJVHQDEOHWKHRUGHUO\

 FRQWLQXDWLRQ RI WKHLU RSHUDWLRQV DQG WR DGPLQLVWHU DQG SUHVHUYH WKH YDOXH RI WKHLU HVWDWHV  7KH

 DELOLW\ RI WKH 'HEWRUV WR PDLQWDLQ EXVLQHVV UHODWLRQVKLSV ZLWK WKHLU YHQGRUV VXSSOLHUV DQG

 FXVWRPHUV WR SD\ WKHLU HPSOR\HHV DQG RWKHUZLVH ILQDQFH WKHLU RSHUDWLRQV UHTXLUHV WKH

 DYDLODELOLW\RIZRUNLQJFDSLWDOIURPWKH',3)DFLOLWLHVDQGWKHXVHRI&DVK&ROODWHUDOWKHDEVHQFH

 RI HLWKHU RI ZKLFK ZRXOG LPPHGLDWHO\ DQG LUUHSDUDEO\ KDUP WKH 'HEWRUV WKHLU HVWDWHV DQG

 SDUWLHVLQLQWHUHVW7KH'HEWRUVGRQRWKDYHVXIILFLHQWDYDLODEOHVRXUFHVRIZRUNLQJFDSLWDODQG

 ILQDQFLQJ WR RSHUDWH WKHLU EXVLQHVVHV RU PDLQWDLQ WKHLU SURSHUWLHV LQ WKH RUGLQDU\ FRXUVH RI

 EXVLQHVVZLWKRXWWKH',3)DFLOLWLHVDQGDXWKRUL]HGXVHRI&DVK&ROODWHUDO

                                  No Credit Available on More Favorable Terms  *LYHQ WKHLU

 FXUUHQWILQDQFLDOFRQGLWLRQILQDQFLQJDUUDQJHPHQWVDQGFDSLWDOVWUXFWXUHWKH'HEWRUVKDYHEHHQ

 DQGFRQWLQXHWREHXQDEOHWRREWDLQILQDQFLQJIURPVRXUFHVRWKHUWKDQWKH',3/HQGHUVRQWHUPV

 PRUH IDYRUDEOH WKDQ WKH ',3 )DFLOLWLHV  7KH 'HEWRUV DUH XQDEOH WR REWDLQ XQVHFXUHG FUHGLW

 DOORZDEOHXQGHU%DQNUXSWF\&RGHVHFWLRQ E  DVDQDGPLQLVWUDWLYHH[SHQVH7KH'HEWRUV

 KDYHDOVREHHQXQDEOHWRREWDLQ D XQVHFXUHGFUHGLWKDYLQJSULRULW\RYHUWKDWRIDGPLQLVWUDWLYH

 H[SHQVHVRIWKHNLQGVSHFLILHGLQVHFWLRQV E  D DQG E RIWKH%DQNUXSWF\&RGH E 

 FUHGLWVHFXUHGVROHO\E\DOLHQRQSURSHUW\RIWKH'HEWRUVDQGWKHLUHVWDWHVWKDWLVQRWRWKHUZLVH

 VXEMHFWWRDOLHQRU F FUHGLWVHFXUHGVROHO\E\DMXQLRUOLHQRQSURSHUW\RIWKH'HEWRUVDQGWKHLU

 HVWDWHVWKDWLVVXEMHFWWRDOLHQ)LQDQFLQJRQDSRVWSHWLWLRQEDVLVRQEHWWHUWHUPVLVQRWRWKHUZLVH

 DYDLODEOH ZLWKRXW JUDQWLQJ WKH ',3$%/ $GPLQLVWUDWLYH $JHQW DQGWKH',37HUP /RDQ$JHQW

 IRUWKHEHQHILWRIWKHPVHOYHVDQGWKH',3/HQGHUV  SHUIHFWHGVHFXULW\LQWHUHVWVLQDQGOLHQVRQ

  HDFKDVSURYLGHGKHUHLQ DOORIWKH'HEWRUV¶H[LVWLQJDQGDIWHUDFTXLUHGDVVHWVZLWKWKHSULRULWLHV



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 VHWIRUWKLQSDUDJUDSKRIWKH,QWHULP2UGHUDQGSDUDJUDSKKHUHRI  VXSHUSULRULW\FODLPVDQG

 OLHQVDQG  WKHRWKHUSURWHFWLRQVVHWIRUWKLQWKH,QWHULP2UGHUDQGWKLV)LQDO2UGHU

                                               Use of proceeds of the DIP Facilities$VDFRQGLWLRQWRHQWU\LQWR

 WKH',3$JUHHPHQWVWKHH[WHQVLRQRIFUHGLWXQGHUWKH',3)DFLOLWLHVDQGWKHDXWKRUL]DWLRQWRXVH

 &DVK&ROODWHUDOWKH',3$JHQWVWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHVUHTXLUHG

 DQGFRQWLQXHWRUHTXLUHDQGWKH'HEWRUVKDYHDJUHHGWKDWSURFHHGVRIWKH',3)DFLOLWLHVVKDOOEH

 XVHGLQHDFKFDVHLQDPDQQHUFRQVLVWHQWZLWKWKHWHUPVDQGFRQGLWLRQVRIWKH,QWHULP2UGHUWKLV

 )LQDO 2UGHU DQG WKH ',3 'RFXPHQWV DQG LQ DFFRUGDQFH ZLWK WKH EXGJHW DV WKH VDPH PD\ EH

 PRGLILHGIURPWLPHWRWLPHFRQVLVWHQWZLWKWKHWHUPVRIWKH',3'RFXPHQWVDQGVXEMHFWWRVXFK

 YDULDQFHV DV SHUPLWWHG LQ WKH ',3 $JUHHPHQWV DQG DV VHW IRUWK LQ SDUDJUDSK  KHUHRI WKH

 ³%XGJHW´  VROHO\ IRU D  ZRUNLQJ FDSLWDO DQG OHWWHUV RI FUHGLW E  RWKHU JHQHUDO FRUSRUDWH

 SXUSRVHV RI WKH 'HEWRUV F  SHUPLWWHG SD\PHQW RI FRVWV RI DGPLQLVWUDWLRQ RI WKH &DVHV G 

 SD\PHQW RI VXFK RWKHU SUHSHWLWLRQ REOLJDWLRQV DV SHUPLWWHG XQGHU WKH ',3 'RFXPHQWV DQG DV

 FRQVHQWHG WR E\ WKH ',3 $JHQWV HDFK LQ LWV VROH GLVFUHWLRQ DQG DV DSSURYHG E\ WKH &RXUW H 

 SD\PHQWRILQWHUHVWIHHVH[SHQVHVDQGRWKHUDPRXQWV LQFOXGLQJOHJDODQGRWKHUSURIHVVLRQDOV¶

 IHHV DQG H[SHQVHV RI WKH ',3 $JHQWV  RZHG XQGHU WKH ',3 'RFXPHQWV I  SD\PHQW RI FHUWDLQ

 DGHTXDWHSURWHFWLRQDPRXQWVWRWKH3UHSHWLWLRQ6HFXUHG3DUWLHVDVVHWIRUWKLQSDUDJUDSKV

 RI WKH ,QWHULP 2UGHU DQG SDUDJUDSKV  KHUHRI J  WKH FRQYHUVLRQ RI WKH 3UHSHWLWLRQ $%/

 2EOLJDWLRQV LQWR ',3 $%/ 2EOLJDWLRQV VXEMHFW WR WKH ULJKWV SUHVHUYHG LQ SDUDJUDSK  RI WKLV

 )LQDO 2UGHU K  SD\PHQW RI REOLJDWLRQV DULVLQJ IURP RU UHODWHG WR WKH &DUYH 2XW DQG PDNLQJ

 GLVEXUVHPHQWVWKHUHIURPLQFOXGLQJE\IXQGLQJWKH&DUYH2XW5HVHUYHVDQG L VXFKRWKHUXVHV

 VHWIRUWKLQWKH%XGJHW


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          $FRS\RIWKHLQLWLDO%XGJHWLVDWWDFKHGKHUHWRDV6FKHGXOH

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                                 Application of Proceeds of Collateral$VDFRQGLWLRQWRHQWU\LQWR

 WKH ',3 $JUHHPHQWV WKH H[WHQVLRQ RI FUHGLW XQGHU WKH ',3 )DFLOLWLHV DQG DXWKRUL]DWLRQ WR XVH

 &DVK &ROODWHUDO WKH 'HEWRUV WKH ',3 $JHQWV WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ 6HFXUHG

 3DUWLHVKDYHDJUHHGWKDWDVRIDQGFRPPHQFLQJRQWKHGDWHRIWKH,QWHULP+HDULQJWKH'HEWRUV

 VKDOODSSO\WKH SURFHHGV RI ',3 &ROODWHUDO LQDFFRUGDQFH ZLWK WKH ,QWHULP 2UGHU DQG WKLV )LQDO

 2UGHU

                                 Roll-up Loans.  ,PPHGLDWHO\ XSRQ HQWU\ RI WKH ,QWHULP 2UGHU

 ZLWKRXW DQ\ IXUWKHU DFWLRQ E\ WKH 'HEWRUV RU DQ\ RWKHU SDUW\ [  DOO RI WKH 3UHSHWLWLRQ $%/

 2EOLJDWLRQVZHUHFRQYHUWHGLQWR',3$%/2EOLJDWLRQV WKH³',3$%/5ROO8S/RDQV´ DQG \ 

  RI 3UHSHWLWLRQ 7HUP /RDQ 2EOLJDWLRQV ZHUH FRQYHUWHG LQWR ',3 7HUP /RDQ

 2EOLJDWLRQV WKH³',37HUP5ROO8S/RDQV´DQGWRJHWKHUZLWKWKH',3$%/5ROO8S/RDQVWKH

 ³',3 5ROO8S /RDQV´   7KH FRQYHUVLRQ RU ³UROOXS´  ZDV DXWKRUL]HG DV FRPSHQVDWLRQ IRU LQ

 FRQVLGHUDWLRQIRUDQGVROHO\RQDFFRXQWRIWKHDJUHHPHQWRIWKH3UHSHWLWLRQ$%//HQGHUVDQG

 FHUWDLQ3UHSHWLWLRQ7HUP/RDQ/HQGHUVWRIXQGDPRXQWVXQGHUWKHUHVSHFWLYH',3)DFLOLWLHVDQG

 QRW DV SD\PHQWV XQGHU DGHTXDWH SURWHFWLRQ IRU RU RWKHUZLVH RQ DFFRXQW RI DQ\ 3UHSHWLWLRQ

 2EOLJDWLRQV1RWZLWKVWDQGLQJDQ\RWKHUSURYLVLRQRIWKH,QWHULP2UGHUWKLV)LQDO2UGHUWKH',3

 $JUHHPHQWVRUWKH,QWHUFUHGLWRU$JUHHPHQWDOOULJKWVRIWKH3UHSHWLWLRQ6HFXUHG3DUWLHVVKDOOEH

 IXOO\SUHVHUYHG7KH3UHSHWLWLRQ6HFXUHG3DUWLHVZRXOGQRWKDYHRWKHUZLVHFRQVHQWHGWRWKHXVH

 RIWKHLU&DVK&ROODWHUDORUWKHVXERUGLQDWLRQRIWKHLUOLHQVWRWKH',3/LHQVDQGWKH',3$JHQWV

 DQGWKH',3/HQGHUVZRXOGQRWEHZLOOLQJWRFRQWLQXHSURYLGLQJWKHUHVSHFWLYH',3)DFLOLWLHVRU

 FRQWLQXH H[WHQGLQJ FUHGLW WR WKH 'HEWRUV WKHUHXQGHU ZLWKRXW WKH LQFOXVLRQ RI WKH ',3 5ROO8S

 /RDQV LQ WKH ',3 2EOLJDWLRQV  0RUHRYHU WKH FRQYHUVLRQ DQG ³UROOXS´ RI DOO RXWVWDQGLQJ

 3UHSHWLWLRQ$%/2EOLJDWLRQVLQWR',3$%/2EOLJDWLRQVFUHDWHGDYDLODELOLW\XQGHUWKH',3$%/



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 &UHGLW)DFLOLW\DQGUHVXOWHGLQLQWHUHVWVDYLQJVWRWKH'HEWRUVDQGWKHLUHVWDWHVDQGWKHFRQYHUVLRQ

 DQG ³UROOXS´ RI  RI 3UHSHWLWLRQ 7HUP /RDQ 2EOLJDWLRQV LQWR ',3 7HUP 5ROO8S

 /RDQV HQDEOHG WKH 'HEWRUV WR REWDLQ XUJHQWO\ QHHGHG ILQDQFLQJ WKDW ZLOO DOORZ WKHP WR IXQG D

 UHRUJDQL]DWLRQSURFHVVDQGHPHUJHIURPWKHVH&DVHVDVDJRLQJFRQFHUQ%HFDXVHWKH',35ROO

 8S /RDQV UHPDLQ VXEMHFW WR WKH UHVHUYDWLRQ RI ULJKWV LQ SDUDJUDSK  EHORZ WKH\ GLG QRW

 SUHMXGLFHWKHULJKWRIDQ\SDUW\LQLQWHUHVW

                                DIP Election Procedures.          7KH SURFHGXUHV WKH ³',3 (OHFWLRQ

 3URFHGXUHV´ JRYHUQLQJWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUV¶SDUWLFLSDWLRQLQWKH',37HUP/RDQ

 )DFLOLW\ WKDW DUH GHVFULEHG LQ WKH ',3 0RWLRQ ZHUH IDLU DQG UHDVRQDEOH  $OO 3UHSHWLWLRQ 7HUP

 /RDQ/HQGHUVZHUHSURYLGHGYLDWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUGDWDVLWHPDLQWDLQHGE\WKH

 7HUP /RDQ $JHQW H[WHQVLYH ILQDQFLDO LQIRUPDWLRQ DORQJ ZLWK WKH ',3 7HUP /RDQ $JUHHPHQW

 DQGWKH',3(OHFWLRQ3URFHGXUHV(DFK3UHSHWLWLRQ7HUP/RDQ/HQGHU RWKHUWKDQWKHKROGHURI

 WKH  ,QFUHPHQWDO 7HUP /RDQ DV GHILQHG LQ WKH 3UHSHWLWLRQ 7HUP /RDQ &UHGLW $JUHHPHQW 

 WKDW HOHFWHG WR SDUWLFLSDWH LQ SURYLGLQJ WKH ',3 7HUP /RDQV HDFK DQ ³(OHFWLQJ ',3 7HUP

 /HQGHU´ ZDVJLYHQDQRSSRUWXQLW\WRSDUWLFLSDWHLQDQDPRXQWHTXDOWRVXFK(OHFWLQJ',37HUP

 /HQGHU¶V SUR UDWD VKDUH GHWHUPLQHG RQ WKH EDVLV RI WKH SULQFLSDO DPRXQW RI 3UHSHWLWLRQ 7HUP

 /RDQVKHOGE\VXFK/HQGHUDVFRPSDUHGWRWKHSULQFLSDODPRXQWRI3UHSHWLWLRQ7HUP/RDQVKHOG

 E\ DOO 3UHSHWLWLRQ 7HUP /RDQ /HQGHUV LQ HDFK FDVH H[FOXGLQJ WKH  ,QFUHPHQWDO 7HUP

 /RDQV E\H[HFXWLQJDQ(OHFWLRQ-RLQGHUDWWDFKHGWRWKH',37HUP/RDQ$JUHHPHQWDV([KLELW-

  DQ³(OHFWLRQ-RLQGHU´ DQGH[HFXWLQJDMRLQGHUWRWKH5HVWUXFWXULQJ6XSSRUW$JUHHPHQWQRODWHU

 WKDQ  SP HDVWHUQ VWDQGDUG WLPH RQ -XQH   WKH ³(OHFWLRQ 'HDGOLQH´  DQG L  HDFK

 VXFK(OHFWLQJ',37HUP/HQGHUEHFDPHD',37HUP/RDQ/HQGHURQWKHGD\DIWHUWKH(OHFWLRQ

 'HDGOLQH DQG LL  WKH FRPPLWPHQWV SULRU WR DQ\ UHGXFWLRQ WKH³,QLWLDO ',3 &RPPLWPHQWV´  RI



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 HDFK RI WKH ',3 7HUP /RDQ /HQGHUV SULRU WR WKH (OHFWLRQ 'DWH WKH ³,QLWLDO ',3 7HUP /RDQ

 /HQGHUV´ ZHUHUHGXFHGSURSRUWLRQDOO\RQVXFKGDWH

                   .   $GHTXDWH 3URWHFWLRQ  7KH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW IRU

 WKHEHQHILWRILWVHOIDQGWKH3UHSHWLWLRQ$%/3DUWLHVDQGWKH3UHSHWLWLRQ7HUP/RDQ$JHQWIRU

 WKHEHQHILWRILWVHOIDQGWKH3UHSHWLWLRQ7HUP/RDQ3DUWLHVDUHHDFKHQWLWOHGWRUHFHLYHDGHTXDWH

 SURWHFWLRQWRWKHH[WHQWRIDQ\'LPLQXWLRQLQ9DOXHRIWKHLUUHVSHFWLYHLQWHUHVWVLQWKH3UHSHWLWLRQ

 &ROODWHUDO  3XUVXDQW WR VHFWLRQV   DQG  E  RI WKH %DQNUXSWF\ &RGH DV DGHTXDWH

 SURWHFWLRQ L  WKH 3UHSHWLWLRQ $%/ 3DUWLHV KDYH UHFHLYHG DQG ZLOO FRQWLQXH WR UHFHLYH D 

 DGHTXDWHSURWHFWLRQOLHQVDQGVXSHUSULRULW\FODLPVDVPRUHIXOO\VHWIRUWKLQSDUDJUDSKVDQG

  RI WKH ,QWHULP 2UGHU DQG SDUDJUDSKV  DQG  KHUHLQ DQG E  FXUUHQW SD\PHQW RI LQWHUHVW

 UHDVRQDEOH DQG GRFXPHQWHG IHHV DQG RXWRISRFNHW H[SHQVHV LQFOXGLQJ OHJDO DQG RWKHU

 SURIHVVLRQDOV¶IHHVDQGH[SHQVHVRIWKH3UHSHWLWLRQ$%/$JHQWVZKHWKHUDULVLQJEHIRUHRUDIWHU

 WKH3HWLWLRQ'DWH DVPRUHIXOO\VHWIRUWKLQSDUDJUDSKRIWKH,QWHULP2UGHUDQGSDUDJUDSK

 KHUHLQDQG LL WKH3UHSHWLWLRQ7HUP/RDQ3DUWLHVKDYHUHFHLYHGDQGZLOOFRQWLQXHWRUHFHLYH D 

 DGHTXDWHSURWHFWLRQOLHQVDQGVXSHUSULRULW\FODLPVDVPRUHIXOO\VHWIRUWKLQSDUDJUDSKVDQG

 RIWKH,QWHULP2UGHUDQGSDUDJUDSKVDQGKHUHLQDQG E FXUUHQWSD\PHQWRIH[SHQVHV

  LQFOXGLQJ OHJDO DQG RWKHU SURIHVVLRQDOV¶ UHDVRQDEOH DQG GRFXPHQWHG IHHV DQG RXWRISRFNHW

 H[SHQVHVRIWKH3UHSHWLWLRQ7HUP/RDQ$JHQWDQGWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUVZKHWKHU

 DULVLQJEHIRUHRUDIWHUWKH3HWLWLRQ'DWH DVPRUHIXOO\VHWIRUWKLQSDUDJUDSKRIWKH,QWHULP

 2UGHUDQGSDUDJUDSKKHUHLQ

                   /   6HFWLRQV F DQG E ,QOLJKWRI L WKH',3$%/$GPLQLVWUDWLYH

 $JHQW¶V WKH ',3 7HUP /RDQ $JHQW¶V DQG WKH ',3 /HQGHUV¶ DJUHHPHQW WKDW WKHLU OLHQV DQG

 VXSHUSULRULW\ FODLPV VKDOO EH VXEMHFW WRWKH&DUYH2XW LL WKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH



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 $JHQW¶VDQGWKH3UHSHWLWLRQ$%//HQGHUV¶DJUHHPHQWWKDWWKHLUOLHQVVKDOOEHVXEMHFWWRWKH&DUYH

 2XW DQG VXERUGLQDWH WR WKH ',3 $%/ /LHQV DQG LQ WKH FDVH RI WKH 3UHSHWLWLRQ 7HUP 3ULRULW\

 &ROODWHUDO VXERUGLQDWH WR WKH ',3 7HUP /RDQ /LHQV DQG WKH 3UHSHWLWLRQ 7HUP /RDQ $GHTXDWH

 3URWHFWLRQ/LHQV LQDGGLWLRQWRWKH3UHSHWLWLRQ7HUP/RDQ/LHQV  LLL WKH3UHSHWLWLRQ7HUP/RDQ

 3DUWLHV¶DJUHHPHQWWKDWWKHLUOLHQVVKDOOEHVXEMHFWWRWKH&DUYH2XWDQGVXERUGLQDWHWRWKH',3

 7HUP/RDQ/LHQVDQGLQWKHFDVHRIWKH3UHSHWLWLRQ$%/3ULRULW\&ROODWHUDOVXERUGLQDWHWRWKH

 ',3 $%/ /LHQV DQG WKH 3UHSHWLWLRQ $%/ $GHTXDWH 3URWHFWLRQ /LHQV LQ DGGLWLRQ WR WKH

 3UHSHWLWLRQ$%//LHQV DQG LY WKHSD\PHQWRIH[SHQVHVDVVHWIRUWKLQWKH%XGJHWLQFOXGLQJ

 FHUWDLQ FULWLFDO WUDGH FODLPV LQ DFFRUGDQFH ZLWK DQG VXEMHFW WR WKH WHUPV DQG FRQGLWLRQV RI WKLV

 )LQDO 2UGHU DQG WKH ',3 'RFXPHQWV D  WKH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW WKH

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 /HQGHUVDUHHDFKHQWLWOHGWRDZDLYHURIDQ\³HTXLWLHVRIWKHFDVH´H[FHSWLRQXQGHUVHFWLRQ E 

 RIWKH%DQNUXSWF\&RGHDQG E WKH',3$%/$GPLQLVWUDWLYH$JHQWWKH',37HUP/RDQ$JHQW

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 ZDLYHURIWKHSURYLVLRQVRIVHFWLRQ F RIWKH%DQNUXSWF\&RGH

                   0    *RRG)DLWKRIWKH',3$JHQWVDQG',3/HQGHUV

                                  Willingness to Provide Financing  7KH ',3 /HQGHUV KDYH

 LQGLFDWHG D ZLOOLQJQHVV WR SURYLGH ILQDQFLQJ WR WKH 'HEWRUV VXEMHFW WR D  HQWU\ RI WKH ,QWHULP

 2UGHUDQGWKLV)LQDO2UGHU E DSSURYDORIWKHWHUPVDQGFRQGLWLRQVRIWKH',3)DFLOLWLHVDQGWKH

 ',3'RFXPHQWV F VDWLVIDFWLRQRIWKHFORVLQJFRQGLWLRQVVHWIRUWKLQWKH',3'RFXPHQWVDQG

  G ILQGLQJVE\WKLV&RXUWWKDWWKH',3)DFLOLWLHVDUHHVVHQWLDOWRWKH'HEWRUV¶HVWDWHVWKDWWKH',3

 $JHQWVDQGWKH',3/HQGHUVDUHH[WHQGLQJFUHGLWWRWKH'HEWRUVSXUVXDQWWRWKH',3'RFXPHQWV



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 LQ JRRG IDLWK DQG WKDW WKH ',3 $JHQWV¶ DQG WKH ',3 /HQGHUV¶ FODLPV VXSHUSULRULW\ FODLPV

 VHFXULW\LQWHUHVWVDQGOLHQVDQGRWKHUSURWHFWLRQVJUDQWHGSXUVXDQWWRWKLV)LQDO2UGHUDQGWKH',3

 'RFXPHQWVZLOOKDYHWKHSURWHFWLRQVSURYLGHGE\VHFWLRQ H RIWKH%DQNUXSWF\&RGH

                                 Business Judgment and Good Faith Pursuant to Section 364(e)

 7KHWHUPVDQGFRQGLWLRQVRIWKH',3)DFLOLWLHVDQGWKH',3'RFXPHQWVDQGWKHIHHVSDLGDQGWR

 EH SDLG WKHUHXQGHU DQG KHUHXQGHU DUH IDLU UHDVRQDEOH DQG WKH EHVW DYDLODEOH WR WKH 'HEWRUV

 XQGHU WKH FLUFXPVWDQFHV DUH RUGLQDU\ DQG DSSURSULDWH IRU VHFXUHG ILQDQFLQJ WR GHEWRUV LQ

 SRVVHVVLRQ UHIOHFW WKH 'HEWRUV¶ H[HUFLVH RI SUXGHQW EXVLQHVV MXGJPHQW FRQVLVWHQW ZLWK WKHLU

 ILGXFLDU\GXWLHVDQGDUHVXSSRUWHGE\UHDVRQDEO\HTXLYDOHQWYDOXHDQGFRQVLGHUDWLRQ7KHWHUPV

 DQGFRQGLWLRQVRIWKH',3)DFLOLWLHVDQGWKHXVHRI&DVK&ROODWHUDOZHUHQHJRWLDWHGLQJRRGIDLWK

 DQG DW DUPV¶ OHQJWK DPRQJ WKH 'HEWRUV WKH ',3 $JHQWV WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ

 6HFXUHG 3DUWLHV ZLWK WKH DVVLVWDQFH DQG FRXQVHO RI WKHLU UHVSHFWLYH DGYLVRUV  8VH RI &DVK

 &ROODWHUDO DQG FUHGLW WR EH H[WHQGHG XQGHU WKH ',3 )DFLOLWLHV VKDOO EH GHHPHG WR KDYH EHHQ

 DOORZHGDGYDQFHGPDGHRUH[WHQGHGLQJRRGIDLWKE\WKH',3$JHQWVWKH',3/HQGHUVDQGWKH

 3UHSHWLWLRQ6HFXUHG3DUWLHVZLWKLQWKHPHDQLQJRIVHFWLRQ H RIWKH%DQNUXSWF\&RGH

                   1   )LQDO+HDULQJ1RWLFHRIWKH)LQDO+HDULQJDQGWKHUHOLHIUHTXHVWHGLQWKH

 ',30RWLRQKDVEHHQSURYLGHGE\WKH'HEWRUVZKHWKHUE\IDFVLPLOHHOHFWURQLFPDLORYHUQLJKW

 FRXULHURUKDQGGHOLYHU\WRFHUWDLQSDUWLHVLQLQWHUHVWLQFOXGLQJ L WKH867UXVWHH LL WKRVH

 HQWLWLHV RU LQGLYLGXDOV LQFOXGHG RQ WKH 'HEWRUV¶ OLVW RI  ODUJHVW XQVHFXUHG FUHGLWRUV RQ D

 FRQVROLGDWHGEDVLV LLL FRXQVHOWRWKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQW LY FRXQVHOWRWKH

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 WKH 'HXWVFKH %DQN 7UXVW &RPSDQ\ $PHULFDV DV WUXVWHH LQ VXFK FDSDFLW\ WKH ³,QGHQWXUH

 7UXVWHH´  XQGHU WKDW FHUWDLQ ,QGHQWXUH GDWHG DV RI 1RYHPEHU   DV DPHQGHG UHVWDWHG



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 VXSSOHPHQWHG RU RWKHUZLVH PRGLILHG IURP WLPH WR WLPH  DQG YLL  DOO RWKHU SDUWLHV HQWLWOHG WR

 QRWLFHXQGHUWKH/RFDO5XOHV,QDGGLWLRQFRXQVHOIRUWKH&RPPLWWHHUHFHLYHGQRWLFHRIWKH)LQDO

 +HDULQJDQGKDVKDGVXIILFLHQWRSSRUWXQLW\WRUHYLHZWKH',30RWLRQWKH,QWHULP2UGHUDQGWKLV

 )LQDO2UGHU7KH'HEWRUVKDYHPDGHUHDVRQDEOHHIIRUWVWRDIIRUGWKHEHVWQRWLFHSRVVLEOHXQGHU

 WKHFLUFXPVWDQFHVDQGQRRWKHUQRWLFHLVUHTXLUHGLQFRQQHFWLRQZLWKWKH UHOLHIVHWIRUWKLQWKLV

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          %DVHG XSRQ WKH IRUHJRLQJ ILQGLQJV DQG FRQFOXVLRQV WKH ',3 0RWLRQ DQG WKH UHFRUG

 EHIRUH WKH &RXUW ZLWK UHVSHFW WR WKH ',3 0RWLRQ DQG DIWHU GXH FRQVLGHUDWLRQ DQG JRRG DQG

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                      )LQDO )LQDQFLQJ $SSURYHG  7KH ',3 0RWLRQ LV JUDQWHG WKH )LQDO

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 ',3)DFLOLWLHV$XWKRUL]DWLRQ
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                      $XWKRUL]DWLRQ RI WKH ',3 )DFLOLWLHV  7KH ',3 )DFLOLWLHV DUH KHUHE\

 DSSURYHG RQ D ILQDO EDVLV  7KH 'HEWRUV DUH H[SUHVVO\ DQG LPPHGLDWHO\ DXWKRUL]HG DQG

 HPSRZHUHGRQDILQDOEDVLVWRFRQWLQXHERUURZLQJXQGHUWKH',3)DFLOLWLHVDQGWRLQFXUDQGWR

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 WKLV)LQDO2UGHUDQGWKH',3'RFXPHQWVDQGWRGHOLYHUDOOLQVWUXPHQWVFHUWLILFDWHVDJUHHPHQWV

 DQG GRFXPHQWV ZKLFK PD\ EH UHTXLUHG RU QHFHVVDU\ IRU WKH SHUIRUPDQFH E\ WKH 'HEWRUV XQGHU

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 LQ DQG SURYLGHG IRU E\ WKH ,QWHULP 2UGHU WKLV )LQDO 2UGHU DQG WKH ',3 'RFXPHQWV LQFOXGLQJ

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 GXHDQGSD\DEOHDQGZLWKRXWQHHGWRREWDLQIXUWKHU&RXUWDSSURYDOLQFOXGLQJFORVLQJIHHVOHWWHU

 RI FUHGLW IHHV LQFOXGLQJ LVVXDQFH IURQWLQJ DQG RWKHU UHODWHG FKDUJHV  XQXVHG IDFLOLW\ IHHV

 SUHSD\PHQW SUHPLXPV FRQWLQXLQJ FRPPLWPHQW IHHV EDFNVWRS IHHV VHUYLFLQJ IHHV DXGLW IHHV

 DSSUDLVDO IHHV OLTXLGDWRU IHHV VWUXFWXULQJ IHHV DGPLQLVWUDWLYH DJHQW¶V IHHV WKH UHDVRQDEOH IHHV

 DQG GLVEXUVHPHQWV RI WKH ',3 $JHQWV¶ DWWRUQH\V DGYLVRUV DFFRXQWDQWV DQG RWKHU FRQVXOWDQWV

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 WUDQVDFWLRQVFRQWHPSODWHGKHUHE\DUHFRQVXPPDWHGWRLPSOHPHQWDOODSSOLFDEOHUHVHUYHVDQGWR

 WDNH DQ\ RWKHU DFWLRQV WKDW PD\ EH QHFHVVDU\ RU DSSURSULDWH DOO WR WKH H[WHQW SURYLGHG LQ WKH

 ,QWHULP 2UGHU WKLV )LQDO 2UGHU RU WKH ',3 'RFXPHQWV  $OO FROOHFWLRQV DQG SURFHHGV ZKHWKHU

 IURP RUGLQDU\ FRXUVH FROOHFWLRQV DVVHW VDOHV GHEW RU HTXLW\ LVVXDQFHV LQVXUDQFH UHFRYHULHV

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 HQIRUFHDEOHDJDLQVWHDFKRIWKH'HEWRUVDQGWKHLUHVWDWHVLQDFFRUGDQFHZLWKWKHLUWHUPV8SRQ

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 WKH 'HEWRUV¶ HVWDWHV IURP WKH HQWU\ RI WKLV )LQDO 2UGHU WKURXJK DQG LQFOXGLQJ WKH 7HUPLQDWLRQ

 'HFODUDWLRQ DVGHILQHGEHORZ DQGVXEMHFWWRWKHWHUPVFRQGLWLRQVDQGOLPLWDWLRQVVHWIRUWKLQ

 WKH',3'RFXPHQWVLQFOXGLQJRQDYDLODELOLW\DQGUHVHUYHV DVDSSOLFDEOH DQGWKLV)LQDO2UGHU

 WKH'HEWRUVDUHKHUHE\DXWKRUL]HGRQDILQDOEDVLVWRFRQWLQXHUHTXHVWLQJH[WHQVLRQVRIFUHGLW LQ

 WKHIRUPRI ORDQVDQGOHWWHUVRIFUHGLW XSWRDQDJJUHJDWHRXWVWDQGLQJSULQFLSDODPRXQWRIQRW

 JUHDWHUWKDQDWDQ\RQHWLPHRXWVWDQGLQJXQGHUWKH',3$%/&UHGLW)DFLOLW\DQG

 LQWZRVHSDUDWHGUDZVXQGHUWKH',37HUP/RDQ&UHGLW)DFLOLW\LQHDFKFDVHVXEMHFW

 WRWKHWHUPVDQGFRQGLWLRQVRIWKHDSSOLFDEOH',3'RFXPHQWV WRJHWKHUWKH³)LQDO)LQDQFLQJ´ 

                      ',3 2EOLJDWLRQV  7KH ',3 'RFXPHQWV DQG WKLV )LQDO 2UGHU VKDOO

 FRQVWLWXWHDQGHYLGHQFHWKHYDOLGLW\DQGELQGLQJHIIHFWRIWKH'HEWRUV¶',32EOLJDWLRQVZKLFK

 VKDOOEHHQIRUFHDEOHDJDLQVWWKH'HEWRUVWKHLUHVWDWHVDQGDQ\VXFFHVVRUVWKHUHWRLQFOXGLQJDQ\

 WUXVWHHDSSRLQWHGLQWKH&DVHVRULQDQ\FDVHXQGHU&KDSWHURIWKH%DQNUXSWF\&RGHXSRQWKH

 FRQYHUVLRQRIDQ\RIWKH&DVHVRULQDQ\RWKHUSURFHHGLQJVVXSHUVHGLQJRUUHODWHGWRDQ\RIWKH

 IRUHJRLQJ FROOHFWLYHO\WKH³6XFFHVVRU&DVHV´ 7KH',32EOLJDWLRQVLQFOXGHDOOORDQVOHWWHURI

 FUHGLW UHLPEXUVHPHQW REOLJDWLRQV DQG DQ\ RWKHU LQGHEWHGQHVV RU REOLJDWLRQV FRQWLQJHQW RU

 DEVROXWHZKLFKPD\QRZRUIURPWLPHWRWLPHEHRZLQJE\DQ\RIWKH'HEWRUVWRWKH',3$JHQWV

 RUDQ\RIWKH',3/HQGHUVLQHDFKFDVHXQGHURUVHFXUHGE\WKH',3'RFXPHQWVWKH,QWHULP

 2UGHURUWKLV)LQDO2UGHULQFOXGLQJDOOSULQFLSDODFFUXHGLQWHUHVWFRVWVIHHVH[SHQVHVDQGRWKHU

 DPRXQWVXQGHUWKH',3'RFXPHQWV:LWKRXWOLPLWLQJWKHIRUHJRLQJWKH',3$%/2EOLJDWLRQV

 DOVRLQFOXGHFDVKPDQDJHPHQWDQGEDQNSURGXFWH[SRVXUHDQGGHULYDWLYHDQGVZDSH[SRVXUHDQG

 REOLJDWLRQVWR WKH H[WHQW GHVFULEHG LQRUVHFXUHGE\WKH3UHSHWLWLRQ$%/'RFXPHQWVDQG',3

 $%/ 'RFXPHQWV LQFOXGLQJ DOO 2WKHU /LDELOLWLHV DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW   $OO

 OHWWHUVRIFUHGLWLVVXHGIRUWKHDFFRXQWRIWKH'HEWRUVXQGHUWKH3UHSHWLWLRQ$%/$JUHHPHQWKDYH



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 FRQWLQXHG LQ SODFH DQG DOO REOLJDWLRQV XQGHU RU LQ FRQQHFWLRQ ZLWK VXFK OHWWHUV RI FUHGLW DUH

 VXEMHFWWRWKH',3$%/$JUHHPHQWDQGFRQVWLWXWH',3$%/2EOLJDWLRQV7KH'HEWRUVVKDOOEH

 MRLQWO\ DQG VHYHUDOO\ OLDEOH IRU WKH ',3 2EOLJDWLRQV  7KH ',3 2EOLJDWLRQV VKDOO EH GXH DQG

 SD\DEOHZLWKRXWQRWLFHRUGHPDQGDQGWKHXVHRI&DVK&ROODWHUDOVKDOODXWRPDWLFDOO\FHDVHRQ

 WKH ',3 7HUPLQDWLRQ 'DWH DV GHILQHG KHUHLQ  H[FHSW DV SURYLGHG LQ SDUDJUDSK  KHUHLQ  1R

 REOLJDWLRQ SD\PHQW WUDQVIHU RU JUDQW RI FROODWHUDO VHFXULW\ KHUHXQGHU RU XQGHU WKH ',3

 'RFXPHQWV LQFOXGLQJ DQ\ ',3 2EOLJDWLRQ RU ',3 /LHQV DV GHILQHG EHORZ  DQG LQFOXGLQJ LQ

 FRQQHFWLRQZLWKDQ\DGHTXDWHSURWHFWLRQSURYLGHGWRWKH3UHSHWLWLRQ6HFXUHG3DUWLHVKHUHXQGHU 

 VKDOO EH VWD\HG UHVWUDLQHG YRLGDEOH DYRLGDEOH RU UHFRYHUDEOH XQGHU WKH %DQNUXSWF\ &RGH RU

 XQGHU DQ\ DSSOLFDEOH ODZ LQFOXGLQJ XQGHU VHFWLRQV  G   DQG  WR  RI WKH

 %DQNUXSWF\ &RGH RU XQGHU DQ\ DSSOLFDEOH VWDWH 8QLIRUP 9RLGDEOH 7UDQVDFWLRQV $FW 8QLIRUP

 )UDXGXOHQW 7UDQVIHU $FW 8QLIRUP )UDXGXOHQW &RQYH\DQFH $FW RU VLPLODU VWDWXWH RU FRPPRQ

 ODZ  RU VXEMHFW WR DQ\ DYRLGDQFH UHGXFWLRQ VHWRII UHFRXSPHQW RIIVHW UHFKDUDFWHUL]DWLRQ

 VXERUGLQDWLRQ ZKHWKHUHTXLWDEOHFRQWUDFWXDORURWKHUZLVH FRXQWHUFODLPFURVVFODLPGHIHQVH

 RU DQ\ RWKHU FKDOOHQJH XQGHU WKH %DQNUXSWF\ &RGH RU DQ\ DSSOLFDEOH ODZ RU UHJXODWLRQ E\ DQ\

 SHUVRQRUHQWLW\

                      ',3/LHQV6XEMHFWDQGVXERUGLQDWHWRWKH&DUYH2XWDVVHWIRUWKLQWKLV

 )LQDO 2UGHU LQ RUGHU WR VHFXUH WKH ',3 2EOLJDWLRQV SXUVXDQW WR VHFWLRQV    F  

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 EHQHILW RI LWVHOI DQG WKH ',3 $%/ /HQGHUV DQG WKH ',3 7HUP /RDQ $JHQW IRU WKH EHQHILW RI

 LWVHOI DQG WKH ',3 7HUP /RDQ /HQGHUV ZHUH JUDQWHG XSRQ HQWU\ RI WKH ,QWHULP 2UGHU DQG DUH

 KHUHE\ JUDQWHG RQ D ILQDO EDVLV FRQWLQXLQJ YDOLG ELQGLQJ HQIRUFHDEOH QRQDYRLGDEOH DQG

 DXWRPDWLFDOO\DQGSURSHUO\SHUIHFWHGSRVWSHWLWLRQVHFXULW\LQWHUHVWVLQDQGOLHQVRQ FROOHFWLYHO\



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 WKH ³',3 /LHQV´  DOO UHDO DQG SHUVRQDO SURSHUW\ ZKHWKHU QRZ H[LVWLQJ RU KHUHDIWHU DULVLQJ DQG

 ZKHUHYHU ORFDWHG WDQJLEOH DQG LQWDQJLEOH RI HDFK RI WKH 'HEWRUV WKH ³',3 &ROODWHUDO´ 

 LQFOXGLQJ D  DOO FDVK FDVK HTXLYDOHQWV GHSRVLW DFFRXQWV VHFXULWLHV DFFRXQWV DFFRXQWV RWKHU

 UHFHLYDEOHV LQFOXGLQJFUHGLWFDUGUHFHLYDEOHV FKDWWHOSDSHUFRQWUDFWULJKWVLQYHQWRU\ ZKHUHYHU

 ORFDWHG LQVWUXPHQWVGRFXPHQWVVHFXULWLHV ZKHWKHURUQRWPDUNHWDEOH DQGLQYHVWPHQWSURSHUW\

  LQFOXGLQJ DOO RI WKH LVVXHG DQG RXWVWDQGLQJ FDSLWDO VWRFN RI HDFK RI LWV VXEVLGLDULHV  KHGJH

 DJUHHPHQWVIXUQLWXUHIL[WXUHVHTXLSPHQW LQFOXGLQJGRFXPHQWVRIWLWOH JRRGVIUDQFKLVHULJKWV

 WUDGHQDPHVWUDGHPDUNVVHUYLFHPDUNVFRS\ULJKWVSDWHQWVOLFHQVHULJKWVLQWHOOHFWXDOSURSHUW\

 JHQHUDO LQWDQJLEOHV LQFOXGLQJ IRU WKH DYRLGDQFH RI GRXEW SD\PHQW LQWDQJLEOHV  ULJKWV WR WKH

 SD\PHQW RI PRQH\ LQFOXGLQJ WD[ UHIXQGV DQG DQ\ RWKHU H[WUDRUGLQDU\ SD\PHQWV  VXSSRUWLQJ

 REOLJDWLRQVJXDUDQWHHVOHWWHURIFUHGLWULJKWVFRPPHUFLDOWRUW FODLPV FDXVHV RI DFWLRQ DQG DOO

 VXEVWLWXWLRQV LQGHPQLILFDWLRQ ULJKWV DOO SUHVHQW DQG IXWXUH LQWHUFRPSDQ\ GHEW IHH LQWHUHVWV LQ

 UHDOSURSHUW\RZQHGE\WKH'HEWRUVERRNVDQGUHFRUGVUHODWHGWRWKHIRUHJRLQJDFFHVVLRQVDQG

 SURFHHGV RI WKH IRUHJRLQJ ZKHUHYHU ORFDWHG LQFOXGLQJ LQVXUDQFH RU RWKHU SURFHHGV E  DOO

 RZQHGUHDOSURSHUW\LQWHUHVWVDQGDOOSURFHHGVRIOHDVHGUHDOSURSHUW\ F DFWLRQVEURXJKWXQGHU

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 DSSOLFDEOH VWDWH ODZ HTXLYDOHQWV RWKHU WKDQ DFWLRQV EURXJKW SXUVXDQW WR VHFWLRQ  RI WKH

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 SHUIHFWHG HQIRUFHDEOH DQG XQDYRLGDEOH OLHQV RQ WKH 3HWLWLRQ 'DWH  1RWZLWKVWDQGLQJ WKH

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 WKHDSSOLFDEOH',3$JUHHPHQWRURWKHU',3'RFXPHQWV ',3&ROODWHUDOWKDWLV L RIDW\SHWKDW

 ZRXOGEH$%/3ULRULW\&ROODWHUDO LL RIDW\SHWKDWZRXOGEH$%/3ULRULW\&ROODWHUDOEXWWKDW

 ZDVQRWRWKHUZLVHVXEMHFWWRYDOLGSHUIHFWHGHQIRUFHDEOHDQGXQDYRLGDEOHOLHQVRQWKH3HWLWLRQ

 'DWH LLL WKHSURFHHGVRIWKH'HEWRUV¶UHDOSURSHUW\OHDVHVDQG LY WKHSURFHHGVRIDYRLGDQFH

 DFWLRQV EURXJKW SXUVXDQW WR &KDSWHU  RI WKH %DQNUXSWF\ &RGH RU DSSOLFDEOH VWDWH ODZ

 HTXLYDOHQWV VKDOO LQ HDFK FDVH FRQVWLWXWH ³',3 $%/ 3ULRULW\ &ROODWHUDO´ provided, however

 WKDW WKH ',3 $%/ $JHQW DQG ',3 $%//HQGHUV VKDOOILUVWVHHN UHFRXUVH DJDLQVW WKH ',3 $%/

 3ULRULW\ &ROODWHUDO FRPSULVLQJ WKH 'HEWRUV¶ ,QYHQWRU\ DQG $FFRXQWV HDFK DV GHILQHG LQ WKH

 3UHSHWLWLRQ$%/$JUHHPHQW SULRUWRH[HUFLVLQJDQ\UHPHGLHVDJDLQVWOHDVHSURFHHGVRUSURFHHGV

 RIDYRLGDQFHDFWLRQV',3&ROODWHUDOWKDWLV L RIDW\SHWKDWZRXOGEH7HUP3ULRULW\&ROODWHUDO

  LQFOXGLQJ WKH 6HJUHJDWHG 2SHUDWLQJ $FFRXQW DV VXFK WHUP LV GHILQHG LQ WKH ',3 7HUP /RDQ

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 VXEMHFWWRYDOLGSHUIHFWHGHQIRUFHDEOHDQGXQDYRLGDEOHOLHQVRQWKH3HWLWLRQ'DWHVKDOOLQHDFK

 FDVHFRQVWLWXWH³',37HUP/RDQ3ULRULW\&ROODWHUDO´7KH',37HUP)XQGLQJ$FFRXQW ZKLFKLV

 DQ DFFRXQW RI WKH ',3 7HUP /RDQ $JHQW  VKDOO QRW EH VXEMHFW WR DQ\ OLHQ LQ IDYRU RI WKH

 3UHSHWLWLRQ$%/ 3DUWLHV RU WKH ',3$%/ /HQGHUV  )RU WKH DYRLGDQFH RI GRXEW WKH ',3 /LHQV

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 WKH VDWLVIDFWLRQ RI DQ\ FODLP GHULYHG IURP RU EDVHG XSRQ WKH ',3 7HUP 5ROO8S /RDQV LQ

 DFFRUGDQFH ZLWK WKH WHUPV RI WKH Joint Chapter 11 Plan of Reorganization of the Gymboree

 Corporation and its Debtor Affiliates >'RFNHW 1R @ DV PD\ EH PRGLILHG DPHQGHG RU

 VXSSOHPHQWHGWKH³3ODQ´ 

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 VXSHULRUWRDQ\VHFXULW\PRUWJDJHFROODWHUDOLQWHUHVWOLHQRUFODLPWRDQ\RIWKH',3&ROODWHUDO

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 /LHQV DQG LL  DV WR WKH ',3 7HUP 3ULRULW\ &ROODWHUDO $  3HUPLWWHG 3ULRU /LHQV %  WKH ',3

 7HUP /RDQ /LHQV DV GHILQHG KHUHLQ  &  WKH 3UHSHWLWLRQ 7HUP /RDQ /LHQV DQG '  WKH

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 QRQDYRLGDEOHVHQLRULQSULRULW\DQGVXSHULRUWRDQ\VHFXULW\PRUWJDJHFROODWHUDOLQWHUHVWOLHQ

 RUFODLPWRDQ\RIWKH',3&ROODWHUDOH[FHSWWKDWWKH',37HUP/RDQ/LHQVVKDOOEHVXEMHFWWRWKH

 &DUYH2XWDVVHWIRUWKLQWKLV)LQDO2UGHUDQGVKDOORWKHUZLVHEHMXQLRURQO\WR L DVWRWKH',3

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  $ 3HUPLWWHG3ULRU/LHQV % WKH',3$%//LHQV & WKH3UHSHWLWLRQ$%//LHQVDQG ' WKH

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 RUpari passuZLWKDQ\OLHQRUVHFXULW\LQWHUHVWKHUHWRIRUHRUKHUHLQDIWHUJUDQWHGLQWKH&DVHVRU

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 &DVHVRUDQ\6XFFHVVRU&DVHVXSRQWKHFRQYHUVLRQRIDQ\RIWKH&DVHVWRDFDVHXQGHU&KDSWHU

 RIWKH%DQNUXSWF\&RGH RULQDQ\RWKHU6XFFHVVRU&DVH DQGRUXSRQWKHGLVPLVVDORIDQ\RIWKH

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 $%/ /HQGHUV DQG LL  WKH ',3 7HUP /RDQ $JHQW RQ EHKDOI RI LWVHOI DQG WKH ',3 7HUP /RDQ

 /HQGHUVZHUHJUDQWHGXSRQHQWU\RIWKH,QWHULP2UGHUDQGDUHHDFKKHUHE\JUDQWHGRQDILQDO

 EDVLVSXUVXDQWWRVHFWLRQ F  RIWKH%DQNUXSWF\&RGHDOORZHGVXSHUSULRULW\DGPLQLVWUDWLYH

 H[SHQVH FODLPV LQ HDFK RI WKH &DVHV DQG DQ\ 6XFFHVVRU &DVHV FROOHFWLYHO\ WKH ³',3

 6XSHUSULRULW\&ODLPV´ IRUDOO',32EOLJDWLRQV D H[FHSWDVVHWIRUWKKHUHLQZLWKSULRULW\RYHU

 DQ\ DQG DOO DGPLQLVWUDWLYH H[SHQVH FODLPV DQG XQVHFXUHG FODLPV DJDLQVW WKH 'HEWRUV RU WKHLU

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 RU QDWXUH ZKDWVRHYHU LQFOXGLQJ DGPLQLVWUDWLYH H[SHQVHV RI WKH NLQGV VSHFLILHG LQ RU RUGHUHG

 SXUVXDQW WR %DQNUXSWF\ &RGH VHFWLRQV        D   E   D 

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 SURYLGHG XQGHU VHFWLRQ  F   RI WKH %DQNUXSWF\ &RGH DQG E  ZKLFK VKDOO DW DOO WLPHV EH

 VHQLRU WR WKH ULJKWV RI WKH 'HEWRUV DQG WKHLU HVWDWHV DQG DQ\ VXFFHVVRU WUXVWHH RU RWKHU HVWDWH

 UHSUHVHQWDWLYH WR WKH H[WHQW SHUPLWWHG E\ ODZ provided, however WKDW WKH ',3 6XSHUSULRULW\

 &ODLPVVKDOOEHpari passu ZLWKHDFKRWKHUZLWKRXWRWKHUZLVHLPSDLULQJWKHOLHQSULRULWLHVDVVHW

 IRUWK KHUHLQ DQG VKDOO EH VXEMHFW WR WKH &DUYH 2XW DQG VHQLRU WR WKH $GHTXDWH 3URWHFWLRQ

 6XSHUSULRULW\ &ODLPV DV GHILQHG KHUHLQ   )RU WKH DYRLGDQFH RI GRXEW WKH ',3 6XSHUSULRULW\

 &ODLPV DULVLQJ IURP WKH ',3 7HUP 5ROO8S /RDQV VKDOO EH UHOHDVHG RQ WKH ODWHU RI L  WKH

 HIIHFWLYH GDWH DQG LL  WKH VDWLVIDFWLRQ RI DQ\ FODLP GHULYHG IURP RU EDVHG XSRQ WKH ',3 7HUP

 5ROO8S/RDQVLQDFFRUGDQFHZLWKWKHWHUPVRIWKH3ODQ

                       1R2EOLJDWLRQWR([WHQG&UHGLW([FHSWDVUHTXLUHGWRIXQGWKH&DUYH2XW

 DVVHWIRUWKLQSDUDJUDSKRIWKLV)LQDO2UGHUWKH',3$JHQWVDQG',3/HQGHUVVKDOOKDYHQR

 REOLJDWLRQWRPDNHDQ\ORDQRUDGYDQFHRUWRLVVXHDPHQGUHQHZRUH[WHQGDQ\OHWWHUVRIFUHGLW

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 PDNLQJ RI VXFK H[WHQVLRQ RI FUHGLW RU WKH LVVXDQFH DPHQGPHQW UHQHZDO RU H[WHQVLRQ RI VXFK

 OHWWHURIFUHGLWRUEDQNHUV¶DFFHSWDQFHXQGHUWKH',3'RFXPHQWVDQGWKLV)LQDO2UGHUKDYHEHHQ

 VDWLVILHGLQIXOORUZDLYHGE\WKH',3$%/$GPLQLVWUDWLYH$JHQWRUWKH',37HUP/RDQ$JHQW

 DVDSSOLFDEOHDQGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH',3$%/$JUHHPHQWDQGWKH',37HUP

 /RDQ$JUHHPHQWDVDSSOLFDEOH

                       8VHRI3URFHHGVRI',3)DFLOLWLHV)URPDQGDIWHUWKH3HWLWLRQ'DWHWKH

 'HEWRUV VKDOO XVH DGYDQFHV RI FUHGLW XQGHU WKH ',3 )DFLOLWLHV LQ DFFRUGDQFH ZLWK WKH %XGJHW

     VXEMHFW WR VXFK YDULDQFHV DV SHUPLWWHG LQ WKH ',3 $JUHHPHQWV  RQO\ IRU WKH SXUSRVHV

 VSHFLILFDOO\ VHW IRUWK LQ WKLV )LQDO 2UGHU DQG WKH ',3 'RFXPHQWV DQG LQ FRPSOLDQFH ZLWK WKH

 WHUPVDQGFRQGLWLRQVLQWKLV)LQDO2UGHUDQGWKH',3'RFXPHQWV

                      5ROO8SRI/RDQV,PPHGLDWHO\XSRQHQWU\RIWKH,QWHULP2UGHUZLWKRXW

 DQ\ IXUWKHU DFWLRQ E\ WKH 'HEWRUV RU DQ\ RWKHU SDUW\ DQG DV D FRQGLWLRQ WR WKH SURYLVLRQ RI

 OLTXLGLW\XQGHUHDFKRIWKHUHVSHFWLYH',3)DFLOLWLHVWKH',35ROO8S/RDQVZHUHLQFOXGHGLQWKH

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 ³UROOHGXS´ LQWR ',3 7HUP 5ROO8S /RDQV DQG VXFK 3UHSHWLWLRQ 7HUP /RDQ 2EOLJDWLRQV ZHUH

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 ³UROOHGXS´LQWR',3$%/5ROO8S/RDQVDQGVXFK3UHSHWLWLRQ$%/2EOLJDWLRQVQRZFRQVWLWXWH

 ',3 $%/ 2EOLJDWLRQV  7KH DXWKRUL]DWLRQ RI WKH ',3 5ROO8S /RDQV UHPDLQV VXEMHFW WR WKH

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                      $XWKRUL]DWLRQWR8VH&DVK&ROODWHUDO6XEMHFWWRWKHWHUPVDQGFRQGLWLRQV

 RI WKLV )LQDO 2UGHU WKH ',3 )DFLOLWLHV DQG WKH ',3 'RFXPHQWV DQG LQ DFFRUGDQFH ZLWK WKH

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 DXWKRUL]HGWRFRQWLQXHXVLQJ&DVK&ROODWHUDOXQWLOWKH',37HUPLQDWLRQ'DWH DVGHILQHGKHUHLQ 

 provided, howeverWKDWGXULQJWKH5HPHGLHV1RWLFH3HULRG DVGHILQHGKHUHLQ WKH'HEWRUVPD\

 XVH &DVK &ROODWHUDO VROHO\ WR PHHW SD\UROO REOLJDWLRQV DQG SD\ H[SHQVHV QHFHVVDU\ WR DYRLG

 LPPHGLDWHDQGLUUHSDUDEOHKDUPWRWKH'HEWRUV¶HVWDWHVLQDFFRUGDQFHZLWKWKH%XGJHW VXEMHFWWR

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 $GPLQLVWUDWLYH$JHQWDQGWKH',37HUP/RDQ$JHQWHDFKLQWKHLUVROHGLVFUHWLRQ1RWKLQJLQ

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 RXWVLGH WKH RUGLQDU\ FRXUVH RI EXVLQHVV RU DQ\ 'HEWRU¶V XVH RI DQ\ &DVK &ROODWHUDO RU RWKHU

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                           D     Prepetition ABL Adequate Protection Liens  6XEMHFW DQG

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 $%/3DUWLHVLQWKH3UHSHWLWLRQ&ROODWHUDODJDLQVWDQ\'LPLQXWLRQLQ9DOXHRIVXFKLQWHUHVWVLQWKH

 3UHSHWLWLRQ &ROODWHUDO WKH 'HEWRUV KHUHE\ JUDQW RQ D ILQDO EDVLV WR WKH 3UHSHWLWLRQ $%/

 $GPLQLVWUDWLYH$JHQWIRUWKHEHQHILWRILWVHOIDQGWKH3UHSHWLWLRQ$%/3DUWLHVFRQWLQXLQJYDOLG

 ELQGLQJ HQIRUFHDEOH DQG SHUIHFWHG SRVWSHWLWLRQ VHFXULW\ LQWHUHVWV LQ DQG OLHQV RQ WKH ',3

 &ROODWHUDO WKH³3UHSHWLWLRQ$%/$GHTXDWH3URWHFWLRQ/LHQV´ 

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 7HUP/RDQ3DUWLHVLQWKH3UHSHWLWLRQ&ROODWHUDODJDLQVWDQ\'LPLQXWLRQLQ9DOXHRIVXFKLQWHUHVWV

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 /RDQ $JHQW IRU WKH EHQHILW RI LWVHOI DQG WKH 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV FRQWLQXLQJ YDOLG

 ELQGLQJ HQIRUFHDEOH DQG SHUIHFWHG SRVWSHWLWLRQ VHFXULW\ LQWHUHVWV LQ DQG OLHQV RQ WKH ',3

 &ROODWHUDO WKH ³3UHSHWLWLRQ 7HUP /RDQ $GHTXDWH 3URWHFWLRQ /LHQV´ DQG WRJHWKHU ZLWK WKH

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 RWKHUVHFXULW\LQWHUHVWVLQOLHQVRQRUFODLPVDJDLQVWDQ\RIWKH',3&ROODWHUDO

                           E      7KH 3UHSHWLWLRQ 7HUP /RDQ $GHTXDWH 3URWHFWLRQ /LHQV VKDOO EH

 VXEMHFWWRWKH&DUYH2XWDVVHWIRUWKLQWKLV)LQDO2UGHUDQGVKDOORWKHUZLVHEHMXQLRURQO\WR L 

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 ',37HUP/RDQ/LHQVDQG  WKH3UHSHWLWLRQ7HUP/RDQ/LHQVDQG LL ZLWKUHVSHFWWRWKH',3

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 VHQLRUWRDOORWKHUVHFXULW\LQWHUHVWVLQOLHQVRQRUFODLPVDJDLQVWDQ\RIWKH',3&ROODWHUDO

                           F      ([FHSWDVSURYLGHGKHUHLQWKH$GHTXDWH3URWHFWLRQ/LHQVVKDOOQRW

 EHPDGHVXEMHFWWRRUpari passuZLWKDQ\OLHQRUVHFXULW\LQWHUHVWKHUHWRIRUHRUKHUHLQDIWHULQWKH

 &DVHVRUDQ\6XFFHVVRU&DVHVDQGVKDOOEHYDOLGDQGHQIRUFHDEOHDJDLQVWDQ\WUXVWHHDSSRLQWHGLQ

 DQ\RIWKH&DVHVRUDQ\6XFFHVVRU&DVHVRUXSRQWKHGLVPLVVDORIDQ\RIWKH&DVHVRU6XFFHVVRU

 &DVHV7KH$GHTXDWH3URWHFWLRQ/LHQVVKDOOQRWEHVXEMHFWWRVHFWLRQVRURIWKH

 %DQNUXSWF\&RGH1ROLHQRULQWHUHVWDYRLGHGDQGSUHVHUYHGIRUWKHEHQHILWRIWKHHVWDWHSXUVXDQW

 WRVHFWLRQRIWKH%DQNUXSWF\&RGHVKDOOEHpari passuZLWKRUVHQLRUWRWKH3UHSHWLWLRQ/LHQV

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 WKH&DUYH2XWDVVHWIRUWKLQWKLV)LQDO2UGHUDVIXUWKHUDGHTXDWHSURWHFWLRQRIWKHLQWHUHVWVRIWKH

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 LWVHOI DQG WKH 3UHSHWLWLRQ $%/ 3DUWLHV LV KHUHE\ JUDQWHG RQ D ILQDO EDVLV DV DQG WR WKH H[WHQW

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 H[SHQVHFODLPLQHDFKRIWKH&DVHVDQGDQ\6XFFHVVRU&DVHV WKH³3UHSHWLWLRQ$%/6XSHUSULRULW\

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 LQWHUHVWV RI WKH 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV LQ WKH 3UHSHWLWLRQ &ROODWHUDO DJDLQVW DQ\

 'LPLQXWLRQ LQ 9DOXH RI VXFK LQWHUHVWV LQ WKH 3UHSHWLWLRQ &ROODWHUDO WKH 3UHSHWLWLRQ 7HUP /RDQ

 $JHQW RQ EHKDOI RI LWVHOI DQG WKH 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV LV KHUHE\ JUDQWHG RQ D ILQDO



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 EDVLV DV DQG WR WKH H[WHQW SURYLGHG E\ VHFWLRQ  E  RI WKH %DQNUXSWF\ &RGH DQ DOORZHG

 VXSHUSULRULW\ DGPLQLVWUDWLYH H[SHQVH FODLP LQ HDFK RI WKH &DVHV DQG DQ\ 6XFFHVVRU &DVHV WKH

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 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV VKDOO QRW EH HQWLWOHG WR DQ\ 3UHSHWLWLRQ 7HUP /RDQ 6XSHUSULRULW\

 &ODLPVRQDFFRXQWRIDQ\'LPLQXWLRQLQ9DOXHDULVLQJIURPWKH',37HUP5ROO8S/RDQV

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 DGPLQLVWUDWLYH H[SHQVH FODLPV DQG XQVHFXUHG FODLPV DJDLQVW WKH 'HEWRUV RU WKHLU HVWDWHV QRZ

 H[LVWLQJRUKHUHDIWHUDULVLQJRIDQ\NLQGRUQDWXUHZKDWVRHYHULQFOXGLQJDGPLQLVWUDWLYHH[SHQVHV

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 ZLWKRXWRWKHUZLVHLPSDLULQJWKHOLHQSULRULWLHVDVVHWIRUWKKHUHLQDQGVXEMHFWWRWKH&DUYH2XWDV

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 3DUWLHV6XEMHFWWRWKH&DUYH2XWDVVHWIRUWKLQWKLV)LQDO2UGHUDVIXUWKHUDGHTXDWHSURWHFWLRQ

  WKH³3UHSHWLWLRQ$%/$GHTXDWH3URWHFWLRQ3D\PHQWV´ WKH'HEWRUVDUHDXWKRUL]HGDQGGLUHFWHG

 RQ D ILQDO EDVLV WR SURYLGH DGHTXDWH SURWHFWLRQ WR WKH 3UHSHWLWLRQ $%/ 3DUWLHV LQ WKH IRUP RI

 SD\PHQW LQ FDVK DQG DV WR IHHV DQG H[SHQVHV ZLWKRXW WKH QHHG IRU WKH ILOLQJ RI D IRUPDO IHH

 DSSOLFDWLRQ  RI L  RXWVWDQGLQJ 3UHSHWLWLRQ $%/ 2EOLJDWLRQV VROHO\ WR WKH H[WHQW WKDW DQ\

 UHPDLQHGRXWVWDQGLQJDIWHUHQWU\RIWKH,QWHULP2UGHU  LL WRWKHH[WHQWQRWSDLGXSRQHQWU\RI

 WKH,QWHULP2UGHUSD\PHQWRIWKHUHDVRQDEOHDQGGRFXPHQWHGIHHVRXWRISRFNHWH[SHQVHVDQG

 GLVEXUVHPHQWV LQFOXGLQJ WKH UHDVRQDEOH DQG GRFXPHQWHG IHHV RXWRISRFNHW H[SHQVHV DQG

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 GLVEXUVHPHQWVRIFRXQVHOILQDQFLDODGYLVRUVDXGLWRUVWKLUGSDUW\FRQVXOWDQWVDQGRWKHUYHQGRUV 

 LQFXUUHGE\WKH3UHSHWLWLRQ$%/$JHQWVDULVLQJSULRUWRWKH3HWLWLRQ'DWHDQG LLL WKHUHDVRQDEOH

 DQGGRFXPHQWHGIHHVRXWRISRFNHWH[SHQVHVDQGGLVEXUVHPHQWV LQFOXGLQJWKHUHDVRQDEOHDQG

 GRFXPHQWHG IHHV RXWRISRFNHW H[SHQVHV DQG GLVEXUVHPHQWV RI FRXQVHO ILQDQFLDO DGYLVRUV

 DXGLWRUV WKLUGSDUW\ FRQVXOWDQWV DQG RWKHU YHQGRUV  LQFXUUHG E\ WKH 3UHSHWLWLRQ $%/ $JHQWV

 DULVLQJRQRUVXEVHTXHQWWRWKH3HWLWLRQ'DWHprovided, howeverWKDWGXULQJWKHFRQWLQXDQFHRI

 DQ (YHQW RI 'HIDXOW DQ\ VXFK SD\PHQWV WR WKH 3UHSHWLWLRQ $%/ $JHQWV VKDOO EH PDGH VROHO\

 IURP ',3 $%/ 3ULRULW\ &ROODWHUDO  ,PPHGLDWHO\ XSRQ HQWU\ RI WKH ,QWHULP 2UGHU WKH 'HEWRUV

 ZHUHDXWKRUL]HGDQGGLUHFWHGWRSD\WRWKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQWIRUWKHEHQHILW

 RIWKH3UHSHWLWLRQ$%/3DUWLHVLQWRDQRQLQWHUHVWEHDULQJDFFRXQWPDLQWDLQHGDW%DQN

 RI $PHULFD 1$ WKH ³3UHSHWLWLRQ $%/ ,QGHPQLW\ 5HVHUYH´  WR VHFXUH FRQWLQJHQW

 LQGHPQLILFDWLRQUHLPEXUVHPHQWRUVLPLODUFRQWLQXLQJREOLJDWLRQVDULVLQJXQGHURUUHODWHGWRWKH

 3UHSHWLWLRQ $%/ 'RFXPHQWV WKH ³3UHSHWLWLRQ $%/ ,QGHPQLW\ 2EOLJDWLRQV´   $  7KH

 3UHSHWLWLRQ $%/ ,QGHPQLW\ 5HVHUYH VKDOO VHFXUH DOO FRVWV H[SHQVHV DQG RWKHU DPRXQWV

  LQFOXGLQJUHDVRQDEOHDQGGRFXPHQWHGDWWRUQH\V¶IHHV LQFXUUHGE\WKH3UHSHWLWLRQ$%/$JHQWV

 DQG WKH 3UHSHWLWLRQ $%/ /HQGHUV LQ FRQQHFWLRQ ZLWK RU UHVSRQGLQJ WR   IRUPDO RU LQIRUPDO

 LQTXLULHVDQGRUGLVFRYHU\UHTXHVWVDQ\DGYHUVDU\SURFHHGLQJFDXVHRIDFWLRQREMHFWLRQFODLP

 GHIHQVH RU RWKHU FKDOOHQJH DV FRQWHPSODWHG LQ SDUDJUDSK  KHUHRI RU   DQ\ &KDOOHQJH DV

 GHILQHG KHUHLQ  DJDLQVW WKH 3UHSHWLWLRQ $%/ $JHQWV RU 3UHSHWLWLRQ $%/ /HQGHUV UHODWHG WR WKH

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 JUDQWHGWRWKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQWDVDSSOLFDEOHZKHWKHULQWKHVH&DVHVRU

 LQGHSHQGHQWO\LQDQRWKHUIRUXPFRXUWRUYHQXH % WKH3UHSHWLWLRQ$%/,QGHPQLW\2EOLJDWLRQV

 VKDOOEHVHFXUHGE\DILUVWOLHQRQWKH3UHSHWLWLRQ$%/,QGHPQLW\5HVHUYHDQGWKHIXQGVWKHUHLQ



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 DQGE\DOLHQRQWKH3UHSHWLWLRQ&ROODWHUDO VXEMHFWLQDOOUHVSHFWVWRWKH,QWHUFUHGLWRU$JUHHPHQW 

  &  VXEMHFW WR SDUDJUDSK  EHORZ WKH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW PD\ DSSO\

 DPRXQWV LQ WKH 3UHSHWLWLRQ $%/ ,QGHPQLW\ 5HVHUYH DJDLQVW WKH 3UHSHWLWLRQ $%/ ,QGHPQLW\

 2EOLJDWLRQV DV DQG ZKHQ WKH\ DULVH ZLWKRXW IXUWKHU QRWLFH WR RU FRQVHQW IURP WKH 'HEWRUV WKH

 &RPPLWWHHRUDQ\RWKHUSDUWLHVLQLQWHUHVWDQGZLWKRXWIXUWKHURUGHURIWKLV&RXUWDQG ' XQWLO

 WKH&KDOOHQJH'HDGOLQH DVGHILQHGKHUHLQ WKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQW IRULWVHOI

 DQG RQ EHKDOI RI WKH 3UHSHWLWLRQ $%/ 3DUWLHV  VKDOO UHWDLQ DQG PDLQWDLQ WKH 3UHSHWLWLRQ $%/

 /LHQV JUDQWHG WR WKH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW DV VHFXULW\ IRU WKH DPRXQW RI DQ\

 3UHSHWLWLRQ $%/ ,QGHPQLW\ 2EOLJDWLRQV QRW FDSDEOH RI EHLQJ VDWLVILHG IURP DSSOLFDWLRQ RI WKH

 IXQGV RQ GHSRVLW LQ WKH 3UHSHWLWLRQ $%/ ,QGHPQLW\ 5HVHUYH provided WKDW L  DQ\ VXFK

 LQGHPQLILFDWLRQ FODLPV VKDOO EH VXEMHFW WR D  WKH WHUPV RI WKH 3UHSHWLWLRQ $%/ 'RFXPHQWV

  LQFOXGLQJZLWKUHVSHFWWRDSSOLFDWLRQRISURFHHGV DQG E WKHULJKWV RI SDUWLHV LQLQWHUHVW ZLWK

 UHTXLVLWH VWDQGLQJ WR REMHFW WR DQ\ VXFK LQGHPQLILFDWLRQ FODLP V  DUH KHUHE\ UHVHUYHG LQ

 DFFRUGDQFH ZLWK SDUDJUDSK  KHUHRI DQG LL  WKH &RXUW VKDOO UHVHUYH MXULVGLFWLRQ WR KHDU DQG

 GHWHUPLQHDQ\VXFKGLVSXWHGLQGHPQLILFDWLRQFODLP V 7KH3UHSHWLWLRQ$%/,QGHPQLW\5HVHUYH

 VKDOOEHVXEMHFWWRWKH',3/LHQVDQGWKH$GHTXDWH3URWHFWLRQ/LHQVVXEMHFWWRWKHSULRULW\VHW

 IRUWKKHUHLQ7KH3UHSHWLWLRQ$%/,QGHPQLW\5HVHUYHVKDOOEHUHOHDVHGDQGWKHIXQGVDSSOLHGLQ

 DFFRUGDQFHZLWKSDUDJUDSKRIWKLV)LQDO2UGHUXSRQWKHLQGHIHDVLEOHSD\PHQWLQIXOOLQFDVKRI

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 HVWDWHV LQFOXGLQJDQ\DSSOLFDEOHOLTXLGDWRU ZLWKUHVSHFWWRDQ\FODLPVDULVLQJRXWRIRUUHODWHG

 WR WKH 3UHSHWLWLRQ $%/ $JUHHPHQW DQG WKH 3UHSHWLWLRQ $%/ 'RFXPHQWV DFFHSWDEOH WR WKH

 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW DQG HDFK RWKHU 3UHSHWLWLRQ $%/ /HQGHU LQ WKHLU VROH



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 GLVFUHWLRQ

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 3DUWLHV6XEMHFWWRWKH&DUYH2XWDVVHWIRUWKLQWKLV)LQDO2UGHUDVIXUWKHUDGHTXDWHSURWHFWLRQ

  WKH³3UHSHWLWLRQ7HUP/RDQ$GHTXDWH3URWHFWLRQ3D\PHQWV´DQGWRJHWKHUZLWKWKH3UHSHWLWLRQ

 $%/ $GHTXDWH 3URWHFWLRQ 3D\PHQWV WKH ³$GHTXDWH 3URWHFWLRQ 3D\PHQWV´  WKH 'HEWRUV DUH

 DXWKRUL]HGDQGGLUHFWHGRQDILQDOEDVLVWRSURYLGHDGHTXDWHSURWHFWLRQWRWKH3UHSHWLWLRQ7HUP

 /RDQ 3DUWLHV LQ WKH IRUP RI SD\PHQW LQ FDVK ZLWKRXW WKH QHHG IRU WKH ILOLQJ RI IRUPDO IHH

 DSSOLFDWLRQV L  WR WKH H[WHQW QRW SDLG XSRQ HQWU\ RI WKH ,QWHULP 2UGHU WKH UHDVRQDEOH DQG

 GRFXPHQWHG IHHV RXWRISRFNHW H[SHQVHV DQG GLVEXUVHPHQWV LQFOXGLQJ WKH UHDVRQDEOH DQG

 GRFXPHQWHG IHHV RXWRISRFNHW H[SHQVHV DQG GLVEXUVHPHQWV RI FRXQVHO ILQDQFLDO DGYLVRUV

 DXGLWRUV WKLUGSDUW\ FRQVXOWDQWV DQG RWKHU YHQGRUV  LQFXUUHG E\ WKH 3UHSHWLWLRQ 7HUP /RDQ

 3DUWLHV DULVLQJ SULRU WR WKH 3HWLWLRQ 'DWH DQG LL  WKH UHDVRQDEOH DQG GRFXPHQWHG IHHV RXWRI

 SRFNHW H[SHQVHV DQG GLVEXUVHPHQWV LQFOXGLQJ WKH UHDVRQDEOH DQG GRFXPHQWHG IHHV RXWRI

 SRFNHW H[SHQVHV DQG GLVEXUVHPHQWV RI FRXQVHO ILQDQFLDO DGYLVRUV DXGLWRUV WKLUGSDUW\

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 VXEVHTXHQWWRWKH3HWLWLRQ'DWHprovided, howeverWKDWGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI

 'HIDXOWDQ\VXFKSD\PHQWVWRWKH3UHSHWLWLRQ7HUP/RDQ3DUWLHVVKDOOEHPDGHVROHO\IURPWKH

 ',3 7HUP 3ULRULW\ &ROODWHUDO provided further however WKDW DQ\ 3UHSHWLWLRQ 7HUP /RDQ

 $GHTXDWH3URWHFWLRQ3D\PHQWVWKDWDUHQRWUHODWHGWRWKH',37HUP/RDQ)DFLOLW\RUWKH%DFNVWRS

 &RPPLWPHQW$JUHHPHQW DVGHILQHGLQWKH',37HUP/RDQ&UHGLW$JUHHPHQW VKDOOEHVXEMHFWWR

 WKH&RPPLWWHH¶VULJKWWRVHHNUHFKDUDFWHUL]DWLRQRIVXFKSD\PHQWV,PPHGLDWHO\XSRQHQWU\RI

 WKH,QWHULP2UGHUWKH'HEWRUVZHUHDXWKRUL]HGDQGGLUHFWHGWRSD\WRWKH3UHSHWLWLRQ7HUP/RDQ

 $JHQW IRU WKH EHQHILW RI WKH 3UHSHWLWLRQ 7HUP /RDQ /HQGHUV  LQWR D QRQLQWHUHVW



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 EHDULQJDFFRXQWPDLQWDLQHGDWWKH',37HUP/RDQ$JHQW WKH³3UHSHWLWLRQ7HUP/RDQ,QGHPQLW\

 5HVHUYH´ WRVHFXUHFRQWLQJHQWLQGHPQLILFDWLRQUHLPEXUVHPHQWRUVLPLODUFRQWLQXLQJREOLJDWLRQV

 DULVLQJ XQGHU RU UHODWHG WR WKH 3UHSHWLWLRQ 7HUP /RDQ 'RFXPHQWV WKH ³3UHSHWLWLRQ 7HUP

 ,QGHPQLW\ 2EOLJDWLRQV´   $  7KH 3UHSHWLWLRQ 7HUP /RDQ ,QGHPQLW\ 5HVHUYH VKDOO VHFXUH DOO

 FRVWV H[SHQVHV DQG RWKHU DPRXQWV LQFOXGLQJ UHDVRQDEOH DQG GRFXPHQWHG DWWRUQH\V¶ IHHV 

 LQFXUUHG E\ WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW DQG WKH 3UHSHWLWLRQ 7HUP /RDQ /HQGHUV LQ

 FRQQHFWLRQZLWKRUUHVSRQGLQJWR  IRUPDORULQIRUPDOLQTXLULHVDQGRUGLVFRYHU\UHTXHVWVDQ\

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 FRQWHPSODWHG LQ SDUDJUDSK  KHUHRI RU   DQ\ &KDOOHQJH DJDLQVW WKH 3UHSHWLWLRQ 7HUP /RDQ

 $JHQWRU3UHSHWLWLRQ7HUP/RDQ/HQGHUV UHODWHG WR WKH 3UHSHWLWLRQ7HUP /RDQ'RFXPHQWV WKH

 3UHSHWLWLRQ 7HUP /RDQ 2EOLJDWLRQV RU WKH 3UHSHWLWLRQ 7HUP /RDQ /LHQV JUDQWHG WR WKH

 3UHSHWLWLRQ7HUP/RDQ$JHQWDVDSSOLFDEOHZKHWKHULQWKHVH&DVHVRULQGHSHQGHQWO\LQDQRWKHU

 IRUXP FRXUW RU YHQXH %  WKH 3UHSHWLWLRQ 7HUP ,QGHPQLW\ 2EOLJDWLRQV VKDOO EH VHFXUHG E\ D

 ILUVWOLHQRQWKH3UHSHWLWLRQ7HUP/RDQ,QGHPQLW\5HVHUYHDQGWKHIXQGVWKHUHLQDQGE\DOLHQRQ

 WKH3UHSHWLWLRQ&ROODWHUDO VXEMHFWLQDOOUHVSHFWVWRWKH,QWHUFUHGLWRU$JUHHPHQW  & VXEMHFWWR

 SDUDJUDSKEHORZWKH3UHSHWLWLRQ7HUP/RDQ$JHQWDQG3UHSHWLWLRQ7HUP/RDQ/HQGHUVPD\

 DSSO\ DPRXQWV LQ WKH 3UHSHWLWLRQ 7HUP /RDQ ,QGHPQLW\ 5HVHUYH DJDLQVW WKH 3UHSHWLWLRQ 7HUP

 ,QGHPQLW\ 2EOLJDWLRQV DV DQG ZKHQ WKH\ DULVH ZLWKRXW IXUWKHU QRWLFH WR RU FRQVHQW IURP WKH

 'HEWRUVWKH&RPPLWWHHRUDQ\RWKHUSDUWLHVLQLQWHUHVWDQGZLWKRXWIXUWKHURUGHURIWKLV&RXUW

 DQG ' XQWLOWKH&KDOOHQJH'HDGOLQHWKH3UHSHWLWLRQ7HUP/RDQ$JHQW IRULWVHOIDQGRQEHKDOI

 RIWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUV VKDOOUHWDLQDQGPDLQWDLQWKH3UHSHWLWLRQ7HUP/RDQ/LHQV

 JUDQWHGWRWKH3UHSHWLWLRQ7HUP/RDQ$JHQWDVVHFXULW\IRUWKHDPRXQWRIDQ\3UHSHWLWLRQ7HUP

 ,QGHPQLW\2EOLJDWLRQVQRWFDSDEOHRIEHLQJVDWLVILHGIURPDSSOLFDWLRQRIWKHIXQGVRQGHSRVLWLQ



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 WKH3UHSHWLWLRQ7HUP/RDQ,QGHPQLW\5HVHUYHprovidedWKDW L DQ\VXFKLQGHPQLILFDWLRQFODLPV

 VKDOO D EHVXEMHFWWRWKHWHUPVRIWKH3UHSHWLWLRQ7HUP/RDQ'RFXPHQWVDQG E WKHULJKWVRI

 SDUWLHV LQ LQWHUHVW ZLWK UHTXLVLWH VWDQGLQJ WR REMHFW WR DQ\ VXFK LQGHPQLILFDWLRQ FODLP V  DUH

 KHUHE\ UHVHUYHG LQ DFFRUGDQFH ZLWK SDUDJUDSK  KHUHRI DQG LL  WKH &RXUW VKDOO UHVHUYH

 MXULVGLFWLRQWRKHDUDQGGHWHUPLQHDQ\VXFKGLVSXWHGLQGHPQLILFDWLRQFODLP V 7KH3UHSHWLWLRQ

 7HUP /RDQ ,QGHPQLW\ 5HVHUYH VKDOO EH VXEMHFW WR WKH ',3 /LHQV DQG WKH $GHTXDWH 3URWHFWLRQ

 /LHQV VXEMHFW WR WKH SULRULW\ VHW IRUWK KHUHLQ  7KH 3UHSHWLWLRQ 7HUP /RDQ ,QGHPQLW\ 5HVHUYH

 VKDOOEHUHOHDVHGDQGWKHIXQGVDSSOLHGLQDFFRUGDQFHZLWKSDUDJUDSKRIWKLV)LQDO2UGHUXSRQ

 WKHLQGHIHDVLEOHSD\PHQWLQIXOOLQFDVKRIWKH3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQVDQGWKHUHFHLSW

 E\WKH3UHSHWLWLRQ7HUP/RDQ$JHQWDQGWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUVRIUHOHDVHVIURPWKH

 'HEWRUVDQGWKHLUHVWDWHV LQFOXGLQJDQ\DSSOLFDEOHOLTXLGDWRU ZLWKUHVSHFWWRDQ\FODLPVDULVLQJ

 RXW RI RU UHODWHG WR WKH 3UHSHWLWLRQ 7HUP /RDQ $JUHHPHQW DQG WKH 3UHSHWLWLRQ 7HUP /RDQ

 'RFXPHQWV DFFHSWDEOH WR WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW DQG HDFK RWKHU 3UHSHWLWLRQ 7HUP

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 WKLV)LQDO2UGHUQRWKLQJKHUHLQVKDOOLPSDLURUPRGLI\WKHDSSOLFDWLRQRIVHFWLRQ E RIWKH

 %DQNUXSWF\&RGHLQWKHHYHQWWKDWWKHDGHTXDWH SURWHFWLRQSURYLGHGWRWKH3UHSHWLWLRQ6HFXUHG

 3DUWLHV XQGHU WKH ,QWHULP 2UGHU RU WKLV )LQDO 2UGHU LV LQVXIILFLHQW WR FRPSHQVDWH IRU DQ\

 'LPLQXWLRQLQ9DOXHRIWKHLUUHVSHFWLYHLQWHUHVWVLQWKH3UHSHWLWLRQ&ROODWHUDOGXULQJWKH&DVHVRU

 DQ\6XFFHVVRU&DVHV7KHUHFHLSWE\WKH3UHSHWLWLRQ6HFXUHG3DUWLHVRIWKHDGHTXDWHSURWHFWLRQ

 SURYLGHGXQGHUWKH,QWHULP2UGHUDQGWKLV)LQDO2UGHUVKDOOQRWEHGHHPHGDQDGPLVVLRQWKDWWKH

 LQWHUHVWVRIWKH3UHSHWLWLRQ6HFXUHG3DUWLHVDUHDGHTXDWHO\SURWHFWHG)XUWKHUQHLWKHUWKH,QWHULP

 2UGHUQRUWKLV)LQDO2UGHUVKDOOSUHMXGLFHRUOLPLWWKHULJKWVRIWKH3UHSHWLWLRQ6HFXUHG3DUWLHVWR



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 VHHN DGGLWLRQDO UHOLHI ZLWK UHVSHFW WR WKH XVH RI &DVK &ROODWHUDO RU IRU DGGLWLRQDO DGHTXDWH

 SURWHFWLRQ

                                3URYLVLRQV&RPPRQWR',3)LQDQFLQJ
                                     DQGXVHRI&DVK&ROODWHUDO

                      $PHQGPHQWRIWKH',3'RFXPHQWV7KH',3'RFXPHQWVPD\IURPWLPH

 WRWLPHEHDPHQGHGPRGLILHGRUVXSSOHPHQWHGE\WKHSDUWLHVWKHUHWRZLWKRXWIXUWKHURUGHURIWKH

 &RXUWLIWKHDPHQGPHQWPRGLILFDWLRQRUVXSSOHPHQWLV D QRQPDWHULDODQG E LQDFFRUGDQFH

 ZLWKWKH',3'RFXPHQWV,QWKHFDVHRIDPDWHULDODPHQGPHQWPRGLILFDWLRQRUVXSSOHPHQWWR

 WKH',3'RFXPHQWVWKH'HEWRUVVKDOOSURYLGHQRWLFH ZKLFKPD\EHSURYLGHGWKURXJKHOHFWURQLF

 PDLORUIDFVLPLOH WRFRXQVHOWRWKH&RPPLWWHHWKH867UXVWHHDQGWKH',3$JHQWQRWSDUW\WR

 VXFKDPHQGPHQWPRGLILFDWLRQRUVXSSOHPHQW FROOHFWLYHO\WKH³1RWLFH3DUWLHV´ SURPSWO\XSRQ

 WKH HIIHFWLYHQHVV RI VXFK DPHQGPHQW PRGLILFDWLRQ RU VXSSOHPHQW provided, however WKDW

 DSSURYDO RI WKH &RXUW ZLOO EH QHFHVVDU\ WR HIIHFWXDWH DQ\ VXFK DPHQGPHQW PRGLILFDWLRQ RU

 VXSSOHPHQW DQG provided further WKDW VXFK DPHQGPHQW PRGLILFDWLRQ RU VXSSOHPHQW VKDOO EH

 ZLWKRXWSUHMXGLFHWRWKHULJKWRIDQ\SDUW\LQLQWHUHVWWREHKHDUG

                      %XGJHW 0DLQWHQDQFH  7KH XVH RI ERUURZLQJV DQG OHWWHUV RI FUHGLW XQGHU

 WKH',3)DFLOLWLHVDQGWKHXVHRI&DVK&ROODWHUDOVKDOOEHLQDFFRUGDQFHZLWKWKH%XGJHWVXEMHFW

 LQDOOUHVSHFWVWRWKHYDULDQFHVVHWIRUWKLQWKH',3$JUHHPHQWV7KH%XGJHWVKDOOGHSLFWRQD

 ZHHNO\DQGOLQHLWHPEDVLV D  L SURMHFWHGFDVKUHFHLSWV LL SURMHFWHGGLVEXUVHPHQWV LQFOXGLQJ

 RUGLQDU\FRXUVHRSHUDWLQJH[SHQVHVEDQNUXSWF\UHODWHGH[SHQVHV LQFOXGLQJSURIHVVLRQDOIHHVRI

 WKH'HEWRUV¶SURIHVVLRQDOVDQGDGYLVRUV DVVHWVDOHVDQGDQ\RWKHUIHHVDQGH[SHQVHVUHODWLQJWR

 WKH ',3 $JUHHPHQWV LLL  QHW FDVK IORZ LY  SURMHFWHG LQYHQWRU\ UHFHLSWV DQG OHYHOV Y 

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 $%/ $JUHHPHQW  $YDLODELOLW\ DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  DQG &RPELQHG

 $YDLODELOLW\ DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  YL  WRWDO DYDLODEOH OLTXLGLW\ DQG YLL 

 SURIHVVLRQDOIHHVDQGGLVEXUVHPHQWVZLWKUHVSHFWWRWKH'HEWRUV¶SURIHVVLRQDOV E DUHSRUWDQG

 DQ\PRGLILFDWLRQWRRUDPHQGPHQWRUXSGDWHWKHUHRI ZLWKDQ\VXFKPRGLILFDWLRQVDPHQGPHQWV

 RUXSGDWHVVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVRIWKH',3$JUHHPHQWV OLVWLQJWKHVWRUHVVXEMHFW

 WR 6SHFLILHG 6WRUH &ORVLQJ 6DOHV DV GHILQHG LQ WKH ',3 $JUHHPHQWV  DQG WKH RWKHU UHPDLQLQJ

 VWRUHVWREHSURGXFHGDWDWLPHUHDVRQDEO\VDWLVIDFWRU\WRWKH',3$JHQWVDQG F WKHRWKHULWHPV

 VHWIRUWKLQWKH%XGJHWDQGRWKHULQIRUPDWLRQUHTXHVWHGE\WKH',3$JHQWV ZKLFKVKDOOLQFOXGHD

 EUHDNGRZQ RI VWRUHV EHLQJ FORVHG RU SURSRVHG WR EH FORVHG ZKLFK LQIRUPDWLRQ ZLWK UHVSHFW WR

 VXFKVWRUHVVKDOOEHOLPLWHGWRSURUDWDFROOHFWLRQVRIVXFKVWRUHVFROOHFWHGIURPWKHSRLQWRIVDOH

 V\VWHPV GXULQJ WKH UHOHYDQW SHULRG ZKLFK FRUUHVSRQG WR FDVK FROOHFWLRQV GHVFULEHG LQ DQG

 GHWHUPLQHGLQDPDQQHUFRQVLVWHQWZLWKWKH%XGJHW IRUWKHILUVWWKLUWHHQ  ZHHNSHULRGIURP

 WKH&ORVLQJ'DWH DVGHILQHGLQWKH',3$JUHHPHQWV 7KH%XGJHWDQGDQ\PRGLILFDWLRQWRRU

 DPHQGPHQW RU XSGDWH WKHUHRI VKDOO EH VXEMHFW WR WKH DSSURYDO RI DQG LQ IRUP DQG VXEVWDQFH

 VDWLVIDFWRU\WRWKH',3$JHQWVDQGWKH5HTXLUHG/HQGHUV DVGHILQHGLQWKH',3$%/$JUHHPHQW 

 LQWKHLUVROHGLVFUHWLRQ7KH%XGJHWVKDOOEHXSGDWHGPRGLILHGRUVXSSOHPHQWHGE\WKH'HEWRUV

 ZLWKWKHZULWWHQFRQVHQWRIWKH',3$JHQWVDQGWKH5HTXLUHG/HQGHUVDQGXSRQWKHMRLQWUHTXHVW

 RIWKH',3$%/$GPLQLVWUDWLYH$JHQWDQGWKH',37HUP/RDQ$JHQWIURPWLPHWRWLPH ZKLFK

 UHTXHVW PD\ EH PDGH LQ FRQQHFWLRQ ZLWK DQ\ 7UDQVDFWLRQ DV GHILQHG LQ WKH ',3 $%/

 $JUHHPHQW  RU WKH FRPPHQFHPHQW RU GXULQJ WKH FRQWLQXDWLRQ RI WKH 6SHFLILHG 6WRUH &ORVLQJ

 6DOHV EXWLQDQ\HYHQWWKH%XGJHWVKDOOEHXSGDWHGE\WKH'HEWRUV VXEMHFWWKHDSSURYDORIWKH

 ',3 $JHQWV DQG 5HTXLUHG /HQGHUV  QRW OHVV WKDQ RQH WLPH LQ HDFK IRXU   FRQVHFXWLYH ZHHN

 SHULRG(DFKVXFKXSGDWHGPRGLILHGRUVXSSOHPHQWHGEXGJHWVKDOOEHDSSURYHGLQZULWLQJE\



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 DQGVKDOOEHLQIRUPDQGVXEVWDQFHUHDVRQDEO\VDWLVIDFWRU\WRWKH',3$JHQWVDQGWKH5HTXLUHG

 /HQGHUV LQ HDFK RI WKHLU VROH GLVFUHWLRQ  1R VXFK XSGDWHG PRGLILHG RU VXSSOHPHQWHG EXGJHW

 VKDOO EH HIIHFWLYH XQWLO VR DSSURYHG DQG RQFH VR DSSURYHG VKDOO EH GHHPHG WKH ³%XGJHW´

 provided, howeverWKDWLQWKHHYHQWWKH',3$JHQWVDQGWKH5HTXLUHG/HQGHUVRQWKHRQHKDQG

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 EXGJHWVXFKGLVDJUHHPHQWVKDOOJLYHULVHWRDQ(YHQWRI'HIDXOWXQGHUWKH',3$JUHHPHQWVRQFH

 WKHSHULRGFRYHUHGE\WKHSULRU%XGJHWKDVWHUPLQDWHG(DFK%XGJHWGHOLYHUHGWRWKH',3$JHQWV

 VKDOO EH DFFRPSDQLHG E\ VXFK VXSSRUWLQJ GRFXPHQWDWLRQ DV UHDVRQDEO\ UHTXHVWHG E\ WKH ',3

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 EDVHGXSRQDVVXPSWLRQVWKH'HEWRUVEHOLHYHWREHUHDVRQDEOH$FRS\RIDQ\%XGJHW RUXSGDWHG

 %XGJHW VKDOOEHGHOLYHUHGWRFRXQVHOIRUWKH&RPPLWWHHDQGWKH867UXVWHHDIWHU RULI LWKDV

 EHHQDSSURYHGE\WKH',3$JHQWV

                      %XGJHW &RPSOLDQFH  7KH 'HEWRUV VKDOO DW DOO WLPHV FRPSO\ ZLWK WKH

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 UHSRUWV DQG RWKHU LQIRUPDWLRQ DV UHTXLUHG LQ WKH ',3 $JUHHPHQWV VXEMHFW WR WKH JUDFH SHULRGV

 SURYLGHGWKHUHLQ 7KH'HEWRUV¶IDLOXUHWRFRPSO\ZLWKWKH%XGJHW LQFOXGLQJWKHYDULDQFHVVHW

 IRUWKLQWKH',3$JUHHPHQWV RUWRSURYLGHWKHUHSRUWVDQGRWKHULQIRUPDWLRQUHTXLUHGLQWKH',3

 $JUHHPHQWVVKDOOFRQVWLWXWHDQ(YHQWRI'HIDXOW DVGHILQHGKHUHLQ IROORZLQJWKHH[SLUDWLRQRI

 DQ\DSSOLFDEOHJUDFHSHULRGVHWIRUWKLQWKH',3$JUHHPHQWV

                      0RGLILFDWLRQ RI $XWRPDWLF 6WD\  7KH DXWRPDWLF VWD\ LPSRVHG XQGHU

 VHFWLRQ D  RIWKH%DQNUXSWF\&RGHLVKHUHE\PRGLILHGDVQHFHVVDU\WRHIIHFWXDWHDOORIWKH

 WHUPVDQGSURYLVLRQVRIWKLV)LQDO2UGHULQFOXGLQJWR D SHUPLWWKH'HEWRUVWRJUDQWRQDILQDO

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 3URWHFWLRQ 6XSHUSULRULW\ &ODLPV E  SHUPLW WKH 'HEWRUV WR SHUIRUP VXFK DFWV DV WKH ',3 $%/

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 WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW HDFK PD\ UHDVRQDEO\ UHTXHVW WR DVVXUH WKH SHUIHFWLRQ DQG

 SULRULW\RIWKHOLHQVJUDQWHGXQGHUWKH,QWHULP2UGHUDQGWKLV)LQDO2UGHU F SHUPLWWKH'HEWRUV

 WRLQFXUDOOOLDELOLWLHVDQGREOLJDWLRQVWRWKH',3$JHQWV',3/HQGHUVDQG3UHSHWLWLRQ6HFXUHG

 3DUWLHVXQGHUWKH',3'RFXPHQWVWKH',3)DFLOLWLHVWKH,QWHULP2UGHUDQGWKLV)LQDO2UGHU G 

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 3DUWLHVWRUHWDLQDQGDSSO\SD\PHQWVPDGHLQDFFRUGDQFHZLWKWKHWHUPVRIWKH,QWHULP2UGHUDQG

 WKLV )LQDO 2UGHU DQG H  SHUPLW DQ\ 3UHSHWLWLRQ 7HUP /RDQ 3DUW\ WR WKDW FHUWDLQ 5HVWUXFWXULQJ

 6XSSRUW $JUHHPHQW GDWHG DV RI -XQH   DV DPHQGHG WKH ³5HVWUXFWXULQJ 6XSSRUW

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 LQFOXGLQJ WR WDNH VWHSV QHFHVVDU\ LQFOXGLQJ VHQGLQJ DQ\ QRWLFH FRQWHPSODWHG WKHUHXQGHU  WR

 HIIHFWXDWHLWVWHUPLQDWLRQLQHDFKFDVHZLWKRXWWKHQHHGWRVHHNRUREWDLQIXUWKHUUHOLHIIURPWKH

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 2UGHULVVXIILFLHQWDQGFRQFOXVLYHHYLGHQFHRIWKHFUHDWLRQYDOLGLW\SHUIHFWLRQDQGSULRULW\RIDOO

 OLHQVJUDQWHGWKHUHLQDQGFRQILUPHGKHUHLQLQFOXGLQJWKH',3/LHQVDQGWKH$GHTXDWH3URWHFWLRQ

 /LHQVZLWKRXWWKHQHFHVVLW\RIILOLQJRUUHFRUGLQJDQ\ILQDQFLQJVWDWHPHQWPRUWJDJHQRWLFHRU

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 DQ\MXULVGLFWLRQRUWKHWDNLQJRIDQ\RWKHUDFWLRQ LQFOXGLQJIRUWKHDYRLGDQFHRIGRXEWHQWHULQJ

 LQWRDQ\GHSRVLWDFFRXQWFRQWURODJUHHPHQW WRYDOLGDWHRUSHUIHFW LQDFFRUGDQFHZLWKDSSOLFDEOH

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 1RWZLWKVWDQGLQJ WKH IRUHJRLQJ HDFK RI WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW ',3 7HUP /RDQ

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 ILOHDVLWLQLWVVROHGLVFUHWLRQGHHPVQHFHVVDU\RUDGYLVDEOHVXFKILQDQFLQJVWDWHPHQWVVHFXULW\

 DJUHHPHQWV PRUWJDJHV QRWLFHV RI OLHQV DQG RWKHU VLPLODU GRFXPHQWV WR SHUIHFW LQ DFFRUGDQFH

 ZLWK DSSOLFDEOH QRQEDQNUXSWF\ ODZ RU WR RWKHUZLVH HYLGHQFH WKH ',3 /LHQV DQG WKH $GHTXDWH

 3URWHFWLRQ /LHQV DQG DOO VXFK ILQDQFLQJ VWDWHPHQWV PRUWJDJHV QRWLFHV DQG RWKHU GRFXPHQWV

 VKDOOEHGHHPHGWRKDYHEHHQILOHGRUUHFRUGHGDVRIWKH3HWLWLRQ'DWHprovided, howeverWKDW

 QRVXFKILOLQJRUUHFRUGDWLRQVKDOOEHQHFHVVDU\RUUHTXLUHGLQRUGHUWRFUHDWHRUSHUIHFWWKH',3

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 $JHQWWKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQWDQGWKH3UHSHWLWLRQ7HUP/RDQ$JHQWDOOVXFK

 ILQDQFLQJVWDWHPHQWVPRUWJDJHVQRWLFHVDQGRWKHUGRFXPHQWVDVWKH',3$%/$GPLQLVWUDWLYH

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 $JHQWLQLWVGLVFUHWLRQPD\ILOHDSKRWRFRS\RIWKLV)LQDO2UGHUDVDILQDQFLQJVWDWHPHQWZLWK

 DQ\ILOLQJRUUHFRUGLQJRIILFHRUZLWKDQ\UHJLVWU\RIGHHGVRUVLPLODURIILFHLQDGGLWLRQWRRULQ

 OLHXRIVXFKILQDQFLQJVWDWHPHQWVQRWLFHVRIOLHQRUVLPLODULQVWUXPHQW7RWKHH[WHQWWKDWWKH

 3UHSHWLWLRQ$%/$GPLQLVWUDWLYH$JHQWRUWKH3UHSHWLWLRQ7HUP/RDQ$JHQWLVWKHVHFXUHGSDUW\

 XQGHU DQ\ VHFXULW\ DJUHHPHQW PRUWJDJH OHDVHKROG PRUWJDJH ODQGORUG ZDLYHU FUHGLW FDUG

 SURFHVVRUQRWLFHVRUDJUHHPHQWVEDLOHHOHWWHUVFXVWRPEURNHUDJUHHPHQWVILQDQFLQJVWDWHPHQW

 DFFRXQW FRQWURO DJUHHPHQWV RU DQ\ RWKHU 3UHSHWLWLRQ 'RFXPHQWV RU LV OLVWHG DV ORVV SD\HH RU

 DGGLWLRQDO LQVXUHG XQGHU DQ\ RI WKH 'HEWRUV¶ LQVXUDQFH SROLFLHV WKH ',3 $%/ $GPLQLVWUDWLYH



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 $JHQWDQGWKH',37HUP/RDQ$JHQW DVDSSOLFDEOH VKDOODOVREHGHHPHGWREHWKHVHFXUHGSDUW\

 XQGHU VXFK GRFXPHQWV RU WR EH WKH ORVV SD\HH RU DGGLWLRQDO LQVXUHG DV DSSOLFDEOH  7KH

 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW DQG WKH 3UHSHWLWLRQ 7HUP /RDQ $JHQW VKDOO VHUYH DV

 DJHQWV IRU WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW DQG WKH ',3 7HUP /RDQ $JHQW IRU SXUSRVHV RI

 SHUIHFWLQJWKH',3$%/$GPLQLVWUDWLYH$JHQW¶VDQGWKH',37HUP/RDQ$JHQW¶VOLHQVRQDOO',3

 &ROODWHUDOWKDWZLWKRXWJLYLQJHIIHFWWRWKH%DQNUXSWF\&RGHDQGWKLV)LQDO2UGHULVRIDW\SH

 VXFK WKDW SHUIHFWLRQ RI D OLHQ WKHUHLQ PD\ EH DFFRPSOLVKHG RQO\ E\ SRVVHVVLRQ RU FRQWURO E\ D

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 H[WHQVLRQ RI FUHGLW XQGHU WKH ',3 )DFLOLWLHV DQG WKH FRQWLQXHG DXWKRUL]DWLRQ WR XVH &DVK

 &ROODWHUDO WKH 'HEWRUV KDYH DJUHHG WKDW DV RI DQG FRPPHQFLQJ RQ WKH GDWH RI WKH ,QWHULP

 +HDULQJ WKH 'HEWRUV VKDOO DSSO\ DOO 1HW 3URFHHGV DV GHILQHG LQ WKH ',3 $JUHHPHQWV  &DVK

 5HFHLSWV DV GHILQHG LQ WKH ',3 $JUHHPHQWV  DQG RWKHU SD\PHQWVUHFHLYHG E\ WKH ',3 $JHQWV

 DQGDOOSURFHHGVRI&ROODWHUDO DVGHILQHGLQWKH',3$JUHHPHQWV LQFOXGLQJZKHWKHUVROGLQWKH

 RUGLQDU\FRXUVHOLTXLGDWHGSXUVXDQWWRWKH6SHFLILHG6WRUH&ORVLQJ6DOHVRURWKHUZLVHVXEMHFWWR

 DSSOLFDEOHUHLQYHVWPHQWULJKWV LIDQ\ DQGWKUHVKROGVLQWKH',3$JUHHPHQWVDQGVXEMHFWWRWKH

 DSSOLFDEOH SUHSD\PHQW SURYLVLRQV WKHUHLQ DIWHU UHVHUYLQJ XS WR  IRU WKH FODLPV RI

 &HUWDLQ7H[DV$XWKRULWLHVWKDWDUHVHFXUHGE\3HUPLWWHG3ULRU/LHQVDVIROORZV D ZLWKUHVSHFW

 WR',3$%/3ULRULW\&ROODWHUDOfirstDVSURYLGHGLQWKH',3$%/$JUHHPHQWDQGsecondDIWHU
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      ³&HUWDLQ 7H[DV $XWKRULWLHV´ PHDQV $OOHQ ,6' %H[DU &RXQW\ &DPHURQ &RXQW\ &\SUHVV)DLUEDQNV
        ,6''DOODV&RXQW\(O3DVR)RUW%HQG&RXQW\)ULVFR*DOYHVWRQ&RXQW\+DUULV&RXQW\+LGDOJR
        &RXQW\-HIIHUVRQ&RXQW\.DXIPDQ&RXQW\/HZLVYLOOH,6'0F$OOHQ0RQWJRPHU\&RXQW\1XHFHV
        &RXQW\6DQ0DUFRV&,6'6PLWK&RXQW\7DUUDQW&RXQW\DQG9LFWRULD&RXQW\7KHHVWDEOLVKPHQW
        RI D UHVHUYH IRU WKH &HUWDLQ 7H[DV $XWKRULWLHV LV VROHO\ IRU WKH SXUSRVH RI SURYLGLQJ DGHTXDWH
        SURWHFWLRQDQGVKDOOFRQVWLWXWHQHLWKHUWKHDOORZDQFHRIDQ\FODLPVRIWKH&HUWDLQ7H[DV$XWKRULWLHV
        QRU D IORRU RU FDS RQ WKH DPRXQWV WKH &HUWDLQ 7H[DV $XWKRULWLHV PD\ EH HQWLWOHG WR UHFHLYH  $OO
        SDUWLHV¶ULJKWVWRREMHFWWRWKHSULRULW\YDOLGLW\DPRXQWDQGH[WHQWRIWKHFODLPVDQGOLHQVDVVHUWHGE\
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 WKHLQGHIHDVLEOHUHSD\PHQWLQIXOOLQFDVKRIWKH3UHSHWLWLRQ$%/2EOLJDWLRQVDQGWKH',3$%/

 2EOLJDWLRQV LQFOXGLQJLQHDFKFDVHSURYLVLRQIRUFRQWLQJHQWREOLJDWLRQV DQGWKHWHUPLQDWLRQRI

 WKH',3$%/&UHGLW)DFLOLW\DVSURYLGHGLQWKH',37HUP/RDQ$JUHHPHQWDQG E ZLWKUHVSHFW

 WR',37HUP3ULRULW\&ROODWHUDOfirstDVSURYLGHGLQWKH',37HUP/RDQ&UHGLW$JUHHPHQWDQG

 secondDIWHUWKHLQGHIHDVLEOHUHSD\PHQWLQIXOOLQFDVKRIWKH3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQV

 DQG WKH ',3 7HUP /RDQ 2EOLJDWLRQV LQFOXGLQJ LQ HDFK FDVH SURYLVLRQ IRU FRQWLQJHQW

 REOLJDWLRQV  DQG WKH WHUPLQDWLRQ RI WKH ',3 7HUP /RDQ )DFLOLW\ DV SURYLGHG LQ WKH ',3 $%/

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 2EOLJDWLRQV H[FOXGLQJ FRQWLQJHQW LQGHPQLILFDWLRQ REOLJDWLRQV IRU ZKLFK QR FODLP KDV EHHQ

 DVVHUWHG KDYHEHHQLQGHIHDVLEO\SDLGLQIXOOLQFDVKDQGWKHOHQGLQJFRPPLWPHQWVXQGHUWKH',3

 )DFLOLWLHV KDYH WHUPLQDWHG WKHUH VKDOO QRW EH HQWHUHG LQ DQ\ RI WKHVH &DVHV RU DQ\ 6XFFHVVRU

 &DVHVDQ\RUGHU LQFOXGLQJDQ\RUGHUFRQILUPLQJDQ\SODQRIUHRUJDQL]DWLRQRUOLTXLGDWLRQ WKDW

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 VHFXUHGE\DVHFXULW\PRUWJDJHRUFROODWHUDOLQWHUHVWRURWKHU/LHQRQDOORUDQ\SRUWLRQRIWKH

 ',3&ROODWHUDORU3UHSHWLWLRQ&ROODWHUDODQGRUWKDWLVHQWLWOHGWRDGPLQLVWUDWLYHSULRULW\VWDWXVLQ

 HDFKFDVHWKDWLVVXSHULRUWRRUpari passuZLWKWKH',3/LHQVWKH',36XSHUSULRULW\&ODLPVWKH

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 )LQDO2UGHUprovidedhoweverWKDWWKHFRQVHQWRIWKH',3$%/7HUP$JHQWDQGWKH3UHSHWLWLRQ

 $%/7HUP$JHQWVKDOORQO\EHUHTXLUHGWRWKHH[WHQWWKDWVXFKXVHRI&DVK&ROODWHUDOZRXOGQRW

 UHVXOWLQD³&RQIRUPLQJ',3´DVGHILQHGLQ6HFWLRQRIWKH3UHSHWLWLRQ$%/$JUHHPHQW LLL 

 WKHUHWXUQRIJRRGVSXUVXDQWWRVHFWLRQ K RIWKH%DQNUXSWF\&RGH RURWKHUUHWXUQRIJRRGV

 RQDFFRXQWRIDQ\SUHSHWLWLRQLQGHEWHGQHVV WRDQ\FUHGLWRURIDQ\'HEWRURUDQ\FUHGLWRU¶VWDNLQJ

 DQ\VHWRIIRUUHFRXSPHQWDJDLQVWDQ\RILWVSUHSHWLWLRQLQGHEWHGQHVVEDVHGXSRQDQ\VXFKUHWXUQ

 RIJRRGVSXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGHRURWKHUZLVHRU LY DQ\PRGLILFDWLRQ

 RIDQ\RIWKH',3$JHQWV¶WKH',3/HQGHUV¶RUWKH3UHSHWLWLRQ6HFXUHG3DUWLHV¶ULJKWVXQGHUWKH

 ,QWHULP2UGHUWKLV)LQDO2UGHUWKH',3'RFXPHQWVRUWKH3UHSHWLWLRQ'RFXPHQWVZLWKUHVSHFWWR

 DQ\',32EOLJDWLRQVRU3UHSHWLWLRQ6HFXUHG2EOLJDWLRQV

                          E      7KH 'HEWRUV ZLOO ZKHWKHU RU QRW WKH ',3 2EOLJDWLRQV H[FOXGLQJ

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 LQGHIHDVLEO\SDLGLQIXOOLQFDVK L PDLQWDLQERRNVUHFRUGVDQGDFFRXQWVWRWKHH[WHQWDQGDV

 UHTXLUHGE\WKH',3'RFXPHQWV DQGVXEMHFWWRWKHDSSOLFDEOHJUDFHSHULRGVVHWIRUWKWKHUHLQ  LL 

 UHDVRQDEO\FRRSHUDWHZLWKFRQVXOWZLWKDQGSURYLGHWRWKH',3$JHQWVDOOVXFKLQIRUPDWLRQDQG

 GRFXPHQWVWKDWDQ\RUDOORIWKH'HEWRUVDUHREOLJDWHG LQFOXGLQJXSRQUHDVRQDEOHUHTXHVWE\DQ\

 RIWKH',3$JHQWV WRSURYLGHXQGHUWKH',3'RFXPHQWVRUWKHSURYLVLRQVRIWKH,QWHULP2UGHURU

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 PDNH DEVWUDFWV RU FRSLHV IURP DQ\ RI WKHLU UHVSHFWLYH ERRNV DQG UHFRUGV WR WRXU WKH 'HEWRUV¶

 EXVLQHVVSUHPLVHVDQGRWKHUSURSHUWLHVDQGWRGLVFXVVDQGSURYLGHDGYLFHZLWKUHVSHFWWRWKHLU

 UHVSHFWLYH DIIDLUV ILQDQFHV SURSHUWLHV EXVLQHVV RSHUDWLRQV DQG DFFRXQWV ZLWK WKHLU UHVSHFWLYH



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 RIILFHUVHPSOR\HHVLQGHSHQGHQWSXEOLFDFFRXQWDQWVDQGRWKHUSURIHVVLRQDODGYLVRUV RWKHUWKDQ

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 'RFXPHQWV LY  SHUPLW WKH ',3 $JHQWV WKH 3UHSHWLWLRQ $JHQWV DQG WKH $JHQW $GYLVRUV WR

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 LQYHQWRU\ DSSUDLVDOV DW UHDVRQDEOH WLPHV LQ UHVSHFW RI DQ\ RU DOO RI WKH ',3 &ROODWHUDO DQG

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 6HFXUHG 3DUWLHV FUHGLW ELGGLQJ XS WR WKH IXOO DPRXQW RI WKH DSSOLFDEOH RXWVWDQGLQJ ',3

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 VKDOOEHFRQVLGHUHGD³4XDOLILHG%LGGHU´ZLWKUHVSHFWWRLWVULJKWVWRVXEPLWD&UHGLW%LG

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 WKH WHUPLQDWLRQRIWKH',3$JHQWV¶DQGWKH',3/HQGHUV¶REOLJDWLRQWRH[WHQGFUHGLWXQGHU WKH

 ',3)DFLOLWLHVLQFOXGLQJVXEVHTXHQWWRWKHFRQILUPDWLRQRIDQ\SODQZLWKUHVSHFWWRDQ\RUDOORI

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 FRQWURORIDQ\'HEWRURUWRZKLFKDQ\'HEWRULVQRZRUVKDOOEHFRPHHQWLWOHGDWDQ\WLPHVKDOO

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 IURP WLPH WR WLPH  FROOHFWLYHO\ WKH ³&DVK &ROOHFWLRQ $FFRXQWV´  ZKLFK DFFRXQWV H[FHSW DV

 RWKHUZLVHVHWIRUWKLQWKH',3$%/$JUHHPHQW VKDOOEHVXEMHFWWRWKHVROHGRPLQLRQDQGFRQWURO

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 ZLWKWKH',3$%/'RFXPHQWVDQGWKLV)LQDO2UGHU8QOHVVRWKHUZLVHDJUHHGWRLQZULWLQJE\WKH

 ',3$%/$GPLQLVWUDWLYH$JHQWWKH',37HUP/RDQ$JHQWWKH3UHSHWLWLRQ$%/$GPLQLVWUDWLYH

 $JHQWDQGWKH3UHSHWLWLRQ7HUP/RDQ$JHQWRURWKHUZLVHSURYLGHGIRUKHUHLQWKH'HEWRUVVKDOO

 PDLQWDLQQRDFFRXQWVH[FHSWWKRVHLGHQWLILHGLQWKHFDVKPDQDJHPHQWRUGHUHQWHUHGE\WKH&RXUW

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 LGHQWLILHGLQWKH&DVK0DQDJHPHQW2UGHU DUHDXWKRUL]HGDQGGLUHFWHGWRUHPLWZLWKRXWRIIVHWRU

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                          E     1RWZLWKVWDQGLQJ DQ\WKLQJ LQ WKLV )LQDO 2UGHU RU DQ\ RI WKH ',3

 'RFXPHQWV L XSRQDQ\GUDZXQGHUWKH',37HUP/RDQ)DFLOLW\WKH',37HUP/HQGHUVVKDOO

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 E\DGHSRVLWRU\EDQNDFFHSWDEOHWRWKH',37HUP/RDQ$JHQWDQGVXFKDFFRXQWVKDOOEHLQWKH

 QDPH RI WKH ',3 7HUP /RDQ $JHQW VXEMHFW WR WKH VROH GRPLQLRQ DQG FRQWURO RI WKH ',3 7HUP

 /RDQ$JHQW VXFKDFFRXQWWKH³',37HUP)XQGLQJ$FFRXQW´ WKH',37HUP)XQGLQJ$FFRXQW

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 VXEMHFWWRWKHFRQGLWLRQVVHWIRUWKLQWKH',37HUP/RDQ$JUHHPHQWDQGWKLV)LQDO2UGHUZKLFK

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 &ROODWHUDORUVHUYLFHVSURYLGHGE\DQ\'HEWRUDQGDQ\&DVK&ROODWHUDOWKDWLV',37HUP3ULRULW\

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 FXVWRG\RUFRQWURORIDQ\'HEWRURUWRZKLFKDQ\'HEWRULVQRZRUVKDOOEHFRPHHQWLWOHGDWDQ\

 WLPHVKDOOSURPSWO\EHGHSRVLWHGLQWKH6HJUHJDWHG2SHUDWLQJ$FFRXQWZKLFKVKDOOEHVXEMHFWWR

 WKHVROHGRPLQLRQDQGFRQWURORIWKH',37HUP/RDQ$JHQWDQGZKLFKVKDOOFRQVWLWXWH',37HUP

 3ULRULW\&ROODWHUDOVXEMHFWWRWKHSULRULWLHVVHWIRUWKLQWKLV)LQDO2UGHUWKH'HEWRUV¶XVHRIWKH

 SURFHHGVLQWKH6HJUHJDWHG2SHUDWLQJ$FFRXQWVKDOOEHVXEMHFWWRWKLV)LQDO2UGHUDQGWKH',3

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                      0DLQWHQDQFHRI',3&ROODWHUDO8QWLOWKHLQGHIHDVLEOHSD\PHQWLQIXOORI

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 2UGHURUDVRWKHUZLVHUHTXLUHGE\WKH',3'RFXPHQWVRUWKLV)LQDO2UGHU

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 EH LPSOLHG IURP DQ\ RWKHU DFWLRQ LQDFWLRQ RU DFTXLHVFHQFH E\ WKH ',3 $%/ $GPLQLVWUDWLYH

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                                 7KH'HEWRUVVKDOOQRWVHOOWUDQVIHUOHDVHHQFXPEHURURWKHUZLVH

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 /RDQ$JHQWDQGWKH3UHSHWLWLRQ7HUP/RDQ$JHQW DQGQRVXFKFRQVHQWVKDOOEHLPSOLHGIURP

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 DSSOLFDEOH ',3 2EOLJDWLRQV VKDOO EH LPPHGLDWHO\ GXH DQG SD\DEOH DOO FRPPLWPHQWV WR H[WHQG

 FUHGLWXQGHUWKHDSSOLFDEOH',3)DFLOLWLHVZLOOWHUPLQDWHRWKHUWKDQDVUHTXLUHGLQSDUDJUDSK

 ZLWKUHVSHFWWRWKH&DUYH2XWDOOWUHDVXU\DQGFDVKPDQDJHPHQWKHGJLQJREOLJDWLRQVDQGEDQN

 SURGXFW REOLJDWLRQV FRQVWLWXWLQJ 2EOLJDWLRQV DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  VKDOO EH

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 FROODWHUDOL]HGLQDQDPRXQWHTXDOWRRIWKHIDFHDPRXQWWKHUHRIDQGVXFKFDVKFROODWHUDO

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 WKH'HEWRUV¶HVWDWHVLQDFFRUGDQFHZLWKWKH%XGJHWDVGHWHUPLQHGE\HDFK',3$JHQWLQLWVVROH

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 QRWZLWKVWDQGLQJWKHSURYLVLRQVRIVHFWLRQRIWKH%DQNUXSWF\&RGHZLWKRXWDQ\DSSOLFDWLRQ

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 ³7HUPLQDWLRQ'HFODUDWLRQ´  L DOO',32EOLJDWLRQVRZLQJXQGHUWKHUHVSHFWLYH',3'RFXPHQWV

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 FRPPLWPHQWWRH[WHQGFUHGLWWRWKH'HEWRUVWRWKHH[WHQWDQ\VXFKFRPPLWPHQWUHPDLQVXQGHU

 WKH UHVSHFWLYH ',3 )DFLOLWLHV LLL  WHUPLQDWLRQ RI WKH UHVSHFWLYH ',3 &UHGLW )DFLOLWLHV DQG WKH

 UHVSHFWLYH',3'RFXPHQWVDVWRDQ\IXWXUHOLDELOLW\RUREOLJDWLRQRIWKHDSSOLFDEOH',3$JHQWV

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 WKDWWKHDSSOLFDWLRQRIWKH&DUYH2XWKDVRFFXUUHGWKURXJKWKHGHOLYHU\RIWKH&DUYH2XW7ULJJHU

 1RWLFH DVGHILQHGKHUHLQ WRWKH&RPSDQ\DQGWKH/RDQ3DUWLHV DVDSSOLFDEOH DQG E HLWKHUWKH

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 7HUPLQDWLRQ'HFODUDWLRQLVGHOLYHUHGDQGWKH',37HUPLQDWLRQ'DWHVKDOOEHUHIHUUHGWRKHUHLQDV

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 RWKHUHOHFWURQLFPHDQV WRFRXQVHOWRWKH'HEWRUVFRXQVHOWRWKH',3$%/$JHQWV LIGHOLYHUHG

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 $%/$GPLQLVWUDWLYH$JHQW FRXQVHOWRWKH&RPPLWWHHFRXQVHOWRWKH,QGHQWXUH7UXVWHHDQGWKH

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 LV KHUHE\ PRGLILHG VR WKDW ILYH   EXVLQHVV GD\V DIWHU WKH GDWH D 7HUPLQDWLRQ 'HFODUDWLRQ LV

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 WKHLUULJKWVDQGUHPHGLHVLQDFFRUGDQFHZLWKWKHUHVSHFWLYH',3'RFXPHQWVDQGWKLV)LQDO2UGHU

 WRVDWLVI\WKHUHOHYDQW',32EOLJDWLRQV',36XSHUSULRULW\&ODLPDQG',3/LHQVVXEMHFWWRWKH

 &DUYH2XW E WKHDSSOLFDEOH3UHSHWLWLRQ6HFXUHG3DUWLHVVKDOOEHHQWLWOHGWRH[HUFLVHWKHLUULJKWV

 DQGUHPHGLHVLQDFFRUGDQFHZLWKWKHDSSOLFDEOH3UHSHWLWLRQ'RFXPHQWV DQG WKLV )LQDO 2UGHU WR

 VDWLVI\WKHUHOHYDQW3UHSHWLWLRQ6HFXUHG2EOLJDWLRQV$GHTXDWH3UHSHWLWLRQ6XSHUSULRULW\&ODLPV

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 1RWLFH3HULRGWKH'HEWRUVDQGRUWKH&RPPLWWHHVKDOOEHHQWLWOHGWRVHHNDQHPHUJHQF\KHDULQJ

 ZLWKLQWKH5HPHGLHV1RWLFH3HULRGZLWKWKH&RXUWIRUWKHVROHSXUSRVHRIFRQWHVWLQJZKHWKHUDQ

 (YHQWRI'HIDXOWKDVRFFXUUHGDQGRULVFRQWLQXLQJDQGWKH'HEWRUVKHUHE\ZDLYHWKHLUULJKWWR

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 DXWRPDWLFDOO\EHWHUPLQDWHGDWWKHHQGRIWKH5HPHGLHV1RWLFH3HULRGZLWKRXWIXUWKHUQRWLFHRU

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 ',37HUP/RDQ$JHQWWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHVVKDOOEHSHUPLWWHG

 WRH[HUFLVHDOOUHPHGLHVVHWIRUWKKHUHLQLQWKH',3'RFXPHQWVWKH3UHSHWLWLRQ'RFXPHQWVDQG

 DV RWKHUZLVH DYDLODEOH DW ODZ ZLWKRXW IXUWKHU RUGHU RI RU DSSOLFDWLRQ RU PRWLRQ WR WKH &RXUW



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 FRQVLVWHQWZLWKWKH,QWHUFUHGLWRU$JUHHPHQWDQGSDUDJUDSKRIWKLV)LQDO2UGHU,QDGGLWLRQLI

 D 6SHFLILHG 6DOH 3URFHVV 'HIDXOW DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  RFFXUV DQG LV

 FRQWLQXLQJWKH',3$%/$GPLQLVWUDWLYH$JHQWPD\GLUHFWWKH'HEWRUVWRFRPPHQFHDSURFHVV

 IRU D VDOH RI DOO RI WKH 'HEWRUV¶ DVVHWV WKH ³6DOHV 3URFHVV´  DW ZKLFK WLPH D  ZLWKLQ RQH  

 EXVLQHVVGD\DIWHUWKH5HPHGLHV1RWLFH3HULRGH[SLUHVWKH'HEWRUVPXVWREWDLQHQWU\RIDQRUGHU

 IURPWKH&RXUWLQIRUPDQGVXEVWDQFHDSSURYHGE\WKH',3$%/$GPLQLVWUDWLYH$JHQWHLWKHU

  [ GHVLJQDWLQJDOLTXLGDWLQJVWDONLQJKRUVHELGGHUFRQVHQWHGWRE\WKH',3$%/$GPLQLVWUDWLYH

 $JHQW DQG DSSURYLQJ ELGGLQJ DQG VDOHV SURFHGXUHV ZLWK UHVSHFW WR WKH 6DOHV 3URFHVV RU \ 

 GHWHUPLQLQJWKDWD6SHFLILHG6DOH3URFHVV'HIDXOWKDVQRWRFFXUUHGDQGRULVQRWFRQWLQXLQJ E 

 ZLWKLQWKUHH  EXVLQHVVGD\VDIWHUWKH5HPHGLHV1RWLFH3HULRGH[SLUHVFRPSOHWHDQDXFWLRQIRU

 WKH6DOHV3URFHVVDQGGHFODUHD³VXFFHVVIXOELGGHU´IRUWKH6DOHV3URFHVVRQWHUPVDQGFRQGLWLRQV

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 5HPHGLHV 1RWLFH 3HULRG H[SLUHV REWDLQ HQWU\ RI D ILQDO RUGHU IURP WKH &RXUW LQ IRUP DQG

 VXEVWDQFHDFFHSWDEOHWRWKH',3$%/$GPLQLVWUDWLYH$JHQWDSSURYLQJWKH6DOHV3URFHVVDQG G 

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 DJUHHPHQWDSSURYHGE\WKH',3$%/$GPLQLVWUDWLYH$JHQWLQFRQQHFWLRQZLWKWKH6DOHV3URFHVV

 DQGFRPPHQFHWKH6DOHV3URFHVVSXUVXDQWWRWKHDSSURYHGDJHQF\DJUHHPHQWDQGWKHDSSOLFDEOH

 &RXUW RUGHU  8QWLO VXFK WLPH DV WKH 6DOHV 3URFHVV LV FRPSOHWH DQG WKH SURFHHGV RI ',3 $%/

 3ULRULW\&ROODWHUDOKDYHEHHQUHPLWWHGWRWKH',3$%/$GPLQLVWUDWLYH$JHQWIRUWKHEHQHILW RI

 WKH',3$%//HQGHUVDQGWKHSURFHHGVRI',37HUP3ULRULW\&ROODWHUDOKDYHEHHQUHPLWWHGWRWKH

 ',3 7HUP /RDQ $JHQW DQG WKH ',3 7HUP /RDQ /HQGHUV DQ\ H[HUFLVH RI UHPHGLHV E\ WKH ',3

 7HUP$JHQWDQGWKH',37HUP/HQGHUVVKDOOEHLQDFFRUGDQFHZLWKWKH,QWHUFUHGLWRU$JUHHPHQW

 DQG SDUDJUDSK  RI WKLV )LQDO 2UGHU  8SRQ WKH RFFXUUHQFH DQG GXULQJ WKH FRQWLQXDWLRQ RI DQ



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 (YHQW RI 'HIDXOW WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW DQG DQ\ OLTXLGDWRU RU RWKHU SURIHVVLRQDO

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 FRS\ULJKWVRURWKHULQWHOOHFWXDOSURSHUW\DQGDQ\ZDUHKRXVHGLVWULEXWLRQFHQWHUVVWRUHRURWKHU

 ORFDWLRQVWRWKHH[WHQWQHFHVVDU\RUDSSURSULDWHLQRUGHUWRVHOOOHDVHRURWKHUZLVHGLVSRVHRIDQ\

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 $FFHVVWRWKH'HEWRUV¶OHDVHGSUHPLVHVVKDOOEHVXEMHFWWRWKHSURYLVLRQVRISDUDJUDSKRIWKLV

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 0RGLILFDWLRQ RU 6WD\ RI )LQDO 2UGHU  7KH ',3 $JHQWV WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ

 6HFXUHG 3DUWLHV KDYH DFWHG LQ JRRG IDLWK LQ FRQQHFWLRQ ZLWK WKH ,QWHULP 2UGHU DQG WKLV )LQDO

 2UGHU DQG DUHHQWLWOHGWRUHO\ XSRQWKHSURWHFWLRQV JUDQWHGKHUHLQ DQGE\ VHFWLRQ  H  RIWKH

 %DQNUXSWF\&RGH%DVHGRQWKHILQGLQJVVHWIRUWKLQWKLV)LQDO2UGHUDQGWKHUHFRUGPDGHGXULQJ

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 PRGLILHGDPHQGHGRUYDFDWHGE\DVXEVHTXHQWRUGHURIWKLV&RXUWRUDQ\RWKHUFRXUWWKH',3

 $JHQWV WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV DUH HQWLWOHG WR WKH SURWHFWLRQV

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 YDFDWXUVKDOOQRWDIIHFWWKHYDOLGLW\DQGHQIRUFHDELOLW\RIDQ\DGYDQFHVSUHYLRXVO\PDGHRUPDGH

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 DOO UHDVRQDEOH DQG GRFXPHQWHG SUHSHWLWLRQ DQG SRVWSHWLWLRQ IHHV DQG RXWRISRFNHW H[SHQVHV RI

 WKH ',3 $JHQWV DQG WKH ',3 /HQGHUV LQ FRQQHFWLRQ ZLWK WKH ',3 )DFLOLWLHV DV SURYLGHG LQ WKH

 ',3 'RFXPHQWV ZKHWKHU RU QRW WKH WUDQVDFWLRQV FRQWHPSODWHG KHUHE\ DUH FRQVXPPDWHG



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 LQFOXGLQJ DWWRUQH\V¶ IHHV PRQLWRULQJ DQG DSSUDLVDO IHHV ILQDQFLDO DGYLVRU\ IHHV IHHV DQG

 H[SHQVHV RI RWKHU FRQVXOWDQWV DQG LQGHPQLILFDWLRQ DQG UHLPEXUVHPHQW RI IHHV DQG H[SHQVHV

 3D\PHQW RI DOO VXFK IHHV DQG H[SHQVHV VKDOO QRW EH VXEMHFW WR DOORZDQFH E\ WKH &RXUW

 3URIHVVLRQDOVIRUWKH',3$JHQWVWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHVVKDOOQRW

 EH UHTXLUHG WR FRPSO\ ZLWK WKH 86 7UXVWHH IHH JXLGHOLQHV  $Q\ WLPH WKDW VXFK SURIHVVLRQDOV

 VHHNSD\PHQWRIIHHVDQGH[SHQVHVIURPWKH'HEWRUVHDFKSURIHVVLRQDOVKDOOSURYLGHVXPPDU\

 WLPH UHFRUGV ZLWK WLPHNHHSHUV UDWHV KRXUV DQG D VXPPDU\ RI WDVNV FRPSOHWHG GXULQJ WKH

 UHOHYDQW WLPH SHULRG  ZKLFK VKDOO QRW EH UHTXLUHG WR FRQWDLQ WLPH HQWULHV DQG ZKLFK PD\ EH

 UHGDFWHG RU PRGLILHG WR WKH H[WHQW QHFHVVDU\ WR GHOHWH DQ\ LQIRUPDWLRQ VXEMHFW WR WKH DWWRUQH\

 FOLHQW SULYLOHJH DQ\ LQIRUPDWLRQ FRQVWLWXWLQJ DWWRUQH\ ZRUN SURGXFW RU DQ\ RWKHU FRQILGHQWLDO

 LQIRUPDWLRQ DQG WKH SURYLVLRQ RI VXFK LQYRLFHV VKDOO QRW FRQVWLWXWH DQ\ ZDLYHU RI WKH DWWRUQH\

 FOLHQWSULYLOHJHRURIDQ\EHQHILWVRIWKHDWWRUQH\ZRUNSURGXFWGRFWULQH WRWKH867UXVWHHDQG

 FRXQVHO IRU WKH &RPPLWWHH FRQWHPSRUDQHRXVO\ ZLWK WKH GHOLYHU\ RI VXFK IHH DQG H[SHQVH

 VWDWHPHQWV WR WKH 'HEWRUV  $Q\ REMHFWLRQV UDLVHG E\ WKH 'HEWRUV WKH 86 7UXVWHH RU WKH

 &RPPLWWHH ZLWK UHVSHFW WR VXFK LQYRLFHV ZLWKLQ WHQ   GD\V RI WKH UHFHLSW WKHUHRI ZLOO EH

 VXEMHFWWRUHVROXWLRQE\WKH&RXUW3HQGLQJVXFKUHVROXWLRQWKHXQGLVSXWHGSRUWLRQRIDQ\VXFK

 LQYRLFHZLOOEHSDLGSURPSWO\E\WKH'HEWRUV1RWZLWKVWDQGLQJWKHIRUHJRLQJWKH'HEWRUVZHUH

 DXWKRUL]HG DQG GLUHFWHGWR SD\ RQWKH &ORVLQJ 'DWH DOO UHDVRQDEOH DQG GRFXPHQWHG IHHV FRVWV

 DQG RXWRISRFNHW H[SHQVHV RI WKH ',3 $JHQWV WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ 6HFXUHG

 3DUWLHV LQFXUUHG RQ RU SULRUWR VXFK GDWH ZLWKRXW WKH QHHG IRUDQ\ SURIHVVLRQDO HQJDJHG E\ WKH

 ',3 $JHQWV WKH ',3 /HQGHUV RU WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV WR ILUVW GHOLYHU D FRS\ RI LWV

 LQYRLFHDVSURYLGHGIRUKHUHLQ1RDWWRUQH\RUDGYLVRUWRWKH',3$JHQWVWKH',3/HQGHUVRU

 DQ\3UHSHWLWLRQ6HFXUHG3DUW\VKDOOEHUHTXLUHGWRILOHDQDSSOLFDWLRQVHHNLQJFRPSHQVDWLRQIRU



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 VHUYLFHV RU UHLPEXUVHPHQW RI H[SHQVHV ZLWK WKH &RXUW  $Q\ DQG DOO IHHV FRVWV DQG H[SHQVHV

 SDLG SULRU WR WKH 3HWLWLRQ 'DWH E\ DQ\ RI WKH 'HEWRUV WR WKH L  ',3 $JHQWV RU ',3 /HQGHUV LQ

 FRQQHFWLRQ ZLWK RU ZLWK UHVSHFW WR WKH ',3 )DFLOLWLHV DQG LL  3UHSHWLWLRQ 6HFXUHG 3DUWLHV LQ

 FRQQHFWLRQRUZLWKUHVSHFWWRWKHVHPDWWHUVDUHKHUHE\DSSURYHGLQIXOO

                      ,QGHPQLILFDWLRQ7KH'HEWRUVVKDOOLQGHPQLI\DQGKROGKDUPOHVVWKH',3

 $JHQWVDQGWKH',3/HQGHUVLQDFFRUGDQFHZLWKWKHWHUPVDQGFRQGLWLRQVRIWKH',3$JUHHPHQWV

 8SRQWKHHDUOLHURI $ SD\PHQWLQIXOOLQFDVKRIWKH',3$%/2EOLJDWLRQVRU % FRQFOXVLRQRI

 WKH5HPHGLHV1RWLFH3HULRGWKH'HEWRUVVKDOOSD\IURPSURFHHGVRIWKH',3&ROODWHUDO

 LQWRDQLQGHPQLW\DFFRXQW WKH³',3$%/,QGHPQLW\$FFRXQW´ VXEMHFWWRILUVWSULRULW\OLHQVRI

 WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW IRU WKH EHQHILW RI WKH ',3 $%/ /HQGHUV  7KH ',3 $%/

 ,QGHPQLW\$FFRXQWVKDOOEHUHOHDVHGDQGWKHIXQGVDSSOLHGLQDFFRUGDQFHZLWKSDUDJUDSKRI

 WKLV)LQDO2UGHUXSRQWKHLQGHIHDVLEOHSD\PHQWLQIXOOLQFDVKRIWKH',3$%/2EOLJDWLRQVDQG

 WKHUHFHLSWE\WKH',3$%/$GPLQLVWUDWLYH$JHQWDQGHDFKRIWKH',3$%//HQGHUVRIUHOHDVHV

 IURPWKH'HEWRUVDQGWKHLUHVWDWHVZLWKUHVSHFWWRDQ\FODLPVDULVLQJRXWRIRUUHODWHGWRWKH',3

 $%/'RFXPHQWVDFFHSWDEOHWRWKH',3$%/$GPLQLVWUDWLYH$JHQWDQGWKH',3$%//HQGHUV

 HDFKLQWKHLUVROHGLVFUHWLRQ8SRQWKHHDUOLHURI $ SD\PHQWLQIXOOLQFDVKRIWKH',37HUP

 /RDQ 2EOLJDWLRQV RU %  FRQFOXVLRQ RI WKH 5HPHGLHV 1RWLFH 3HULRG WKH 'HEWRUV VKDOO SD\

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 ,QGHPQLW\$FFRXQW´ VXEMHFWWRILUVWSULRULW\OLHQVRIWKH',37HUP/RDQ$JHQWIRUWKHEHQHILWRI

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 IXQGVDSSOLHGLQDFFRUGDQFHZLWKSDUDJUDSKRIWKLV)LQDO2UGHUXSRQWKHLQGHIHDVLEOHSD\PHQW

 LQIXOOLQFDVKRIWKH',37HUP/RDQ2EOLJDWLRQVDQGWKHUHFHLSWE\WKH',37HUP/RDQ$JHQW

 DQG HDFK RI WKH ',3 7HUP /RDQ /HQGHUV RI UHOHDVHV IURP WKH 'HEWRUV DQG WKHLU HVWDWHV ZLWK



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 UHVSHFWWRDQ\FODLPVDULVLQJRXWRIRUUHODWHGWRWKH',37HUP/RDQ'RFXPHQWVDFFHSWDEOHWR

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                      3URRIV RI &ODLP  7KH ',3 $%/ $GPLQLVWUDWLYH $JHQW WKH ',3 7HUP

 /RDQ $JHQW WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV ZLOO QRW EH UHTXLUHG WR ILOH

 SURRIV RI FODLP LQ DQ\ RI WKH &DVHV RU 6XFFHVVRU &DVHV IRU DQ\ FODLP DOORZHG KHUHLQ

 1RWZLWKVWDQGLQJDQ\RUGHUHQWHUHGE\WKH&RXUWLQUHODWLRQWRWKHHVWDEOLVKPHQWRIDEDUGDWHLQ

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 $GPLQLVWUDWLYH$JHQWRQEHKDOIRILWVHOIDQGWKH3UHSHWLWLRQ$%/3DUWLHVDQG E WKH3UHSHWLWLRQ

 7HUP/RDQ$JHQWRQEHKDOIRILWVHOIDQGWKH3UHSHWLWLRQ7HUP/RDQ3DUWLHVLVKHUHE\DXWKRUL]HG

 DQGHQWLWOHGLQLWVVROHGLVFUHWLRQEXWQRWUHTXLUHGWRILOH DQGDPHQGDQGRUVXSSOHPHQWDVLW

 VHHV ILW  D SURRI RI FODLP DQGRU DJJUHJDWH SURRIV RI FODLP LQ HDFK RI WKH &DVHV RU 6XFFHVVRU

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 $GPLQLVWUDWLYH$JHQWRUWKH3UHSHWLWLRQ7HUP/RDQ$JHQWVKDOOEHGHHPHGWREHLQDGGLWLRQWR

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 3DUWLHV RU WKH 3UHSHWLWLRQ 7HUP /RDQ 3DUWLHV UHVSHFWLYHO\  $Q\ RUGHU HQWHUHG E\ WKH &RXUW LQ

 UHODWLRQWRWKHHVWDEOLVKPHQWRIDEDUGDWHLQDQ\RIWKH&DVHVRU6XFFHVVRU&DVHVVKDOOQRWDSSO\

 WRDQ\FODLPRIWKH',3$JHQWVWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHV

                      5LJKWV RI $FFHVV DQG ,QIRUPDWLRQ  :LWKRXW OLPLWLQJ WKH ULJKWVRI DFFHVV

 DQG LQIRUPDWLRQ DIIRUGHG WKH ',3 $JHQWV DQG WKH ',3 /HQGHUV XQGHU WKH ',3 'RFXPHQWV WKH

 'HEWRUVVKDOOEHDQGKHUHE\DUHUHTXLUHGWRDIIRUGUHSUHVHQWDWLYHVDJHQWVDQGRUHPSOR\HHVRI

 WKH ',3 $JHQWV DQG VR ORQJ DV DQ (YHQW RI 'HIDXOW KDV RFFXUUHG DQG LV FRQWLQXLQJ HDFK ',3

 /HQGHU WKH3UHSHWLWLRQ$JHQWVDQGWKH&RPPLWWHHUHDVRQDEOHDFFHVVWRWKH'HEWRUV¶SUHPLVHV

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 DVDSSOLFDEOHDQGVKDOOUHDVRQDEO\FRRSHUDWHFRQVXOWZLWKDQGSURYLGHWRVXFKSHUVRQVDOOVXFK

 LQIRUPDWLRQ DV PD\ EH UHDVRQDEO\ UHTXHVWHG  ,Q DGGLWLRQ WKH 'HEWRUV DXWKRUL]H WKHLU

 LQGHSHQGHQWFHUWLILHGSXEOLFDFFRXQWDQWVILQDQFLDODGYLVRUVLQYHVWPHQWEDQNHUVDQGFRQVXOWDQWV

 LQFOXGLQJ $OL[ 3DUWQHUV //& DQG /D]DUG )UqUHV  &R //& WR FRRSHUDWH FRQVXOW ZLWK DQG

 SURYLGHWRWKH',3$JHQWV DQGVRORQJDVDQ(YHQWRI'HIDXOWKDVRFFXUUHGDQGLVFRQWLQXLQJ

 HDFK ',3 /HQGHU  DQG WKH 3UHSHWLWLRQ $JHQWV DOO VXFK LQIRUPDWLRQ DV PD\ EH UHDVRQDEO\

 UHTXHVWHGZLWKUHVSHFWWRWKHEXVLQHVVUHVXOWVRIRSHUDWLRQVDQGILQDQFLDOFRQGLWLRQRIDQ\RIWKH

 &RPSDQ\+ROGLQJVRUWKH/RDQ3DUWLHV

                      &DUYH2XW

                           D      Carve Out.  $V XVHG LQ WKLV )LQDO 2UGHU WKH ³&DUYH 2XW´ PHDQV

 WKHVXPRI L DOOIHHVUHTXLUHGWREHSDLGWRWKH&OHUNRIWKH&RXUWDQGWRWKH2IILFHRIWKH8QLWHG

 6WDWHV 7UXVWHH XQGHU VHFWLRQ  D  RI WLWOH  RI WKH 8QLWHG 6WDWHV &RGH SOXV LQWHUHVW DW WKH

 VWDWXWRU\ UDWH LL  DOO UHDVRQDEOH IHHV DQG H[SHQVHV XS WR  LQFXUUHG E\ D WUXVWHH XQGHU

 VHFWLRQ E RIWKH%DQNUXSWF\&RGH WKH³&KDSWHU7UXVWHH&DUYH2XW´  LLL WRWKHH[WHQW

 DOORZHGDWDQ\WLPHZKHWKHUE\LQWHULPRUGHUSURFHGXUDORUGHURURWKHUZLVH DQGLQWKHFDVHRI

 WKH &RPPLWWHH 3URIHVVLRQDOV DV GHILQHG EHORZ  VXEMHFW WR WKH %XGJHW  DOO XQSDLG IHHV DQG

 H[SHQVHV WKH³$OORZHG3URIHVVLRQDO)HHV´ LQFXUUHGE\SHUVRQVRUILUPVUHWDLQHGE\WKH'HEWRUV

 SXUVXDQW WRVHFWLRQ   RU  RI WKH %DQNUXSWF\ &RGH WKH ³'HEWRU 3URIHVVLRQDOV´  DQG

  VXEMHFWWRWKH%XGJHW DQ\RIILFLDOFRPPLWWHHDSSRLQWHGSXUVXDQWWRVHFWLRQRURIWKH

 %DQNUXSWF\ &RGH WKH ³&RPPLWWHH 3URIHVVLRQDOV´ DQG WRJHWKHU ZLWK WKH 'HEWRU 3URIHVVLRQDOV

 WKH³3URIHVVLRQDO3HUVRQV´ DWDQ\WLPHEHIRUHRURQWKHILUVWEXVLQHVVGD\IROORZLQJGHOLYHU\E\

 WKH',3$%/$GPLQLVWUDWLYH$JHQWRUWKH',37HUP/RDQ$JHQWRID&DUYH2XW7ULJJHU1RWLFH

  DV GHILQHG EHORZ  ZKHWKHU DOORZHG E\ WKH &RXUW SULRU WR RU DIWHU GHOLYHU\ RI D &DUYH 2XW



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 7ULJJHU 1RWLFH VROHO\ ZLWK UHVSHFW WR WKH ',3 $%/ &ROODWHUDO LQ DQ DJJUHJDWH DPRXQW QRW WR

 H[FHHG WKH $%/ 3URIHVVLRQDO )HH &DUYH 2XW &DS GHILQHG EHORZ  DQG LY  $OORZHG

 3URIHVVLRQDO )HHV RI 3URIHVVLRQDO 3HUVRQV LQ DQ DJJUHJDWH DPRXQW QRW WR H[FHHG 

 LQFXUUHGDIWHUWKHILUVWEXVLQHVVGD\IROORZLQJGHOLYHU\E\WKH',3$%/$GPLQLVWUDWLYH$JHQWRU

 WKH',37HUP/RDQ$JHQWRIWKH&DUYH2XW7ULJJHU1RWLFHWRWKHH[WHQWDOORZHGDWDQ\WLPH

 ZKHWKHUE\LQWHULPRUGHUSURFHGXUDORUGHURURWKHUZLVH WKHDPRXQWVVHWIRUWKLQWKLVFODXVH LY 

 EHLQJ WKH ³3RVW&DUYH 2XW 7ULJJHU 1RWLFH &DS´   )RU SXUSRVHV RI WKH IRUHJRLQJ ³&DUYH 2XW

 7ULJJHU1RWLFH´VKDOOPHDQDZULWWHQQRWLFHGHOLYHUHGE\HPDLO RURWKHUHOHFWURQLFPHDQV E\WKH

 ',3 $%/ $GPLQLVWUDWLYH $JHQW RU WKH ',3 7HUP /RDQ $JHQW WR WKH 'HEWRUV WKHLU OHDG

 UHVWUXFWXULQJFRXQVHOWKH867UXVWHHWKH',3$%/$GPLQLVWUDWLYH$JHQWRU',37HUP/RDQ

 $JHQW DV DSSOLFDEOH  DQG FRXQVHO WR WKH &RPPLWWHH ZKLFK QRWLFH PD\ EH GHOLYHUHG IROORZLQJ

 WKHRFFXUUHQFHDQGGXULQJWKHFRQWLQXDWLRQ RI DQ (YHQW RI 'HIDXOWDQGDFFHOHUDWLRQRIWKH ',3

 $%/ 2EOLJDWLRQV RU WKH ',3 7HUP /RDQ 2EOLJDWLRQV XQGHU WKH ',3 $%/ )DFLOLW\ RU WKH ',3

 7HUP /RDQ )DFLOLW\UHVSHFWLYHO\VWDWLQJWKDWWKH3RVW&DUYH2XW7ULJJHU1RWLFH&DSKDVEHHQ

 LQYRNHG

                                      E         Delivery of Weekly Fee Statements  1RWZLWKVWDQGLQJ DQ\

 SURYLVLRQLQWKH',37HUP/RDQ&UHGLW$JUHHPHQWQRWODWHUWKDQSP6DQ)UDQFLVFRWLPH

 RQ 7KXUVGD\ RI HDFK ZHHN VWDUWLQJ ZLWK WKH VHFRQG ZHHN IROORZLQJ WKH 3HWLWLRQ 'DWH HDFK

 3URIHVVLRQDO3HUVRQVKDOOGHOLYHUWRWKH'HEWRUVWKH',3$JHQWVDQGWKH3UHSHWLWLRQ$%/$JHQWV

 D VWDWHPHQW VHWWLQJ IRUWK WKH DPRXQW DQG D GHVFULSWLRQ RI WKH IHHV DQG H[SHQVHV FROOHFWLYHO\

 ³3URIHVVLRQDO )HHV´  LQFXUUHG GXULQJ WKH SUHFHGLQJ ZHHN E\ VXFK 3URIHVVLRQDO 3HUVRQ WKURXJK

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    1RWZLWKVWDQGLQJWKHIRUHJRLQJDWWKHHOHFWLRQRIWKH'HEWRUVXSWRRIWKH3RVW&DUYH2XW
 7ULJJHU1RWLFH&DSPD\EHXVHGWRSD\$OORZHG3URIHVVLRQDO)HHVRI3URIHVVLRQDO3HUVRQVLQFXUUHGSULRU
 WRWKHGHOLYHU\RID&DUYH 2XW7ULJJHU1RWLFHWRWKHH[WHQWVXFK$OORZHG3URIHVVLRQDO)HHVH[FHHGWKH
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 6DWXUGD\RIVXFKZHHNWKH³&DOFXODWLRQ'DWH´ DORQJZLWKDFXPXODWLYHWRWDODQGDVWDWHPHQWRI

 WKHDPRXQWRIVXFKIHHVDQGH[SHQVHVZKLFKKDYHEHHQSDLGWRGDWHE\WKH'HEWRUV HDFKVXFK

 VWDWHPHQWD³:HHNO\6WDWHPHQW´ providedWKDWZLWKLQRQHEXVLQHVVGD\RIWKHRFFXUUHQFHRI

 WKH7HUPLQDWLRQ'HFODUDWLRQ'DWH DVGHILQHGEHORZ HDFK3URIHVVLRQDO3HUVRQVKDOOGHOLYHUDQ

 DGGLWLRQDO:HHNO\6WDWHPHQW WKH³)LQDO6WDWHPHQW´ VHWWLQJIRUWKWKHDPRXQWDQGDGHVFULSWLRQ

 RI WKH IHHVDQG H[SHQVHV LQFXUUHG GXULQJWKH SHULRGFRPPHQFLQJ RQ WKH FDOHQGDU GD\ DIWHU WKH

 SULRU&DOFXODWLRQ'DWHDQGFRQFOXGLQJRQWKH7HUPLQDWLRQ'HFODUDWLRQ'DWH6ROHO\DVLWUHODWHV

 WR WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW WKH ',3 $%/ /HQGHUV WKH 3UHSHWLWLRQ $%/

 $GPLQLVWUDWLYH$JHQWDQGWKH3UHSHWLWLRQ$%//HQGHUVWKH&DUYH2XWXQGHUSDUDJUDSK D LLL 

 DERYH VKDOO EH OLPLWHG WR WKH JUHDWHU RI [  WKH VXP RI ,  WKH DJJUHJDWH XQSDLG DPRXQW RI

 $OORZHG3URIHVVLRQDO)HHVLQFOXGHGLQVXFK:HHNO\6WDWHPHQWVWLPHO\UHFHLYHGE\WKH',3$%/

 $GPLQLVWUDWLYH $JHQW DQG WKH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW SULRU WR WKH 7HUPLQDWLRQ

 'HFODUDWLRQ'DWH DVGHILQHGEHORZ plus ,, WKHOHVVHURI  WKHDJJUHJDWHXQSDLGDPRXQWRI

 $OORZHG 3URIHVVLRQDO )HHV LQFOXGHG LQ WKH )LQDO 6WDWHPHQW WLPHO\ UHFHLYHG E\ WKH ',3 $%/

 $JHQW WKH ',3 7HUP /RDQ $JHQW DQG WKH 3UHSHWLWLRQ $%/ $JHQW SHUWDLQLQJ WR WKH SHULRG

 WKURXJKDQGLQFOXGLQJWKH7HUPLQDWLRQ'HFODUDWLRQ'DWH DVGHILQHGEHORZ DQG  WKH%XGJHWHG

 &XVKLRQ $PRXQW DV GHILQHG EHORZ  DQG \  WKH DJJUHJDWH XQSDLG DPRXQW RI $OORZHG

 3URIHVVLRQDO)HHVLQFOXGHGLQWKH%XGJHWIRUWKHSHULRGSULRUWRWKH7HUPLQDWLRQ'HFODUDWLRQ'DWH

  VXFKDPRXQWWKH³$%/3URIHVVLRQDO)HH&DUYH2XW&DS´ )RUWKHDYRLGDQFHRIGRXEWWKH',3

 $%/$GPLQLVWUDWLYH$JHQWVKDOOEHHQWLWOHGWRDWDOOWLPHVPDLQWDLQDVSDUWRIWKH$YDLODELOLW\

 5HVHUYH DVGHILQHGLQWKH',3$%/$JUHHPHQW DUHVHUYHLQDQDPRXQWQRWOHVVWKDQWKHVXPRI

  L WKHWKHQRXWVWDQGLQJDPRXQWRIWKH$%/3URIHVVLRQDO)HH&DUYH2XW&DSplus LL WKH3RVW

 &DUYH 2XW 7ULJJHU 1RWLFH &DS plus LLL  WKH DPRXQWV FRQWHPSODWHG XQGHU SDUDJUDSK D L  DQG



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  D LL  DERYH  ,Q DGGLWLRQ WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW VKDOO DW DOO WLPHV EH HQWLWOHG WR

 PDLQWDLQDVSDUWRIWKH5HVHUYHV DVGHILQHGLQWKH',3$%/$JUHHPHQW DUHVHUYHLQDQDPRXQW

 HTXDOWRWKHDPRXQWRI3URIHVVLRQDO)HHVVHWIRUWKLQWKH$SSURYHG%XGJHWIRUWKHWKHQFXUUHQW

 ZHHN RFFXUULQJ DIWHU WKH PRVW UHFHQW &DOFXODWLRQ 'DWH DQG WKH WZR ZHHNV VXFFHHGLQJ VXFK

 FXUUHQW ZHHN VXFK DPRXQW UHJDUGOHVV RI ZKHWKHU VXFK UHVHUYH LV PDLQWDLQHG  WKH ³%XGJHWHG

 &XVKLRQ$PRXQW´ 

                           F     Carve Out Reserves  2Q WKH GD\ RQ ZKLFK D &DUYH 2XW 7ULJJHU

 1RWLFHLVJLYHQE\HLWKHUWKH',3$%/$GPLQLVWUDWLYH$JHQWRUWKH',37HUP/RDQ$JHQWWRWKH

 'HEWRUVWKHLUOHDGUHVWUXFWXULQJFRXQVHOWKH867UXVWHHWKH',3$%/$GPLQLVWUDWLYH$JHQWRU

 WKH ',3 7HUP /RDQ $JHQW DV DSSOLFDEOH  ZLWK D FRS\ WR FRXQVHO WR WKH &RPPLWWHH WKH

 ³7HUPLQDWLRQ 'HFODUDWLRQ 'DWH´  WKH &DUYH 2XW 7ULJJHU 1RWLFH VKDOO EH GHHPHG L  D GUDZ

 UHTXHVW DQG QRWLFH RI ERUURZLQJ E\ WKH 'HEWRUVIRU ',3 5HYROYLQJ /RDQV XQGHU WKH',3 $%/

 $JUHHPHQWLQDQDPRXQWHTXDOWRWKHVXPRI [ WKHDPRXQWVVHWIRUWKLQSDUDJUDSKV D L DQG

  D LL DERYHDQG \ WKHWKHQXQSDLGDPRXQWVRIWKH$OORZHG3URIHVVLRQDO)HHVXSWRWKH$%/

 3URIHVVLRQDO )HH &DUYH 2XW &DS DQ\ VXFK DPRXQWV DFWXDOO\ DGYDQFHG VKDOO FRQVWLWXWH ',3

 5HYROYLQJ/RDQV DQG LL DGUDZUHTXHVWDQGQRWLFHRIERUURZLQJE\WKH'HEWRUVIRU',37HUP

 /RDQV XQGHU WKH ',3 7HUP /RDQ )DFLOLW\ LQ DQ DPRXQW HTXDO WR WKH XQSDLG DPRXQWV RI WKH

 $OORZHG 3URIHVVLRQDO )HHV LQ H[FHVV RI WKH $%/ 3URIHVVLRQDO )HH &DUYH 2XW &DS DQ\ VXFK

 DPRXQWV DFWXDOO\ DGYDQFHG VKDOO FRQVWLWXWH ',3 7HUP /RDQV   7R WKH H[WHQW DPRXQWV XQGHU

 SUHFHGLQJFODXVH L DUHQRWIXQGHGDVRIWKHHQGRIWKHVHFRQGEXVLQHVVGD\DIWHUWKH7HUPLQDWLRQ

 'HFODUDWLRQ'DWHWKH&DUYH2XW7ULJJHU1RWLFHVKDOODOVRFRQVWLWXWHDGHPDQGWRWKH'HEWRUVWR

 XWLOL]HDOOFDVKRQKDQGFRQVWLWXWLQJSURFHHGVRI$%/3ULRULW\&ROODWHUDODVRIVXFKGDWHDQGDQ\

 DYDLODEOHFDVKFRQVWLWXWLQJSURFHHGVRI$%/3ULRULW\&ROODWHUDOWKHUHDIWHUKHOGE\DQ\'HEWRUWR



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 IXQGDUHVHUYHLQDQDPRXQWHTXDOWRWKHDPRXQWUHTXLUHGWREHIXQGHGSXUVXDQWWRVXFKFODXVH L 

  ZKLFKFDVKDPRXQWVVKDOOUHGXFHRQDGROODUIRUGROODUEDVLVWKHGUDZUHTXHVWVDQGDSSOLFDEOH

 ',3 $%/ /RDQV SXUVXDQW WR FODXVH L  RI WKLV SDUDJUDSK F   7R WKH H[WHQW DPRXQWV XQGHU

 SUHFHGLQJFODXVH LL DUHQRWIXQGHGDVRIHQGRIWKHVHFRQGEXVLQHVVGD\DIWHUWKH7HUPLQDWLRQ

 'HFODUDWLRQ'DWHWKH&DUYH2XW7ULJJHU1RWLFHVKDOODOVRFRQVWLWXWHDGHPDQGWRWKH'HEWRUVWR

 XWLOL]H DOO FDVK RQ KDQG FRQVWLWXWLQJ SURFHHGV RI ',3 7HUP /RDQ 3ULRULW\ &ROODWHUDO DV RI VXFK

 GDWHDQGDQ\DYDLODEOHFDVKFRQVWLWXWLQJSURFHHGVRI',37HUP/RDQ3ULRULW\&ROODWHUDOWKHUHDIWHU

 KHOG E\ DQ\ 'HEWRU WR IXQG D UHVHUYH LQ DQ DPRXQW HTXDOWR WKH DPRXQW UHTXLUHG WR EH IXQGHG

 SXUVXDQW WR VXFK FODXVH LL  ZKLFK FDVK DPRXQWV VKDOO UHGXFH RQ D GROODU IRU GROODU EDVLV WKH

 GUDZUHTXHVWVDQGDSSOLFDEOH',37HUP/RDQVSXUVXDQWWRFODXVH LL RIWKLVSDUDJUDSK F 7KH

 'HEWRUV VKDOO GHSRVLW DQG KROG VXFK DPRXQWV LQ D VHJUHJDWHG DFFRXQW DW WKH ',3 $%/

 $GPLQLVWUDWLYH $JHQW LQ WUXVW H[FOXVLYHO\ WR SD\ VXFK XQSDLG $OORZHG 3URIHVVLRQDO )HHV WKH

 ³3UH&DUYH2XW7ULJJHU1RWLFH5HVHUYH´ 2QWKH7HUPLQDWLRQ'HFODUDWLRQ'DWHWKH&DUYH2XW

 7ULJJHU1RWLFHVKDOODOVREHGHHPHGDUHTXHVWE\WKH'HEWRUVIRU [ ',35HYROYLQJ/RDQVXQGHU

 WKH',3$%/$JUHHPHQWLQDQDPRXQWHTXDOWRWKH3RVW&DUYH2XW7ULJJHU1RWLFH&DS DQ\VXFK

 DPRXQWV DFWXDOO\ DGYDQFHG VKDOO FRQVWLWXWH ',3 5HYROYLQJ /RDQV  DQG \  WR WKH H[WHQW QRW

 IXQGHG E\ WKH ',3 $%/ /HQGHUV IRU ',3 7HUP /RDQV LQ DQ DPRXQW HTXDO WR DQ\ XQIXQGHG

 SRUWLRQ RI WKH 3RVW&DUYH 2XW 7ULJJHU 1RWLFH &DS DQ\ VXFK DPRXQWV DFWXDOO\ DGYDQFHG VKDOO

 FRQVWLWXWH',37HUP/RDQV 7KH'HEWRUVVKDOOGHSRVLWDQGKROGVXFKDPRXQWVLQDVHJUHJDWHG

 DFFRXQW DW WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW LQ WUXVW H[FOXVLYHO\ WR SD\ VXFK $OORZHG

 3URIHVVLRQDO)HHVEHQHILWLQJIURPWKH3RVW&DUYH2XW7ULJJHU1RWLFH&DS WKH³3RVW&DUYH2XW

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 ³&DUYH2XW5HVHUYHV´ 2QWKHQH[WEXVLQHVVGD\IROORZLQJWKH7HUPLQDWLRQ'HFODUDWLRQ'DWH



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 DQG WKH GHHPHG UHTXHVWV IRU WKH PDNLQJ RI ',3 5HYROYLQJ /RDQV DQG ',3 7HUP /RDQV DV

 SURYLGHGLQWKLVSDUDJUDSK F QRWZLWKVWDQGLQJDQ\WKLQJLQWKH',3$%/$JUHHPHQWRUWKH',3

 7HUP/RDQ$JUHHPHQWWRWKHFRQWUDU\LQFOXGLQJZLWKUHVSHFWWR  WKHH[LVWHQFHRID'HIDXOW DV

 GHILQHGLQWKH',3$%/$JUHHPHQWRUWKH',37HUP/RDQ$JUHHPHQW RU(YHQWRI'HIDXOW  

 WKHIDLOXUHRIWKH'HEWRUVWRVDWLVI\DQ\RUDOORIWKHFRQGLWLRQVSUHFHGHQWIRUWKHPDNLQJRIDQ\

 ',3 5HYROYLQJ /RDQ XQGHU WKH ',3 $%/ $JUHHPHQW RU ',3 7HUP /RDQV XQGHU WKH ',3 7HUP

 /RDQ UHVSHFWLYHO\   DQ\ WHUPLQDWLRQ RI WKH &RPPLWPHQWV DV GHILQHG LQ WKH ',3 $%/

 $JUHHPHQW RU&RPPLWPHQWV DVGHILQHGLQWKH',37HUP/RDQ$JUHHPHQW IROORZLQJDQ(YHQW

 RI 'HIDXOW RU   WKH RFFXUUHQFH RI WKH 0DWXULW\ 'DWH HDFK ',3 $%/ /HQGHU ZLWK D

 &RPPLWPHQW DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  DQG ',3 7HUP /RDQ /HQGHU ZLWK DQ

 RXWVWDQGLQJ&RPPLWPHQW DVGHILQHGLQWKH',37HUP/RDQ$JUHHPHQW VKDOOPDNHDYDLODEOHWR

 WKH',3$%/$GPLQLVWUDWLYH$JHQWRUWKH',37HUP/RDQ$JHQWDVDSSOLFDEOHVXFK',3$%/

 /HQGHU¶VRUVXFK',37HUP/RDQ/HQGHU¶VSURUDWDVKDUHRIVXFK',35HYROYLQJ/RDQVRU',3

 7HUP/RDQVDVDSSOLFDEOH

                         G      Application of Carve Out Reserves

                                $OO IXQGV LQ WKH 3UH&DUYH 2XW 7ULJJHU 1RWLFH 5HVHUYH VKDOO EH

 XVHGILUVWWRSD\WKHREOLJDWLRQVVHWIRUWKLQVXESDUDJUDSKV D L WKURXJK D LLL RIWKHGHILQLWLRQ

 RI &DUYH 2XW VHW IRUWK DERYH WKH ³3UH&DUYH 2XW $PRXQWV´  EXW QRW IRU WKH DYRLGDQFH RI

 GRXEWWKH3RVW&DUYH2XW7ULJJHU1RWLFH&DSXQWLOSDLGLQIXOO,IWKH3UH&DUYH2XW7ULJJHU

 1RWLFH5HVHUYHKDVQRWEHHQUHGXFHGWR]HURVXEMHFWWRFODXVH LLL EHORZDOOUHPDLQLQJIXQGV

 VKDOOEHGLVWULEXWHGfirstWRWKHSUHSHWLWLRQ5HYROYLQJ&UHGLW/HQGHUV DVGHILQHGLQWKH3UHSHWLWLRQ

 $%/ $JUHHPHQW  LQ DFFRUGDQFH ZLWK WKHLU ULJKWV DQG SULRULWLHV DV RI WKH 3HWLWLRQ 'DWH DQG

 thereafter WR WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW RQ DFFRXQW RI WKH 5HYROYLQJ 2EOLJDWLRQV DV



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 GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  XQWLO LQGHIHDVLEO\ SDLG LQ IXOO LQ FDVK DOO &RPPLWPHQWV

 KDYHEHHQWHUPLQDWHGDQGDOO/HWWHUVRI&UHGLWKDYHEHHQFDQFHOOHG RUDOOVXFK/HWWHUVRI&UHGLW

 KDYHEHHQIXOO\FDVKFROODWHUDOL]HGRURWKHUZLVHEDFNVWRSSHGLQHDFKFDVHWRWKHVDWLVIDFWLRQRI

 WKHDSSOLFDEOH,VVXLQJ%DQN DVGHILQHGLQWKH',3$%/$JUHHPHQW 

                                   $OOIXQGVLQWKH3RVW&DUYH2XW7ULJJHU1RWLFH5HVHUYH RWKHUWKDQ

 XSWRZKLFKPD\EHXVHGWRSD\3UH&DUYH2XW$PRXQWVWRWKHH[WHQWWKH\H[FHHGWKH

 $%/3URIHVVLRQDO)HH&DUYH2XW&DS VKDOOEHXVHGILUVWWRSD\WKHREOLJDWLRQVVHWIRUWKLQFODXVH

  LY RIWKHGHILQLWLRQRI&DUYH2XWVHWIRUWKDERYH WKH³3RVW&DUYH2XW$PRXQWV´ ,IWKH3RVW

 &DUYH2XW7ULJJHU1RWLFH5HVHUYHKDVQRWEHHQUHGXFHGWR]HURVXEMHFWWRFODXVH LLL EHORZDOO

 UHPDLQLQJ IXQGV VKDOO EH GLVWULEXWHG first, WR WKH SUHSHWLWLRQ 5HYROYLQJ &UHGLW /HQGHUV LQ

 DFFRUGDQFHZLWKWKHLUULJKWVDQGSULRULWLHVDVRIWKH3HWLWLRQ'DWHDQGthereafterWRWKH',3$%/

 $GPLQLVWUDWLYH$JHQWRQDFFRXQWRIWKH5HYROYLQJ2EOLJDWLRQVXQWLOLQGHIHDVLEO\SDLGLQIXOOLQ

 FDVKDOO&RPPLWPHQWVKDYHEHHQWHUPLQDWHGDQGDOO/HWWHUVRI&UHGLWKDYHEHHQFDQFHOOHG RU

 DOOVXFK/HWWHUVRI&UHGLWKDYHEHHQIXOO\FDVKFROODWHUDOL]HGRURWKHUZLVHEDFNVWRSSHGLQHDFK

 FDVHWRWKHVDWLVIDFWLRQRIWKHDSSOLFDEOH,VVXLQJ%DQN 

                                   1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ LQ WKH ',3 $%/

 'RFXPHQWVWKH',37HUP/RDQ'RFXPHQWVRUWKLV)LQDO2UGHU [ LIHLWKHURIWKH&DUYH2XW

 5HVHUYHVUHTXLUHGWREHIXQGHGE\WKH',3$%//HQGHUVLVQRWIXQGHGLQIXOOLQWKHDPRXQWVVHW

 IRUWKLQWKLVSDUDJUDSK G WKHQDQ\H[FHVVIXQGVLQRQHRIWKH&DUYH2XW5HVHUYHVKHOGLQDQ\

 DFFRXQWIXQGHGE\WKH',3$%//HQGHUVIROORZLQJWKHSD\PHQWRIWKH3UH&DUYH2XW$PRXQWV

 DQG3RVW&DUYH2XW$PRXQWV VXEMHFWWRWKHOLPLWVFRQWDLQHGLQWKH$%/3URIHVVLRQDO)HH&DUYH

 2XW&DSDQGWKH3RVW&DUYH2XW7ULJJHU1RWLFH&DSUHVSHFWLYHO\ UHVSHFWLYHO\VKDOOEHXVHGWR

 IXQG WKH RWKHU &DUYH 2XW 5HVHUYH WR WKH H[WHQW RI DQ\ VKRUWIDOO LQ IXQGLQJ E\ WKH ',3 $%/



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 /HQGHUVSULRUWRPDNLQJDQ\SD\PHQWVWRWKH',3$%/$JHQWRUWKH3UHSHWLWLRQ$%//HQGHUV

 DVDSSOLFDEOHDQG \ LIHLWKHURIWKH&DUYH2XW5HVHUYHVUHTXLUHGWREHIXQGHGE\WKH',37HUP

 /RDQ/HQGHUVLVQRWIXQGHGLQIXOOLQWKHDPRXQWVVHWIRUWKLQWKLVSDUDJUDSK G WKHQDQ\H[FHVV

 IXQGV LQ RQH RI WKH &DUYH 2XW 5HVHUYHV KHOG LQ DQ\ DFFRXQW IXQGHG E\ WKH ',3 7HUP /RDQ

 /HQGHUV IROORZLQJ WKH SD\PHQW RI WKH 3UH&DUYH 2XW $PRXQWV DQG 3RVW&DUYH 2XW $PRXQWV

  VXEMHFW WR ',3 7HUP &RPPLWPHQW &DS DQG WKH 3RVW&DUYH 2XW 7ULJJHU 1RWLFH &DS

 UHVSHFWLYHO\ UHVSHFWLYHO\VKDOOEHXVHGWRIXQGWKHRWKHU&DUYH2XW5HVHUYHWRWKHH[WHQWRIDQ\

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 7HUP/RDQ$JHQWRUWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUVDVDSSOLFDEOH

                                  $  1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ LQ WKH ',3 $%/

 'RFXPHQWV RU WKLV )LQDO 2UGHU IROORZLQJ WZR   EXVLQHVV GD\V DIWHU GHOLYHU\ RI D &DUYH 2XW

 7ULJJHU 1RWLFH QHLWKHU WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW QRU WKH 3UHSHWLWLRQ $%/

 $GPLQLVWUDWLYH$JHQWVKDOOVZHHSRUIRUHFORVHRQFDVK LQFOXGLQJFDVKUHFHLYHGDVDUHVXOWRIWKH

 VDOH RU RWKHU GLVSRVLWLRQ RI DQ\ DVVHWV  RI WKH 'HEWRUV XQWLO WKH &DUYH 2XW 5HVHUYHV KDYH EHHQ

 IXQGHGLQDQDPRXQWHTXDOWRWKHVXPRI [ WKH3RVW&DUYH2XW7ULJJHU1RWLFH&DSSOXV \ WKH

 DPRXQW RI WKH $%/ 3URIHVVLRQDO )HH &DUYH 2XW &DS plus ]  WKH DPRXQWV FRQWHPSODWHG XQGHU

 SDUDJUDSK D L  DQG D LL  DERYH ZLWK DQ\ H[FHVV SDLG DV SURYLGHG LQ SDUDJUDSKV L  DQG LL 

 DERYH % 1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\LQWKH',37HUP/RDQ'RFXPHQWVRUWKLV

 )LQDO2UGHUIROORZLQJGHOLYHU\RID&DUYH2XW7ULJJHU1RWLFHWKH',37HUP/RDQ$JHQWDQG

 WKH3UHSHWLWLRQ7HUP/RDQ$JHQWVKDOOQRWVZHHSRUIRUHFORVHRQFDVK LQFOXGLQJFDVKUHFHLYHG

 DVDUHVXOWRIWKHVDOHRURWKHUGLVSRVLWLRQRIDQ\DVVHWV RIWKH'HEWRUVXQWLOWKH',37HUP/RDQ

 $JHQWVKDOOKDYHVDWLVILHGLWVREOLJDWLRQWRIXOO\IXQGWKH&DUYH2XW5HVHUYHVLQDFFRUGDQFHZLWK

 WKLV)LQDO2UGHU



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                                  1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ LQ WKLV )LQDO 2UGHU L 

 WKHIDLOXUHRIWKH&DUYH2XW5HVHUYHVWRVDWLVI\LQIXOOWKH$OORZHG3URIHVVLRQDO)HHVVKDOOQRW

 DIIHFWWKHSULRULW\RIWKH&DUYH2XWZLWKUHVSHFWWRDQ\VKRUWIDOO DVGHVFULEHGEHORZ  provided

 WKDW LQ DOO FDVHV WKH &DUYH 2XW SULRULW\ ZLWK UHJDUG WR WKH ',3 $%/ &ROODWHUDO ZLOO DOZD\V EH

 VXEMHFW WR WKH OLPLWDWLRQV VHW IRUWK LQ WKH GHILQLWLRQ RI &DUYH 2XW  DQG LL  VXEMHFW WR WKH

 OLPLWDWLRQV ZLWK UHVSHFW WR WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW 5HYROYLQJ &UHGLW /HQGHUV DV

 GHILQHG LQ WKH ',3 $%/ $JUHHPHQW  3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW DQG SUHSHWLWLRQ

 5HYROYLQJ &UHGLW /HQGHUV VHW IRUWK LQ SDUDJUDSK E  DERYH LQ QR ZD\ VKDOO WKH %XGJHW DQ\

 $SSURYHG%XGJHW DVGHILQHGLQWKH',3$%/$JUHHPHQW &DUYH2XW3RVW&DUYH2XW7ULJJHU

 1RWLFH &DS RU &DUYH 2XW 5HVHUYHV EH FRQVWUXHG DV D FDS RU OLPLWDWLRQ RQ WKH DPRXQW RI WKH

 $OORZHG 3URIHVVLRQDO )HHV GXH DQG SD\DEOH E\ WKH 'HEWRUV  )RU WKH DYRLGDQFH RI GRXEW DQG

 QRWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ KHUHLQ RU LQ WKH ',3 )DFLOLWLHV RU LQ DQ\ 3UHSHWLWLRQ

 6HFXUHG)DFLOLWLHVWRWKHH[WHQWRIDQ\VKRUWIDOOLQWKH&DUYH2XW5HVHUYHVWKH&DUYH2XWVKDOO

 EHVHQLRUWRDOOOLHQVDQGFODLPVVHFXULQJWKH',3)DFLOLWLHVWKH$GHTXDWH3URWHFWLRQ/LHQVDQG

 WKH 'LPLQXWLRQ LQ 9DOXH FODLPV DQG DQ\ DQG DOO RWKHU IRUPV RI DGHTXDWH SURWHFWLRQ OLHQV RU

 FODLPVVHFXULQJWKH',32EOLJDWLRQVRUWKH3UHSHWLWLRQ6HFXUHG2EOLJDWLRQVprovided, however

 WKDWWKDWLQDOOFDVHVWKH&DUYH2XWSULRULW\ZLWKUHJDUGWRWKH',3$%/&ROODWHUDOZLOODOZD\VEH

 VXEMHFWWRWKHOLPLWDWLRQVVHWIRUWKLQWKHGHILQLWLRQRI&DUYH2XW

                           H      No Direct Obligation To Pay Allowed Professional Fees7KH',3

 $JHQWV WKH ',3 /HQGHUV DQG WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV VKDOO QRW EH UHVSRQVLEOH IRU WKH

 SD\PHQWRUUHLPEXUVHPHQWRIDQ\IHHVRUGLVEXUVHPHQWVRIDQ\3URIHVVLRQDO3HUVRQLQFXUUHGLQ

 FRQQHFWLRQ ZLWK WKH &DVHV RU DQ\ 6XFFHVVRU &DVHV XQGHU DQ\ FKDSWHURI WKH %DQNUXSWF\ &RGH

 1RWKLQJLQWKLV)LQDO2UGHURURWKHUZLVHVKDOOEHFRQVWUXHGWRREOLJDWHWKH',3$JHQWVWKH',3



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 /HQGHUVWKH,VVXLQJ%DQNVRUWKH3UHSHWLWLRQ6HFXUHG3DUWLHVLQDQ\ZD\WRSD\FRPSHQVDWLRQ

 WR RU WR UHLPEXUVH H[SHQVHV RI DQ\ 3URIHVVLRQDO 3HUVRQ RU WRJXDUDQWHH WKDWWKH 'HEWRUV KDYH

 VXIILFLHQWIXQGVWRSD\VXFKFRPSHQVDWLRQRUUHLPEXUVHPHQW

                           I     Payment of Allowed Professional Fees Prior to the Termination

 Declaration Date  $Q\ SD\PHQW RU UHLPEXUVHPHQW PDGH SULRU WR WKH RFFXUUHQFH RI WKH

 7HUPLQDWLRQ'HFODUDWLRQ'DWHLQUHVSHFWRIDQ\$OORZHG3URIHVVLRQDO)HHVVKDOOQRWUHGXFHWKH

 &DUYH2XW

                           J     Payment of Carve Out On or After the Termination Declaration

 Date  $Q\ SD\PHQW RU UHLPEXUVHPHQW PDGH RQ RU DIWHU WKH RFFXUUHQFH RI WKH 7HUPLQDWLRQ

 'HFODUDWLRQ 'DWH LQ UHVSHFW RI DQ\ $OORZHG 3URIHVVLRQDO )HHV VKDOO SHUPDQHQWO\ UHGXFH WKH

 &DUYH 2XW RQ D GROODUIRUGROODU EDVLV  $Q\ IXQGLQJ RI WKH &DUYH 2XW VKDOO EH DGGHG WR DQG

 PDGHDSDUWRIWKH',32EOLJDWLRQVVHFXUHGE\WKH',3&ROODWHUDODQGVKDOOEHRWKHUZLVHHQWLWOHG

 WRWKHSURWHFWLRQVJUDQWHGXQGHUWKLV)LQDO2UGHUWKH',3'RFXPHQWVWKH%DQNUXSWF\&RGHDQG

 DSSOLFDEOHODZ

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 2XW PD\ QRW EH XVHG LQ FRQQHFWLRQ ZLWK D  H[FHSW WR FRQWHVW WKH RFFXUUHQFH RI DQ (YHQW RI

 'HIDXOWSUHYHQWLQJKLQGHULQJRUGHOD\LQJDQ\RIWKH',3$%/$GPLQLVWUDWLYH$JHQW¶VWKH',3

 7HUP /RDQ $JHQW¶V WKH ',3 /HQGHUV¶ RU WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV¶ HQIRUFHPHQW RU

 UHDOL]DWLRQXSRQDQ\RIWKH',3&ROODWHUDORU3UHSHWLWLRQ&ROODWHUDO E XVLQJRUVHHNLQJWRXVH

 &DVK&ROODWHUDOH[FHSWDVSURYLGHGIRULQWKLV)LQDO2UGHUDQGWKH',3'RFXPHQWV F VHOOLQJRU

 RWKHUZLVHGLVSRVLQJRI',3&ROODWHUDOZLWKRXWWKHFRQVHQWRIWKH',3$%/$GPLQLVWUDWLYH$JHQW

 RUWKH',37HUP/RDQ$JHQW DVDSSOLFDEOH  G XVLQJRUVHHNLQJWRXVHDQ\LQVXUDQFHSURFHHGV



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 FRQVWLWXWLQJ ',3 &ROODWHUDO H[FHSW DV SURYLGHG IRU LQ WKLV )LQDO 2UGHU DQG WKH ',3 'RFXPHQWV

 ZLWKRXWWKHFRQVHQWRIWKH',3$%/$GPLQLVWUDWLYH$JHQWDQGWKH',37HUP/RDQ$JHQW H 

 LQFXUULQJ ,QGHEWHGQHVV DV GHILQHG LQ WKH ',3 $%/ $JUHHPHQW RU WKH ',3 7HUP /RDQ

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 /RDQ$JHQWH[FHSWWRWKHH[WHQWSHUPLWWHGXQGHUWKH',3$JUHHPHQWV I VHHNLQJWRDPHQGRU

 PRGLI\DQ\RIWKHULJKWVJUDQWHGWRWKH',3$JHQWVWKH',3/HQGHUVRUWKH3UHSHWLWLRQ6HFXUHG

 3DUWLHV XQGHU WKH ,QWHULP 2UGHU WKLV )LQDO 2UGHU WKH ',3 'RFXPHQWV RU WKH 3UHSHWLWLRQ

 'RFXPHQWVLQFOXGLQJVHHNLQJWRXVH&DVK&ROODWHUDODQGRU',3&ROODWHUDORQDFRQWHVWHGEDVLV

  J  REMHFWLQJWRRUFKDOOHQJLQJLQDQ\ZD\WKH ',3/LHQVWKH',3 2EOLJDWLRQV WKH3UHSHWLWLRQ

 /LHQVWKH3UHSHWLWLRQ6HFXUHG2EOLJDWLRQVWKH',3&ROODWHUDO LQFOXGLQJ&DVK&ROODWHUDO RUDV

 WKHFDVHPD\EHWKH3UHSHWLWLRQ&ROODWHUDORUDQ\RWKHUFODLPVRUOLHQVKHOGE\RURQEHKDOIRI

 DQ\RIWKH',3$%/$GPLQLVWUDWLYH$JHQWWKH',37HUP/RDQ$JHQWWKH',3/HQGHUVRUWKH

 3UHSHWLWLRQ6HFXUHG3DUWLHVUHVSHFWLYHO\ K DVVHUWLQJFRPPHQFLQJRUSURVHFXWLQJDQ\FODLPV

 RUFDXVHVRIDFWLRQZKDWVRHYHULQFOXGLQJDQ\DFWLRQVXQGHU&KDSWHURIWKH%DQNUXSWF\&RGHRU

 DSSOLFDEOH VWDWH ODZ HTXLYDOHQWV RU DFWLRQVWRUHFRYHURUGLVJRUJH SD\PHQWVDJDLQVW DQ\RIWKH

 ',3 $JHQWV WKH ',3 /HQGHUV WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV RU DQ\ RI WKHLU UHVSHFWLYH

 DIILOLDWHV DJHQWV DWWRUQH\V DGYLVRUV SURIHVVLRQDOV RIILFHUV GLUHFWRUV DQG HPSOR\HHV L 

 OLWLJDWLQJREMHFWLQJWRFKDOOHQJLQJRUFRQWHVWLQJLQDQ\PDQQHURUUDLVLQJDQ\GHIHQVHVWRWKH

 YDOLGLW\H[WHQWDPRXQWSHUIHFWLRQSULRULW\RUHQIRUFHDELOLW\RIDQ\RIWKH',32EOLJDWLRQVWKH

 ',3/LHQVWKH3UHSHWLWLRQ/LHQV3UHSHWLWLRQ6HFXUHG2EOLJDWLRQVRUDQ\RWKHUULJKWVRULQWHUHVWV

 RIDQ\RIWKH',3$JHQWVWKH',3/HQGHUVRUWKH3UHSHWLWLRQ6HFXUHG3DUWLHVRU M VHHNLQJWR

 VXERUGLQDWH UHFKDUDFWHUL]H GLVDOORZ RU DYRLG WKH ',3 2EOLJDWLRQV RU WKH 3UHSHWLWLRQ 6HFXUHG

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 WKH ',3 'RFXPHQWV PD\ EH XVHG IRU DOORZHG IHHV DQG H[SHQVHV LQ DQ DPRXQW QRW WR H[FHHG

  LQ WKH DJJUHJDWH WKH ³,QYHVWLJDWLRQ %XGJHW $PRXQW´  LQFXUUHG VROHO\ E\ WKH

 &RPPLWWHH LQ LQYHVWLJDWLQJ EXW QRW SURVHFXWLQJ RU FKDOOHQJLQJ  WKH YDOLGLW\ HQIRUFHDELOLW\

 SHUIHFWLRQSULRULW\RUH[WHQWRIWKH3UHSHWLWLRQ/LHQVZLWKLQVL[W\  FDOHQGDUGD\VIROORZLQJ

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 WRWKHDOORZDQFHRIDQ\SURIHVVLRQDOIHHVRUH[SHQVHVRIDQ\3URIHVVLRQDO3HUVRQRUVKDOODIIHFW

 WKHULJKWRIWKH',3$JHQWVWKH',3/HQGHUVRUWKH3UHSHWLWLRQ6HFXUHG3DUWLHVWRREMHFWWRWKH

 DOORZDQFHDQGSD\PHQWRIVXFKIHHVDQGH[SHQVHV6RORQJDVDQXQZDLYHG(YHQWRI'HIDXOWKDV

 QRW RFFXUUHG WKH 'HEWRUV VKDOO EH SHUPLWWHG WR SD\ IHHV DQG H[SHQVHV DOORZHG DQG SD\DEOH E\

 ILQDORUGHU WKDWKDVQRWEHHQYDFDWHGRUVWD\HGXQOHVVWKHVWD\KDVEHHQYDFDWHG XQGHUVHFWLRQV

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 DUHDQGVKDOOEHELQGLQJRQDQ\WUXVWHHUHVSRQVLEOHSHUVRQH[DPLQHUZLWKH[SDQGHGSRZHUVRU

 DQ\RWKHUHVWDWHUHSUHVHQWDWLYHDVZHOODVRQDOOFUHGLWRUVDQGSDUWLHVLQLQWHUHVWDQGDOORIWKHLU

 VXFFHVVRUVLQLQWHUHVWDQGDVVLJQVLQFOXGLQJWKH&RPPLWWHHXQOHVVDQGVROHO\WRWKHH[WHQWWKDW

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 &KDOOHQJH DV GHILQHG EHORZ  LV LUUHYRFDEO\ ZDLYHG DQG UHOLQTXLVKHG  L  KDV WLPHO\ ILOHG D

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 %DQNUXSWF\5XOHVLQFOXGLQJDVUHTXLUHGSXUVXDQWWR3DUW9,,RIWKH%DQNUXSWF\5XOHV LQHDFK

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 &ODLP 6WLSXODWLRQV HDFK VXFK SURFHHGLQJ RU SOHDGLQJ FRPPHQFLQJ D SURFHHGLQJ RU RWKHU

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 &RPPLWWHH WKH³&KDOOHQJH'HDGOLQH´ DVVXFKDSSOLFDEOHGDWHPD\EHH[WHQGHGLQZULWLQJIURP

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 VHHNLQJ VWDQGLQJ WR FRPPHQFH D &KDOOHQJH EURXJKW GXULQJ WKH &KDOOHQJH 3HULRG DQG LL  WKLV

 &RXUW HQWHUV MXGJPHQW LQ IDYRU RI WKH SODLQWLII RU PRYDQW LQ DQ\ VXFK WLPHO\ DQG SURSHUO\

 FRPPHQFHG&KDOOHQJHSURFHHGLQJDQGDQ\VXFKMXGJPHQWKDVEHFRPHDILQDOMXGJPHQWWKDWLV

 QRWVXEMHFWWRDQ\IXUWKHUUHYLHZRUDSSHDO,QWKHHYHQWWKH&RPPLWWHHILOHVDVWDQGLQJPRWLRQ

 GXULQJ WKH &KDOOHQJH 3HULRG WKH &KDOOHQJH 3HULRG VKDOO EH WROOHG XQWLO WKH HDUOLHU RI L  ILYH

 FDOHQGDUGD\VDIWHUWKHHQWU\RIDQRUGHUE\WKH%DQNUXSWF\&RXUWJUDQWLQJVXFKVWDQGLQJPRWLRQ

  LL ILYHFDOHQGDUGD\VDIWHUWKHHQWU\RIDQRUGHUE\WKH%DQNUXSWF\&RXUWGHQ\LQJVXFKVWDQGLQJ

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 FRPPHQFHGE\WKH&KDOOHQJH'HDGOLQHRUWRWKHH[WHQWVXFKSURFHHGLQJGRHVQRWUHVXOWLQDILQDO

 DQGQRQDSSHDODEOHMXGJPHQWRURUGHURIWKLV&RXUWWKDWLVLQFRQVLVWHQWZLWKWKH3UHSHWLWLRQ/LHQ

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 3UHSHWLWLRQ /LHQ DQG &ODLP 6WLSXODWLRQV VKDOO SXUVXDQW WR WKLV )LQDO 2UGHU EHFRPH ELQGLQJ

 FRQFOXVLYHDQGILQDORQDQ\SHUVRQHQWLW\RUSDUW\LQLQWHUHVWLQWKH&DVHVDQGWKHLUVXFFHVVRUV

 DQGDVVLJQVDQGLQDQ\6XFFHVVRU&DVHIRUDOOSXUSRVHVDQGVKDOOQRWEHVXEMHFWWRFKDOOHQJHRU

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 WKH FRQWUDU\ KHUHLQ LI DQ\ VXFK SURFHHGLQJ LV SURSHUO\DQG WLPHO\ FRPPHQFHG WKH 3UHSHWLWLRQ

 /LHQDQG&ODLP6WLSXODWLRQVVKDOOQRQHWKHOHVVUHPDLQELQGLQJRQDOORWKHUSDUWLHVLQLQWHUHVWDQG

 SUHFOXVLYHDVSURYLGHGLQVXESDUDJUDSK D DERYHH[FHSWWRWKHH[WHQWWKDWDQ\RIVXFK3UHSHWLWLRQ

 /LHQ DQG &ODLP 6WLSXODWLRQV LV H[SUHVVO\ WKH VXEMHFW RI D WLPHO\ DQG SURSHUO\ ILOHG &KDOOHQJH

 ZKLFK &KDOOHQJH LV VXFFHVVIXO DV VHW IRUWK LQ D ILQDO MXGJPHQWDV SURYLGHG LQ VXESDUDJUDSK D 

 DERYH DQG RQO\ DV WR SODLQWLIIV RU PRYDQWV WKDW KDYH FRPSOLHG ZLWK WKH WHUPV KHUHRI  7R WKH

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 6HFXUHG3DUWLHVVKDOOEHHQWLWOHGWRSD\PHQWRIWKHUHODWHGFRVWVDQGH[SHQVHVLQFOXGLQJEXWQRW

 OLPLWHG WR UHDVRQDEOH DWWRUQH\V¶ IHHV LQFXUUHG XQGHU WKH 3UHSHWLWLRQ 'RFXPHQWV LQ GHIHQGLQJ

 WKHPVHOYHVLQDQ\VXFKSURFHHGLQJDVDGHTXDWHSURWHFWLRQ8SRQDVXFFHVVIXO&KDOOHQJHEURXJKW

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 3UHSHWLWLRQ 7HUP /RDQ /HQGHUV RU DQ\ RI WKHLU UHVSHFWLYH FODLPV WKH ',3 &ROODWHUDO RU WKH

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 ZLWKRXW WKH SULRU ZULWWHQ FRQVHQW RI WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW WKH ',3 7HUP /RDQ

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 /HQGHUVWKH3UHSHWLWLRQ7HUP/RDQ$JHQWRUWKH3UHSHWLWLRQ7HUP/RDQ/HQGHUVDVDSSOLFDEOH

 DQG QR VXFK FRQVHQW VKDOO EH LPSOLHG IURP DQ\ RWKHU DFWLRQ LQDFWLRQ RU DFTXLHVFHQFH E\ DQ\

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 WKH3UHSHWLWLRQ$%//HQGHUVWKH3UHSHWLWLRQ7HUP/RDQ$JHQWDQGWKH3UHSHWLWLRQ7HUP/RDQ

 /HQGHUV VKDOO QRW EH VXEMHFW WR WKH HTXLWDEOH GRFWULQH RI ³PDUVKDOLQJ´ RU DQ\ RWKHU VLPLODU

 GRFWULQHZLWKUHVSHFWWRDQ\RIWKH',3&ROODWHUDORUWKH3UHSHWLWLRQ&ROODWHUDODVWKHFDVHPD\

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 /HQGHUVVKDOOHDFKEHHQWLWOHGWRDOORIWKHULJKWVDQGEHQHILWVRIVHFWLRQ E RIWKH%DQNUXSWF\

 &RGHDQGWKH³HTXLWLHVRIWKHFDVH´H[FHSWLRQXQGHUVHFWLRQ E RIWKH%DQNUXSWF\&RGHVKDOO

 QRW DSSO\ WR WKH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW WKH 3UHSHWLWLRQ $%/ /HQGHUV WKH

 3UHSHWLWLRQ7HUP /RDQ $JHQW RU WKH 3UHSHWLWLRQ 7HUP /RDQ /HQGHUVZLWK UHVSHFW WR SURFHHGV

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 ULJKWV RU UHPHGLHV RI WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW RU WKH ',3 7HUP /RDQ $JHQW

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 FRQWDLQHG LQ WKLV )LQDO 2UGHU WKH ',3 $%/ 'RFXPHQWV WKH ',3 7HUP /RDQ 'RFXPHQWV RU

 RWKHUZLVHDYDLODEOHDWODZRULQHTXLW\DQGVXEMHFWWRWKHWHUPVRIWKH',3$%/'RFXPHQWVDQG

 WKH',37HUP/RDQ'RFXPHQWVXSRQZULWWHQQRWLFHWRWKHODQGORUGRIDQ\OHDVHGSUHPLVHVWKDW

 DQ (YHQW RI 'HIDXOW RU WKH 7HUPLQDWLRQ 'DWH KDV RFFXUUHG DQG LV FRQWLQXLQJ WKH ',3 $%/

 $GPLQLVWUDWLYH$JHQWRUWKH',37HUP/RDQ$JHQWDVDSSOLFDEOHPD\VXEMHFWWRWKHDSSOLFDEOH

 QRWLFH SURYLVLRQV LI DQ\ LQ WKLV )LQDO 2UGHU DQG DQ\ VHSDUDWH DSSOLFDEOH DJUHHPHQW E\ DQG

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 HQWHU XSRQ DQ\ OHDVHG SUHPLVHV RI WKH 'HEWRUV IRU WKH SXUSRVH RI H[HUFLVLQJ DQ\ UHPHG\ ZLWK

 UHVSHFW WR ',3&ROODWHUDOORFDWHGWKHUHRQDQGVKDOOEHHQWLWOHGWRDOORIWKH'HEWRUV¶ULJKWV DQG

 SULYLOHJHV DV OHVVHH XQGHU VXFK OHDVH ZLWKRXW LQWHUIHUHQFH IURP WKH ODQGORUGV WKHUHXQGHU

 provided WKDW WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW DQGRU WKH ',3 7HUP /RDQ $JHQW DV

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 QRWLFHUHIHUHQFHGDERYHDQGWKDWLVSD\DEOHGXULQJWKHSHULRGRIVXFKRFFXSDQF\E\WKH',3$%/

 $GPLQLVWUDWLYH$JHQWDQGRUWKH',37HUP/RDQ$JHQWDVDSSOLFDEOHFDOFXODWHGRQDGDLO\SHU

 GLHPEDVLV1RWKLQJKHUHLQVKDOOUHTXLUHWKH',3$%/$GPLQLVWUDWLYH$JHQWRUWKH',37HUP

 /RDQ$JHQWWRDVVXPHDQ\OHDVHDVDFRQGLWLRQWRWKHULJKWVDIIRUGHGLQWKLVSDUDJUDSK)RUWKH

 DYRLGDQFHRIGRXEWVXEMHFWWR DQGZLWKRXWZDLYHURI WKHULJKWVRIWKH',3$%/$GPLQLVWUDWLYH

 $JHQWWKH',37HUP/RDQ$JHQWDQGRUWKH',3/HQGHUVXQGHUDSSOLFDEOHQRQEDQNUXSWF\ODZ

 WKH',3$%/$GPLQLVWUDWLYH$JHQWWKH',37HUP/RDQ$JHQWDQGRUWKH',3/HQGHUVFDQRQO\

 HQWHU XSRQ D OHDVHG SUHPLVHV DIWHU DQ (YHQW RI 'HIDXOW LQ DFFRUGDQFH ZLWK L  D VHSDUDWH

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 WKLV&RXUWREWDLQHGE\PRWLRQRIWKH',3$%/$GPLQLVWUDWLYH$JHQWWKH',37HUP/RDQ$JHQW

 DQGRUWKH',3/HQGHUVRQVXFKQRWLFHWRWKHODQGORUGDVVKDOOEHUHTXLUHGE\WKLV&RXUW

                      3RVWSHWLWLRQ/HDVH2EOLJDWLRQV6XEMHFWWRWKHWHUPVDQGFRQGLWLRQVRIWKH

 ',3 $JUHHPHQWV DQG WKLV )LQDO 2UGHU DQG XQOHVV DQ\ FUHGLWRU DJUHHV WR GLIIHUHQW WUHDWPHQW

 ZLWKLQEXVLQHVVGD\VRIWKH'HEWRUVDXWKRUL]DWLRQWRFRPPHQFHVWRUHFORVLQJVLQDFFRUGDQFH

 ZLWK WKH Debtors Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to

 Assume the Consulting Agreement, (II) Approving Procedures for Store Closing Sales, and (III)

 Granting Related Relief >'RFNHW1R@ WKH³6WRUH&ORVLQJ0RWLRQ´ WKH'HEWRUVVKDOOSD\WKH

 XQSDLG UHQW GXH XQGHU WKH OHDVHV IRU WKH SHULRG IURP -XQH   WKURXJK -XQH  

  WKH³6WXE 5HQW´  IRU WKH &ORVLQJ 6WRUHV RU $GGLWLRQDO &ORVLQJ 6WRUHV HDFK DV GHILQHG LQ WKH

 6WRUH &ORVLQJ 0RWLRQ  WR EH SDLG ZLWKLQ  EXVLQHVV GD\V RI WKH 'HEWRUV¶ DXWKRUL]DWLRQ WR

 FRPPHQFH 6WRUH &ORVLQJV DV GHILQHG LQ WKH 6WRUH &ORVLQJ 0RWLRQ  DW VXFK &ORVLQJ 6WRUHV RU

 $GGLWLRQDO&ORVLQJ6WRUHVLQDFFRUGDQFHZLWKWKH6WRUH&ORVLQJ0RWLRQ,QDGGLWLRQVXEMHFWWR

 WKH WHUPV DQG FRQGLWLRQV RI WKH ',3 $JUHHPHQWV DQG WKLV )LQDO 2UGHU DQG XQOHVV DQ\ FUHGLWRU

 DJUHHV WR GLIIHUHQW WUHDWPHQW ZLWKLQ  GD\V RI WKH HIIHFWLYH GDWH RI WKH UHMHFWLRQ RI D UHDO

 SURSHUW\OHDVH RULWVQDWXUDOH[SLUDWLRQRUWHUPLQDWLRQDVPD\EHDSSOLFDEOH WKH'HEWRUVVKDOO

 SD\WRWKHDSSOLFDEOHODQGORUGWKH6WXE5HQWIRUVXFKVWRUHDVZHOO7KHWUHDWPHQWRI6WXE5HQW

 VHWIRUWKLQWKLVSDUDJUDSKLVPDGHVROHO\LQVHWWOHPHQWRIYDULRXVFODLPVDQGREMHFWLRQVDQG

 GRHV QRW FRQVWLWXWH DQ DJUHHPHQW E\ WKH 'HEWRUV WKH ',3 $JHQWV WKH ',3 /HQGHUV RU WKH

 3UHSHWLWLRQ 6HFXUHG 3DUWLHV QRU GRHV LW FRQVWLWXWH D ILQGLQJ E\ WKH &RXUW ZLWK UHVSHFW WR WKH

 YDOLGLW\SULRULW\QDWXUHRUULJKWWRSD\PHQWRIDQ\FODLPVLQFOXGLQJZLWKRXWOLPLWDWLRQWKRVH

 RQDFFRXQWRI6WXE5HQW7KH'HEWRUV¶DQG',3$JHQWV¶ULJKWVZLWKUHVSHFWWRWKHFDOFXODWLRQRI

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                      /LPLWV RQ /HQGHU /LDELOLW\  1RWKLQJ LQ WKH ,QWHULP 2UGHU WKLV )LQDO

 2UGHUDQ\ RIWKH',3 'RFXPHQWVRUDQ\RWKHUGRFXPHQWVUHODWHGWKHUHWRVKDOOLQDQ\ZD\ EH

 FRQVWUXHGRULQWHUSUHWHGWRLPSRVHRUDOORZWKHLPSRVLWLRQXSRQWKH',3$JHQWVWKH',3/HQGHUV

 RUWKH3UHSHWLWLRQ6HFXUHG3DUWLHVRIDQ\OLDELOLW\IRUDQ\FODLPVDULVLQJIURPDQ\DFWLYLWLHVE\WKH

 'HEWRUV LQ WKH RSHUDWLRQ RI WKHLU EXVLQHVVHV RU LQ FRQQHFWLRQ ZLWK WKH DGPLQLVWUDWLRQ RI WKHVH

 &DVHV7KH',3$JHQWVWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHVVKDOOQRWVROHO\E\

 UHDVRQRIKDYLQJPDGHORDQVXQGHUWKH',3)DFLOLWLHVEHGHHPHGLQFRQWURORIWKHRSHUDWLRQVRI

 WKH'HEWRUVRUWREHDFWLQJDVD³UHVSRQVLEOHSHUVRQ´RU³RZQHURURSHUDWRU´ZLWKUHVSHFWWRWKH

 RSHUDWLRQ RU PDQDJHPHQW RI WKH 'HEWRUV DV VXFK WHUPV RU DQ\ VLPLODU WHUPV DUH XVHG LQ WKH

 8QLWHG 6WDWHV &RPSUHKHQVLYH (QYLURQPHQWDO 5HVSRQVH &RPSHQVDWLRQ DQG /LDELOLW\ $FW 

 86&   et seq. DV DPHQGHG RU DQ\ VLPLODU IHGHUDO RU VWDWH VWDWXWH   1RWKLQJ LQ WKH

 ,QWHULP 2UGHU WKLV )LQDO 2UGHU RU WKH ',3 'RFXPHQWV VKDOO LQ DQ\ ZD\ EH FRQVWUXHG RU

 LQWHUSUHWHGWRLPSRVHRUDOORZWKHLPSRVLWLRQXSRQWKH',3$JHQWVWKH',3/HQGHUVRUDQ\RI

 WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV RI DQ\ OLDELOLW\ IRU DQ\ FODLPV DULVLQJ IURP WKH SUHSHWLWLRQ RU

 SRVWSHWLWLRQDFWLYLWLHVRIDQ\RIWKH'HEWRUVEHIRUHHQWU\RIWKLV)LQDO2UGHU

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 WKH',3$%//HQGHUV WKH',37HUP/RDQ$JHQW RQEHKDOIRIWKH',37HUP/RDQ/HQGHUV 

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 EH ZLWKRXW DQ\ IXUWKHU DFWLRQ RU QRWLFH QDPHG DV DGGLWLRQDO LQVXUHG DQG ORVV SD\HH RQ HDFK

 LQVXUDQFHSROLF\PDLQWDLQHGE\WKH'HEWRUVWKDWLQDQ\ZD\UHODWHVWRWKH',3&ROODWHUDO

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 WR FRQVWLWXWH D VXEVWDQWLYH FRQVROLGDWLRQ RI DQ\ RI WKH 'HEWRUV¶ HVWDWHV LW EHLQJ XQGHUVWRRG

 KRZHYHUWKDWWKH&RPSDQ\+ROGLQJVDQGWKH/RDQ3DUWLHVVKDOOEHMRLQWO\DQGVHYHUDOO\OLDEOH

 IRUWKHREOLJDWLRQVKHUHXQGHUDQGDOO',32EOLJDWLRQVLQDFFRUGDQFHZLWKWKHWHUPVKHUHRIDQGRI

 WKH',3)DFLOLWLHVDQGWKH',3'RFXPHQWV

                      1R 6XSHULRU 5LJKWV RI 5HFODPDWLRQ  %DVHG RQ WKH ILQGLQJV DQG UXOLQJV

 KHUHLQ UHJDUGLQJ WKH LQWHJUDWHG QDWXUHRIWKH',3)DFLOLWLHVDQGWKH3UHSHWLWLRQ'RFXPHQWV DQG

 WKHUHODWLRQEDFNRIWKH',3/LHQVLQQRHYHQWVKDOODQ\DOOHJHGULJKWRIUHFODPDWLRQRUUHWXUQ

  ZKHWKHUDVVHUWHGXQGHUVHFWLRQ F RIWKH%DQNUXSWF\&RGHRURWKHUZLVH EHGHHPHGWRKDYH

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 $JHQWV¶ WKH ',3 /HQGHUV¶ DQG WKH 3UHSHWLWLRQ 6HFXUHG 3DUWLHV¶ ULJKW WR VHHN DQ\ RWKHU RU

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  RI WKH %DQNUXSWF\ &RGH LL  UHTXHVW GLVPLVVDO RI DQ\ RI WKH &DVHV RU 6XFFHVVRU &DVHV

 FRQYHUVLRQRIDQ\RIWKH&DVHVWRFDVHVXQGHU&KDSWHURUDSSRLQWPHQWRID&KDSWHUWUXVWHH

 RUH[DPLQHUZLWKH[SDQGHGSRZHUVRU LLL SURSRVHVXEMHFWWRWKHSURYLVLRQVRIVHFWLRQRI

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 3UHSHWLWLRQ6HFXUHG 3DUWLHV  1RWZLWKVWDQGLQJ DQ\WKLQJ KHUHLQ WR WKH FRQWUDU\WKHHQWU\ RI WKLV

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 WKH 'HEWRUV¶ WKH &RPPLWWHH¶V RU DQ\ SDUW\ LQ LQWHUHVW¶V ULJKW WR RSSRVH DQ\ RI WKH UHOLHI

 UHTXHVWHGLQDFFRUGDQFHZLWKWKHLPPHGLDWHO\SUHFHGLQJVHQWHQFHH[FHSWDVH[SUHVVO\VHWIRUWKLQ

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 $&( $PHULFDQ ,QVXUDQFH &RPSDQ\ DQGRU DQ\ RI LWV DIILOLDWHV FROOHFWLYHO\ DQG WRJHWKHU ZLWK

 HDFKRIWKHLUVXFFHVVRUV³&KXEE´ KDGYDOLGHQIRUFHDEOHSURSHUO\SHUIHFWHGDQGQRQDYRLGDEOH

 OLHQV DQGRU VHFXULW\ LQWHUHVWV RQ SURSHUW\ LQFOXGLQJ &DVK &ROODWHUDO  RI WKH 'HEWRUV DV RI WKH

 3HWLWLRQ 'DWH ZKLFK OLHQV DQGRU VHFXULW\ LQWHUHVWV ZHUH VHQLRU WR WKH OLHQV DQGRU VHFXULW\

 LQWHUHVWVRIHDFKRIWKH3UHSHWLWLRQ6HFXUHG3DUWLHVVXFKOLHQVDQGRUVHFXULW\LQWHUHVWVVKDOOEH

 VHQLRUWRDQ\OLHQVDQGRUVHFXULW\LQWHUHVWVJUDQWHGSXUVXDQWWRWKLV2UGHU LL WKH',3$JHQWV

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 DQ\OHWWHU V RIFUHGLWIRUZKLFK&KXEELVWKHEHQHILFLDU\RUDQ\SURFHHGVWKHUHRIDQG LLL WKLV

 2UGHUGRHVQRWJUDQWWKH'HEWRUVDQ\ULJKWWRXVHDQ\SURSHUW\ RUWKHSURFHHGVWKHUHRI KHOGE\

 &KXEEDVFROODWHUDOWRVHFXUHREOLJDWLRQVXQGHULQVXUDQFHSROLFLHVDQGUHODWHGDJUHHPHQWV

                      1R:DLYHUE\)DLOXUHWR6HHN5HOLHI7KHIDLOXUHRIWKH',3$JHQWVWKH

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 DQG UHPHGLHV XQGHU WKLV )LQDO 2UGHU WKH ',3 'RFXPHQWV WKH 3UHSHWLWLRQ 'RFXPHQWV RU

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 &RPPLWWHHRUDQ\SDUW\LQLQWHUHVW

                      %LQGLQJ(IIHFWRI)LQDO2UGHU,PPHGLDWHO\XSRQH[HFXWLRQE\WKLV&RXUW

 WKHWHUPVDQGSURYLVLRQVRIWKLV)LQDO2UGHUVKDOOEHFRPHYDOLGDQGELQGLQJXSRQDQGLQXUHWRWKH

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 RWKHU FUHGLWRUV RI DQ\ RI WKH 'HEWRUV WKH &RPPLWWHH RU DQ\ RWKHU FRXUW DSSRLQWHG FRPPLWWHH

 DSSRLQWHG LQ WKH &DVHV  DQG DOO RWKHU SDUWLHVLQLQWHUHVW DQG WKHLU UHVSHFWLYH VXFFHVVRUV DQG

 DVVLJQV LQFOXGLQJ DQ\ WUXVWHH RU RWKHU ILGXFLDU\ KHUHDIWHU DSSRLQWHG LQ DQ\ RI WKH &DVHV DQ\

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 XQDVVHUWHGFODLPV KDYHEHHQLQGHIHDVLEO\SDLGLQIXOOLQFDVKDQGDOOOHWWHUVRIFUHGLWXQGHUWKH

 ',3 )DFLOLWLHV VKDOO KDYH EHHQ FDQFHOOHG EDFNHG RU FDVK FROODWHUDOL]HG LQ DFFRUGDQFH ZLWK WKH

 WHUPVWKHUHRI VXFKSD\PHQWEHLQJZLWKRXWSUHMXGLFHWRDQ\WHUPVRUSURYLVLRQVFRQWDLQHGLQWKH

 ',3 )DFLOLWLHV ZKLFK VXUYLYH VXFK GLVFKDUJH E\ WKHLU WHUPV  DQG DOO FRPPLWPHQWV WR H[WHQG

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 VHHNDQGVKDOOQRWVHHNRUFRQVHQWWRGLUHFWO\RULQGLUHFWO\ D ZLWKRXWWKHSULRUZULWWHQFRQVHQW

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 DJDLQVW WKH 'HEWRUV QRZ H[LVWLQJ RU KHUHDIWHU DULVLQJ RI DQ\ NLQG RU QDWXUH ZKDWVRHYHU

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 ',36XSHUSULRULW\&ODLPVRUWKH$GHTXDWH3URWHFWLRQ6XSHUSULRULW\&ODLPVRWKHUWKDQWKH&DUYH

 2XW E ZLWKRXWWKHSULRUZULWWHQFRQVHQWRIWKH',3$JHQWV RUWKH3UHSHWLWLRQ$JHQWV IRUDQ\

 RUGHU DOORZLQJ XVH RI &DVK &ROODWHUDO RWKHU WKDQ DV SHUPLWWHG GXULQJ WKH 5HPHGLHV 1RWLFH

 3HULRG  UHVXOWLQJ IURP ',3 &ROODWHUDO RU 3UHSHWLWLRQ &ROODWHUDO provided however WKDW WKH

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 WRWKHH[WHQWWKDWVXFKXVHRI&DVK&ROODWHUDOZRXOGQRWUHVXOWLQD³&RQIRUPLQJ',3´DVGHILQHG



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 LQ6HFWLRQRIWKH3UHSHWLWLRQ$%/$JUHHPHQW F ZLWKRXWWKHSULRUZULWWHQFRQVHQWRIWKH

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 /LHQV H[FHSW DV VSHFLILFDOO\ SURYLGHG LQ WKH ',3 'RFXPHQWV RU G  ZLWKRXW WKH SULRU ZULWWHQ

 FRQVHQW RI WKH 3UHSHWLWLRQ $JHQWVDQ\ OLHQ RQDQ\ RI WKH ',3 &ROODWHUDO ZLWK SULRULW\ HTXDO RU

 VXSHULRU WR WKH 3UHSHWLWLRQ /LHQV RU WKH $GHTXDWH 3URWHFWLRQ /LHQV  7KH 'HEWRUV LUUHYRFDEO\

 ZDLYH DQ\ ULJKWWR VHHN DQ\ DPHQGPHQW PRGLILFDWLRQRUH[WHQVLRQRIWKLV)LQDO2UGHUZLWKRXW

 WKH SULRU ZULWWHQ FRQVHQW DV SURYLGHG LQ WKH IRUHJRLQJ RI WKH ',3 $JHQWV RU WKH 3UHSHWLWLRQ

 $JHQWV DQGQRVXFKFRQVHQWVKDOOEHLPSOLHGE\DQ\RWKHUDFWLRQLQDFWLRQRUDFTXLHVFHQFHRI

 WKH',3$JHQWVRUWKH3UHSHWLWLRQ$JHQWV1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\LQWKLV)LQDO

 2UGHUWKHFRQVHQWRIWKH3UHSHWLWLRQ$%/7HUP$JHQWDQGWKH',3$%/7HUP$JHQWVKDOOQRW

 EHUHTXLUHGIRUDQ\DPHQGPHQWRUPRGLILFDWLRQWRWKH',3'RFXPHQWVRUWKLV)LQDO2UGHULIVXFK

 DPHQGPHQW RU PRGLILFDWLRQ ZRXOG UHVXOW LQ D ³&RQIRUPLQJ ',3´ XQGHU 6HFWLRQ  RI WKH

 3UHSHWLWLRQ$%/$JUHHPHQW

                      &RQWLQXLQJ (IIHFW RI ,QWHUFUHGLWRU $JUHHPHQW  7KH 'HEWRUV WKH ',3

 $JHQWVWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHVHDFKVKDOOEHERXQGE\DQGWKHLU

 UHVSHFWLYHULJKWVVKDOOEHJRYHUQHGLQDOOUHVSHFWVE\DQGEHVXEMHFWWRDOOWKHWHUPVSURYLVLRQV

 DQGUHVWULFWLRQVRIWKH,QWHUFUHGLWRU$JUHHPHQWLQFOXGLQJZLWKUHVSHFWWRWKH',3)DFLOLWLHV

                      )LQDO2UGHU&RQWUROV,QWKHHYHQWRIDQ\LQFRQVLVWHQF\EHWZHHQWKHWHUPV

 DQGFRQGLWLRQVRIWKH',3'RFXPHQWVDQGRIWKLV)LQDO2UGHUWKHSURYLVLRQVRIWKLV)LQDO2UGHU

 VKDOOJRYHUQDQGFRQWURO

                      'LVFKDUJH  7KH ',3 $%/ 2EOLJDWLRQV WKH ',3 7HUP /RDQ 2EOLJDWLRQV

 DQGWKHREOLJDWLRQVRIWKH'HEWRUVZLWKUHVSHFWWRWKHDGHTXDWHSURWHFWLRQSURYLGHGKHUHLQVKDOO

 QRWEHGLVFKDUJHGE\WKHHQWU\RIDQRUGHUFRQILUPLQJDQ\SODQRIUHRUJDQL]DWLRQLQDQ\RIWKH



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 &DVHV QRWZLWKVWDQGLQJ WKH SURYLVLRQV RI VHFWLRQ  G  RI WKH %DQNUXSWF\ &RGH XQOHVV VXFK

 REOLJDWLRQV KDYH EHHQ LQGHIHDVLEO\ SDLG LQ IXOO LQ FDVK RWKHU WKDQ FRQWLQJHQW LQGHPQLILFDWLRQ

 REOLJDWLRQV IRU ZKLFK QR FODLP KDV EHHQ DVVHUWHG  RQ RU EHIRUH WKH HIIHFWLYH GDWH RI VXFK

 FRQILUPHGSODQRIUHRUJDQL]DWLRQRUHDFKRIWKH',3$%/$GPLQLVWUDWLYH$JHQWWKH',37HUP

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 7HUP/RDQ$JHQWDVDSSOLFDEOHKDVRWKHUZLVHDJUHHGLQZULWLQJprovidedWKDW D WKH',37HUP

 5ROO 8S /RDQV PD\ EH FRQYHUWHG LQWR 5ROO8S &RQYHUVLRQ 6KDUHV DV GHILQHG LQ WKH

 5HVWUXFWXULQJ6XSSRUW$JUHHPHQW DQG E DSRUWLRQRIWKH1HZ0RQH\',37HUP/RDQVPD\EH

 FRQYHUWHG LQWR ',3 6XUSOXV &RQYHUVLRQ 6KDUHV DV GHILQHG LQ WKH 5HVWUXFWXULQJ 6XSSRUW

 $JUHHPHQW  LQ HDFK FDVH LQ DFFRUGDQFH ZLWK D FKDSWHU  SODQ  1RQH RI WKH 'HEWRUV VKDOO

 SURSRVH RU VXSSRUWDQ\SODQRIUHRUJDQL]DWLRQRUVDOHRIDOORUVXEVWDQWLDOO\ DOORI WKH 'HEWRUV¶

 DVVHWVRUDQRUGHUFRQILUPLQJVXFKSODQRUDSSURYLQJVXFKVDOHWKDWLVQRWFRQGLWLRQHGXSRQWKH

 LQGHIHDVLEOHSD\PHQWLQIXOOLQFDVKRIWKH',3$%/2EOLJDWLRQV LQWKHFDVHRIWKHVDOHRI',3

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 7HUP3ULRULW\&ROODWHUDO  RWKHUWKDQFRQWLQJHQWLQGHPQLILFDWLRQREOLJDWLRQVIRUZKLFKQRFODLP

 KDV EHHQ DVVHUWHG  DQG WKH SD\PHQW RI WKH 'HEWRUV¶ REOLJDWLRQV ZLWK UHVSHFW WR WKH DGHTXDWH

 SURWHFWLRQSURYLGHGIRUKHUHLQLQIXOOLQFDVKZLWKLQDFRPPHUFLDOO\UHDVRQDEOHSHULRGRIWLPH

  DQGLQQRHYHQWODWHUWKDQWKHHIIHFWLYHGDWHRIVXFKSODQRIUHRUJDQL]DWLRQRUVDOH  D³3URKLELWHG

 3ODQ RU 6DOH´  ZLWKRXW WKH ZULWWHQ FRQVHQW RI HDFK RI WKH ',3 $%/ $GPLQLVWUDWLYH $JHQW WKH

 ',3 7HUP /RDQ $JHQW WKH ',3 /HQGHUV WKH 3UHSHWLWLRQ $%/ $GPLQLVWUDWLYH $JHQW DQG WKH

 3UHSHWLWLRQ7HUP/RDQ$JHQWDVDSSOLFDEOH)RUWKHDYRLGDQFHRIGRXEWWKH'HEWRUV¶SURSRVDO

 RU VXSSRUW RI D 3URKLELWHG 3ODQ RU 6DOH RU WKH HQWU\ RI DQ RUGHU ZLWK UHVSHFW WKHUHWR VKDOO

 FRQVWLWXWHDQ(YHQWRI'HIDXOWKHUHXQGHUDQGXQGHUWKH',3$%/'RFXPHQWVDQGWKH',37HUP



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 /RDQ'RFXPHQWV

                      6XUYLYDO  7KH SURYLVLRQV RI WKLV )LQDO 2UGHU DQG DQ\ DFWLRQV WDNHQ

 SXUVXDQWKHUHWRVKDOOVXUYLYHHQWU\RIDQ\RUGHU D FRQILUPLQJDQ\SODQRIUHRUJDQL]DWLRQLQDQ\

 RIWKH&DVHV E FRQYHUWLQJDQ\RIWKH&DVHVWRDFDVHXQGHU&KDSWHURIWKH%DQNUXSWF\&RGH

  F  GLVPLVVLQJ DQ\ RI WKH &DVHV RU DQ\ 6XFFHVVRU &DVHV RU G  SXUVXDQW WR ZKLFK WKLV &RXUW

 DEVWDLQVIURPKHDULQJDQ\RIWKH&DVHVRU6XFFHVVRU&DVHV8QOHVVWKHUHVSHFWLYH',3$JHQWRU

 3UHSHWLWLRQ$JHQWVKDOOKDYHSURYLGHGLWVSULRUZULWWHQFRQVHQWWKHWHUPVDQGSURYLVLRQVRIWKLV

 )LQDO 2UGHU LQFOXGLQJ WKH FODLPV OLHQV VHFXULW\ LQWHUHVWV DQG RWKHU SURWHFWLRQV JUDQWHG WR WKH

 ',3$JHQWVWKH',3/HQGHUVDQGWKH3UHSHWLWLRQ6HFXUHG3DUWLHVJUDQWHGSXUVXDQWWRWKLV)LQDO

 2UGHUDQGRUWKH',3'RFXPHQWVQRWZLWKVWDQGLQJWKHHQWU\RIDQ\VXFKRUGHUVGHVFULEHGLQ D 

  G  DERYH VKDOO FRQWLQXH LQ WKH &DVHV LQ DQ\ 6XFFHVVRU &DVHV RU IROORZLQJ GLVPLVVDO RI WKH

 &DVHVRUDQ\6XFFHVVRU&DVHVDQGVKDOOPDLQWDLQWKHLUSULRULW\DVSURYLGHGE\WKLV)LQDO2UGHU

 XQWLO L LQUHVSHFWRIWKH',3$%/&UHGLW)DFLOLW\DOOWKH',3$%/2EOLJDWLRQVSXUVXDQWWRWKH

 ',3$%/'RFXPHQWVDQGWKLV)LQDO2UGHUKDYHEHHQLQGHIHDVLEO\SDLGLQIXOOLQFDVK RWKHUWKDQ

 FRQWLQJHQWREOLJDWLRQVZLWKUHVSHFWWRWKHQXQDVVHUWHGFODLPV DQGDOOOHWWHUVRIFUHGLWXQGHUWKH

 ',3$%/&UHGLW)DFLOLW\VKDOOKDYHEHHQFDQFHOOHGRUFDVKFROODWHUDOL]HGLQDFFRUGDQFHZLWKWKH

 WHUPVWKHUHRI VXFKSD\PHQWEHLQJZLWKRXWSUHMXGLFHWRDQ\WHUPVRUSURYLVLRQVFRQWDLQHGLQWKH

 ',3$%/&UHGLW)DFLOLW\ZKLFKVXUYLYHVXFKGLVFKDUJHE\WKHLUWHUPV DQGDOOFRPPLWPHQWVWR

 H[WHQGFUHGLWXQGHUWKH',3$%/&UHGLW)DFLOLW\DUHWHUPLQDWHG LL LQUHVSHFWRIWKH3UHSHWLWLRQ

 $%/ )DFLOLW\ DOO RI WKH 3UHSHWLWLRQ $%/ 2EOLJDWLRQV SXUVXDQW WR WKH 3UHSHWLWLRQ $%/

 'RFXPHQWV DQG WKLV )LQDO 2UGHU KDYH EHHQ LQGHIHDVLEO\ SDLG LQ IXOO LQ FDVK RWKHU WKDQ

 FRQWLQJHQWLQGHPQLILFDWLRQREOLJDWLRQVIRUZKLFKQRFODLPKDVEHHQDVVHUWHG  LLL LQUHVSHFWRI

 WKH ',3 7HUP /RDQ &UHGLW )DFLOLW\ DOO WKH ',3 7HUP /RDQ 2EOLJDWLRQV SXUVXDQW WR WKH ',3



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 7HUP /RDQ 'RFXPHQWVDQGWKLV)LQDO2UGHUKDYHEHHQLQGHIHDVLEO\SDLGLQIXOOLQFDVK RWKHU

 WKDQ FRQWLQJHQW LQGHPQLILFDWLRQ REOLJDWLRQV IRU ZKLFK QR FODLP KDV EHHQ DVVHUWHG  DQG LY  LQ

 UHVSHFWRIWKH3UHSHWLWLRQ7HUP/RDQ$JUHHPHQWDOORIWKH3UHSHWLWLRQ7HUP/RDQ2EOLJDWLRQV

 SXUVXDQWWRWKH3UHSHWLWLRQ7HUP/RDQ'RFXPHQWVDQGWKLV)LQDO2UGHUKDYHEHHQLQGHIHDVLEO\

 SDLG LQ IXOO LQ FDVK RWKHU WKDQ FRQWLQJHQW LQGHPQLILFDWLRQ REOLJDWLRQV IRU ZKLFK QR FODLP KDV

 EHHQDVVHUWHG 7KHWHUPVDQGSURYLVLRQVFRQFHUQLQJWKHLQGHPQLILFDWLRQRIWKH',3$JHQWVDQG

 WKH',3/HQGHUVVKDOOFRQWLQXHLQWKH&DVHVLQDQ\6XFFHVVRU&DVHVIROORZLQJGLVPLVVDORIWKH

 &DVHV RU DQ\ 6XFFHVVRU &DVHV IROORZLQJ WHUPLQDWLRQ RI WKH ',3 'RFXPHQWV DQGRU WKH

 LQGHIHDVLEOH UHSD\PHQW RI WKH ',3 2EOLJDWLRQV  ,Q DGGLWLRQ WKH WHUPV DQG SURYLVLRQV RI WKLV

 )LQDO2UGHUVKDOOFRQWLQXHLQIXOOIRUFHDQGHIIHFWIRUWKHEHQHILWRIWKH3UHSHWLWLRQ7HUP/RDQ

 3DUWLHVQRWZLWKVWDQGLQJWKHUHSD\PHQWLQIXOORIRUWHUPLQDWLRQRIWKH',3$%/2EOLJDWLRQVRU

 WKH3UHSHWLWLRQ$%/2EOLJDWLRQV

                      Nunc Pro Tunc (IIHFW RI )LQDO 2UGHU  7KLV )LQDO 2UGHU VKDOO FRQVWLWXWH

 ILQGLQJVRIIDFWDQGFRQFOXVLRQVRIODZSXUVXDQWWR%DQNUXSWF\5XOHDQGVKDOOWDNHHIIHFW

 DQGEHHQIRUFHDEOHnunc pro tuncWRWKH3HWLWLRQ'DWHLPPHGLDWHO\XSRQH[HFXWLRQWKHUHRI

                      5HWHQWLRQ RI -XULVGLFWLRQ  7KH &RXUW KDV DQG ZLOO UHWDLQ MXULVGLFWLRQ WR

 HQIRUFHWKHWHUPVRIDQ\DQGDOOPDWWHUVDULVLQJIURPRUUHODWHGWRWKH',3)DFLOLWLHVDQGRUWKLV

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                      ',3 (OHFWLRQ 3URFHGXUHV  8SRQ HQWU\ RI WKH ,QWHULP 2UGHU WKH ',3

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 /RDQV  WKDW WLPHO\ FRPSOHWHG LWV (OHFWLRQ -RLQGHU LQ DFFRUGDQFH ZLWK WKH (OHFWLRQ 3URFHGXUHV

 EHFDPHD',37HUP/RDQ/HQGHUDQGWKH',37HUP5ROO8S/RDQVZHUHGHHPHGDOORFDWHGWR



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 DFFRXQW IRU WKH DGGLWLRQ RI VXFK ',3 7HUP /RDQ /HQGHUV DV SURYLGHG LQ WKH ',3 7HUP /RDQ

 $JUHHPHQW  $Q\ PRGLILFDWLRQV WR WKH (OHFWLRQ 3URFHGXUHV SURSRVHG E\ DQ\ 3UHSHWLWLRQ 7HUP

 /RDQ/HQGHUWKDWZHUHQRWDFFHSWHGE\WKH',37HUP/RDQ$JHQWLQZULWLQJLVYRLGDQGZLWKRXW

 HIIHFW  7KH ',3 7HUP /RDQ $JHQW PD\ LQ FRQQHFWLRQ ZLWK DOORFDWLRQV RI WKH FRPPLWPHQWV

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 'DWHGBBBBBBBBBB                              Keith L. Phillips
                                                      /s/
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 Proposed Co-Counsel to the Debtors and Debtors in Possession

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  /s/ Hugh Bernstein
 +XJK%HUQVWHLQ
 2IILFHRIWKH8QLWHG6WDWHV7UXVWHH
 :HVW/RPEDUG6WUHHW6XLWH
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 Office of the United States Trustee
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          3XUVXDQWWR/RFDO%DQNUXSWF\5XOH & ,KHUHE\FHUWLI\WKDWWKHIRUHJRLQJSURSRVHGRUGHU
 KDVEHHQHQGRUVHGE\RUVHUYHGXSRQDOOQHFHVVDU\SDUWLHV

                                                        VJeremy S. Williams 




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                                 SCHEDULE 1

                                    Budget
Weekly Cash Flow Forecast (1 of 2)

  (USD'000)                                                          1                        2                    3                    4                     5                    6                    7                    8                     9                   10                   11                  12                   13                13WKTotal                    WK14Ͳ26                 GrandTotal
                                                                    06/17                    06/24                07/01                07/08                 07/15                07/22                07/29                08/05                 08/12                08/19                08/26               09/02                09/09             06/17to09/09                09/16to12/09              06/17to12/09
                                                                     Fcst                     Fcst                 Fcst                 Fcst                  Fcst                    Fcst                 Fcst                 Fcst                  Fcst                 Fcst                 Fcst                Fcst                 Fcst
  13WeekCashFlowͲSummary

  Collections&Disbursements:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case 17-32986-KLP




  COLLECTIONS:
    StoresandEͲCommerce                                    $15,240 $15,240 $16,567 $19,296 $16,070 $16,417 $19,419 $22,272 $24,208 $25,283 $23,906 $21,654 $24,185                                                                                  $259,755 $263,433 $523,188
    Other                                                    452 2,418 2,095 441 1,569 869 807 329 2,880 939 697 579 3,591                                    17,665 20,154 37,819
                                                             15,691 17,657 18,663 19,736 17,640 17,285 20,226 22,600 27,088 26,221 24,603 22,232 27,776                                                                     277,420 283,587 561,007
  OPERATINGDISBURSEMENTS:
    Merchandise                                              12,317       2,537    9,908    11,236      6,254     15,183      14,029      15,060      13,928       7,042    9,970   10,826      10,322       138,612     121,866      260,478
    Payroll&Related                                        8,583      762   8,583    1,248    8,956     723   9,245    723   9,106     723   10,006     723   9,106      68,486    51,438     119,924
    OtherAccountsPayable                                   Ͳ      1,699    5,579    3,821    5,482     3,330    3,245    3,754    3,753     3,722    4,920   3,461    3,234      46,000    51,565     97,565
    RentͲInc.Stores,HQ,&DC                             Ͳ      Ͳ    12,410      800   Ͳ     Ͳ    13,114      800   Ͳ     Ͳ    11,588     800   Ͳ      39,512    29,254     68,766
    SalesTaxes                                              Ͳ      3,082    411   558   Ͳ     2,792    372   636   Ͳ     Ͳ    3,179   424   760     12,215    13,572     25,787
    OtherTaxes                                              84   252   Ͳ    Ͳ    93   279   Ͳ    Ͳ    93   279   Ͳ   Ͳ    93   1,174   1,024   2,198
                                                             20,984 8,333 36,891 17,663 20,785 22,307 40,006 20,973 26,880 11,766 39,663 16,234 23,515                                                                   305,999 268,720 574,719
  NONͲOPERATINGDISBURSEMENTS:
    Principal,Interest,BankFees                           6,200 Ͳ  561 Ͳ             Ͳ     Ͳ Ͳ       1,547 Ͳ        Ͳ Ͳ      1,315 Ͳ         9,623 4,679     14,302
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Document




    RestructuringProfessionalFees                          Ͳ 560 Ͳ  Ͳ             Ͳ     4,577 Ͳ       320 Ͳ       4,534 Ͳ      Ͳ Ͳ         9,992 
                                                                                                                                                                                                                                                                                                                                                                            17,450
                                                                                                                                                                                                                                                                                                                                                                                          27,442
                                                                                                                                                                                                                                                                                                                                                                                                                  
                                                             6,200 560 561 Ͳ             Ͳ     4,577 Ͳ       1,867 Ͳ        4,534 Ͳ      1,315 Ͳ         
                                                                                                                                                                                                                                                                                                                                                                         19,615 
                                                                                                                                                                                                                                                                                                                                                                            22,129
                                                                                                                                                                                                                                                                                                                                                                                          
                                                                                                                                                                                                                                                                                                                                                                                                                                41,744
                                                                                                                                                                                                                                                                                                                                                                                                                  
  NETCASHFLOW                                              $(11,493) $8,765             $(18,790) $2,073            $(3,146) $(9,599) $(19,780) $(240) $208                          $9,921      $(15,059) $4,683           $4,261        $(48,194) $(7,262)          $(55,456)

  EndingCashBalances:
     UnrestrictedBookCash                                  $Ͳ       $Ͳ   $Ͳ   $Ͳ   $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ                                                         $Ͳ $Ͳ $Ͳ
     OutstandingChecks                                      Ͳ      1,360 5,550 7,497 10,384 10,971 11,373 12,101 12,683 13,124 14,435 14,317 14,041                                                         14,041 14,707 14,707
     UnrestrictedBANKCash                                  Ͳ      1,360 5,550 7,497 10,384 10,971 11,373 12,101 12,683 13,124 14,435 14,317 14,041                                                         14,041 14,707 14,707
     RestrictedCash&2ndLienDIPTLCash                17,579 8,687 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000                                              1,000 1,000 1,000
     TotalBANKCash                                         $17,579         $10,046        $6,550      $8,497      $11,384         $11,971        $12,373        $13,101         $13,683        $14,124        $15,435       $15,317        $15,041         $15,041      $15,707       $15,707
  BorrowingBase,ABL,&Availability:
     EffectiveBBCert.                                      $172,207         $179,109        $186,952        $190,328        $187,333         $189,155        $192,232        $192,930        $188,522         $187,067        $186,189       $209,168        $215,777          $215,777       $202,357       $202,357
     Less:OutstandingABL                                  (68,534)      (50,876)     (55,263)     (53,190)     (56,336)      (65,935)     (85,715)     (85,954)     (85,746)      (75,825)     (90,884)    (86,201)     (81,940)      (81,940)   (74,201)    (74,201)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Page 94 of 101




     Less:LettersofCredit                                 (50,037)      (51,984)     (51,209)     (50,648)     (50,883)      (50,922)     (51,157)     (50,768)     (50,768)      (50,963)     (51,157)    (51,190)     (51,138)      (51,138)   (51,157)    (51,157)
     Less:MinAvailCash                                   (22,066)      (22,756)     (23,540)     (23,878)     (23,578)      (23,761)     (24,068)     (24,138)     (23,697)      (23,552)     (23,464)    (25,762)     (26,423)      (26,423)   (25,081)    (25,081)
     Less:Prof.FeeCarveOut                              (5,657)     (6,496)    (7,815)    (9,084)    (10,352)      (7,319)    (8,587)    (9,536)    (10,678)      (7,403)    (8,546)   (9,688)    (10,847)      (10,847)   (12,900)    (12,900)
  ABLAvailabilityͲEnding                                 25,914        46,997      49,125      53,528      46,183       41,219      22,704      22,534      17,633       29,324      12,138     36,327      45,429         45,429
                                                                                                                                                                                                                                                                                                                                                             39,018
                                                                                                                                                                                                                                                                                                                                                                                             39,018
                                                                                                                                                                                                                                                                                                                                                                                                                  
     2ndLienDIPTL–EndingAvailability                   21,716 21,716 15,000 15,000 15,000 15,000 15,000 15,000 15,000 15,000 15,000 15,000 15,000                                                                     
                                                                                                                                                                                                                                                                                                                                                                         15,000 
                                                                                                                                                                                                                                                                                                                                                         Ͳ 
                                                                                                                                                                                                                                                                                                                                                                                                            Ͳ
  EndingPostͲPetitionAvailability                          $47,629         $68,713        $64,125        $68,528        $61,183         $56,219        $37,704        $37,534         $32,633        $44,324        $27,138       $51,327        $60,429         $60,429 $39,018 $39,018
     Memo:EndingDIPͲTLBalance                    $ 13,284 $ 13,284                    $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $ 20,000 $20,000                                                                      $20,000 $ 35,000 $35,000
  WeeklyCovenantTests
     Collections*                                      $15,691 $17,657                    $18,663       $19,736       $17,640        $17,285       $20,226       $22,600       $27,088        $26,221       $24,603      $22,232       $27,776        $277,420       $283,587       $561,007
     OperatingDisbursements                           20,984 8,333                36,891      17,663      20,785       22,307      40,006      20,973      26,880       11,766      39,663     16,234      23,515       305,999     268,720      574,719
     EndingInventory**                                189,430 197,342                    197,543       194,699       196,634        199,810       200,646       196,432       195,153        194,457       194,889      201,028       206,108        206,108     186,386      186,386
     CreditExtensions                                 $167,021 $151,310                      $154,922        $152,288        $155,669         $165,307        $185,322        $185,172        $184,964         $175,238        $190,492       $185,841        $181,528          $181,528       $173,809       $173,809
                                                                                                                                                                                                                                                                                                                                                                                                                                               Doc 384 Filed 07/11/17 Entered 07/11/17 15:26:50




  *CurrentlytherearenoStoressubjecttoSpecifiedStoreClosingSales.
  **RepresentsGrossOnͲHandInventorypertheforecastedBorrowingBase
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Desc Main




                                                                                                                                                                                                                                                                                                                                                                                                                                           1
Weekly Cash Flow Forecast (2 of 2)

(USD'000)                                                  14                 15                 16                   17                 18                  19                  20                 21                 22                 23                   24                 25                    26                  13WKTotal                    WK14Ͳ26                 GrandTotal
                                                           09/16              09/23              09/30                10/07              10/14               10/21               10/28              11/04              11/11              11/18                11/25              12/02                 12/09               06/17to09/09                09/16to12/09              06/17to12/09
                                                               Fcst               Fcst               Fcst                 Fcst               Fcst                Fcst                Fcst               Fcst               Fcst               Fcst                 Fcst               Fcst                          Fcst
13WeekCashFlowͲSummary
                                                                                                                                                                                                                                                                                                                                                                                                                                            Case 17-32986-KLP




Collections&Disbursements:
COLLECTIONS:
  StoresandEͲCommerce                                 $17,826 $13,112 $16,249 $17,145 $16,864 $17,151 $18,599 $17,924 $21,103 $24,626 $29,839 $33,958 $19,039                                                                        $259,755 $263,433 $523,188
  Other                                                 2,231 413 1,005 3,162 763 790 1,280 273 3,994 637 647 576 4,384                                       17,665 20,154 37,819
                                                        20,057 13,525 17,255 20,306 17,626 17,941 19,878 18,197 25,097 25,263 30,486 34,534 23,423                                                           277,420 283,587 561,007
OPERATINGDISBURSEMENTS:
  Merchandise                                           6,994    9,373    10,969      10,669     16,145       17,586     7,723    4,947    6,593    5,164      6,779    11,790     7,133     138,612     121,866      260,478
  Payroll&Related                                     723   9,106    1,560     7,480    723     7,238    723   7,238    723   7,238      723   7,238    723   68,486    51,438     119,924
  OtherAccountsPayable                                3,544    3,325    3,515     3,882    3,791      4,113    4,347    5,273    3,891    4,154      4,323    3,895    3,513     46,000    51,565     97,565
  RentͲInc.Stores,HQ,&DC                          Ͳ    8,951    800    Ͳ    Ͳ      8,951    800   Ͳ    Ͳ    Ͳ      9,751    Ͳ    Ͳ     39,512    29,254     68,766
  SalesTaxes                                           Ͳ    3,798    506    617   Ͳ      3,085    411   616   Ͳ    Ͳ      3,080    584   876   12,215    13,572     25,787
  OtherTaxes                                           279   Ͳ    Ͳ     Ͳ    93   279   Ͳ    Ͳ    Ͳ    93   279   Ͳ    Ͳ     1,174   1,024   2,198
                                                        11,540 34,553 17,351 22,647 20,752 41,252 14,004 18,074 11,208 16,650 24,937 23,507 12,245                                                           305,999 268,720 574,719
NONͲOPERATINGDISBURSEMENTS:
                                                                                                                                                                                                                                                                                                                                                                                                                          Document




  Principal,Interest,BankFees                        Ͳ Ͳ       1,447 Ͳ        Ͳ Ͳ         Ͳ 1,694 Ͳ Ͳ               Ͳ    1,537 Ͳ        9,623 4,679 14,302
  RestructuringProfessionalFees                       4,032 Ͳ       20 Ͳ     4,120 Ͳ         1,001 Ͳ 4,181 Ͳ               Ͳ    Ͳ 4,096        9,992 
                                                                                                                                                                                                                                                                                                                                                 17,450 
                                                                                                                                                                                                                                                                                                                                                                           27,442
                                                                                                                                                                                                                                                                                                                                                                                   
                                                        4,032 Ͳ       1,467 Ͳ        4,120 Ͳ         1,001 1,694 4,181 Ͳ               Ͳ    1,537 4,096        
                                                                                                                                                                                                                                                                                                                                              19,615 
                                                                                                                                                                                                                                                                                                                                                 22,129 
                                                                                                                                                                                                                                                                                                                                                                           41,744
                                                                                                                                                                                                                                                                                                                                                                                   
NETCASHFLOW                                           $4,484      $(21,029) $(1,563) $(2,341) $(7,245) $(23,312) $4,873                                 $(1,571) $9,707          $8,613        $5,550      $9,490      $7,082       $(48,194) $(7,262) $(55,456)

EndingCashBalances:
   UnrestrictedBookCash                               $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ $Ͳ                                                           $Ͳ $Ͳ $Ͳ
   OutstandingChecks                                   14,068 13,914 13,943 14,260 14,440 14,842 15,351 14,437 12,830 11,889 21,100 17,496 14,707                                                           14,041 14,707 14,707
   UnrestrictedBANKCash                               14,068 13,914 13,943 14,260 14,440 14,842 15,351 14,437 12,830 11,889 21,100 17,496 14,707                                                           14,041 14,707 14,707
   RestrictedCash&2ndLienDIPTLCash             1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000 1,000                                              1,000 1,000 1,000
   TotalBANKCash                                      $15,068       $14,914       $14,943         $15,260      $15,440         $15,842       $16,351       $15,437       $13,830       $12,889         $22,100       $18,496       $15,707        $15,041      $15,707       $15,707
BorrowingBase,ABL,&Availability:
                                                                                                                                                                                                                                                                                                                                                                                                                                       Page 95 of 101




   EffectiveBBCert.                                   $221,176        $218,416        $217,356         $216,575        $213,546          $212,296        $216,634        $213,658        $214,265        $224,961          $219,367        $210,520        $202,357        $215,777       $202,357       $202,357
   Less:OutstandingABL                               (77,455)    (98,484)    (100,047)       (102,389)      (109,634)        (117,946)      (113,072)      (114,644)      (104,936)      (96,323)      (90,774)    (81,283)    (74,201)     (81,940)   (74,201)    (74,201)
   Less:LettersofCredit                              (51,092)    (51,125)    (51,157)     (51,157)    (51,157)      (51,157)    (51,157)    (51,157)    (51,157)    (51,157)      (51,157)    (51,157)    (51,157)     (51,138)   (51,157)    (51,157)
   Less:MinAvailCash                                (26,963)    (26,687)    (26,581)     (26,502)    (26,200)      (26,075)    (26,508)    (26,211)    (26,272)    (27,341)      (26,782)    (25,897)    (25,081)     (26,423)   (25,081)    (25,081)
   Less:Prof.FeeCarveOut                           (8,090)   (9,249)   (10,407)     (11,566)    (8,745)     (9,904)   (11,062)    (12,221)    (10,279)    (11,438)      (13,598)    (14,756)    (12,900)     (10,847)   (12,900)    (12,900)
ABLAvailabilityͲEnding                              57,576      32,872      29,163       24,960      17,810        7,215     14,834      9,425     21,621      38,701        37,057      37,426      39,018        45,429
                                                                                                                                                                                                                                                                                                                                  39,018
                                                                                                                                                                                                                                                                                                                                                                  39,018
                                                                                                                                                                                                                                                                                                                                                                                       
   2ndLienDIPTL–EndingAvailability                15,000 15,000 15,000 15,000 15,000 Ͳ                           Ͳ    Ͳ    Ͳ    Ͳ      Ͳ    Ͳ    Ͳ     15,000 Ͳ Ͳ
                                                                                                                                                                                                                                                                                                                                   
EndingPostͲPetitionAvailability                       $72,576       $47,872       $44,163         $39,960      $32,810         $7,215      $14,834       $9,425      $21,621       $38,701         $37,057       $37,426       $39,018        $60,429 $39,018 $39,018
   Memo:EndingDIPͲTLBalance                    $20,000 $20,000                $20,000 $20,000 $20,000 $35,000 $35,000 $35,000 $35,000 $35,000 $35,000 $35,000 $ 35,000                                                                        $20,000 $ 35,000 $35,000
WeeklyCovenantTests
   Collections*                                      $20,057 $13,525              $17,255       $20,306      $17,626        $17,941      $19,878      $18,197      $25,097      $25,263        $30,486      $34,534      $23,423       $277,420       $283,587       $561,007
                                                                                                                                                                                                                                                                                                                                                                                                                    Doc 384 Filed 07/11/17 Entered 07/11/17 15:26:50




   OperatingDisbursements                           11,540 34,553            17,351      22,647     20,752       41,252     14,004     18,074     11,208     16,650       24,937     23,507     12,245      305,999     268,720      574,719
   EndingInventory**                                203,758 202,885              202,285       199,658      198,642        202,690      200,138      200,821      210,665      205,775        197,968      190,830      186,386       206,108     186,386      186,386
   CreditExtensions                                 $176,998 $198,059                  $199,655         $201,996        $209,241          $217,553        $212,680        $214,251        $204,544        $195,931          $190,381        $180,891        $173,809        $181,528       $173,809       $173,809
*CurrentlytherearenoStoressubjecttoSpecifiedStoreClosingSales.
**RepresentsGrossOnͲHandInventorypertheforecastedBorrowingBase
                                                                                                                                                                                                                                                                                                                                                                                                                                            Desc Main




                                                                                                                                                                                                                                                                                                                                                                                                                2
     Summary of Covenant Compliance for Cash Flow Related Items

The Gymboree Corporation
Covenant Testing
Week Ending xx/xx/xxxx
($'s in Millions)


                                 Test Details                                Variance: Actuals vs. Test Thresholds                               Budget w/Version        Total/               Actuals            Total/
                                                                                                                                                                                                                                                  Case 17-32986-KLP




     #          Title                  Period Tested    %     Budget   Test Level     Actual                 Cushion vs. Test            06/17    06/24 07/01 07/08      Test      06/17   06/24 07/01   07/08   Test
                                                                                                      Better/ (Worse)         Pass/        I        I       I     I
                                                                                                         $           %         Fail
Cash Flow Tests                                                                                                                       Supporting Details
 1) Collections                  Cumulative            -10%
                                 4-week

 2) Operating                    Cumulative            +10%
    Disbursements                4-week

 3) Ending Inventory             Balance               -15%
                                                                                                                                                                                                                                Document




 4) Credit                       Balance               +10%
    Extensions
          (i) ABL RC drawn
          (ii) LC outstandings
          (iii) ABL TL drawn




5)       Capital                 Cumulative             0%
         Expenditures*           Fiscal Month
                                                                                                                                                                                                                                             Page 96 of 101




 Page & Section References of Tests in Credit Agreements                                                                                Budget Definitions
          ABL                 Term Loan          Test                                                                                       I  Initial Approved Budget Delivered on 06/09/17
 1) 5.18b(ii) - Pg 116 Budget Event def. - Pg 4 Collections                                                                                II  [Future Budget]
 2) 5.18b(iii) - Pg 116 Budget Event def. - Pg 4 Operating Disbursements                                                                  III  [Future Budget]
 3) 5.18b(i) - Pg 116            N/A             Ending Inventory                                                                         IV   [Future Budget]
 4) 4.02b - Pg 103          4.02h - Pg 43        Credit Extensions                                                                         V   [Future Budget]
 5) N/A                      7.15 - Pg 67        Capital Expenditures*

 *Tested on an accounting basis following monthly accounting close
                                                                                                                                                                                                                          Doc 384 Filed 07/11/17 Entered 07/11/17 15:26:50
                                                                                                                                                                                                                                                  Desc Main




                                                                                                                                                                                                                    3
Capital Expenditure Budget

The Gymboree Corporation
Monthly Capital Expenditure Budget
                                                                                                                                              Case 17-32986-KLP




                                     5         6         7         8         9         10       11
US$000's                      P5-17       P6-17     P7-17     P8-17     P9-17    P10-17   P11-17         Total
                               Jun         Jul       Aug       Sep       Oct       Nov      Dec        7 months
                              07/01       07/29     08/26     09/30     10/28     11/25    12/30
Total Capital Expenditures   $ 3,214     $ 1,245   $ 2,143   $ 1,160   $ 1,383   $ 2,129 $ 1,735       $ 13,008

Cumulative Test Threshold    $ 3,214     $ 4,458   $ 6,602   $ 7,762   $ 9,144   $ 11,273   $ 13,008
                                                                                                                            Document




Term Loan Credit Agreement Reference: 7.15 - Pg 67
                                                                                                                                         Page 97 of 101
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                                                                                                                  4
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                                 SCHEDULE 2

                                 Case Milestones
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                                              SCHEDULE 5.19

                                            Required Milestones

 Each of the following DIP Milestones, Plan Milestones and Sale Milestones, a “Required Milestone” and
 collectively, the “Required Milestones”:

          (a)     Achieve each of the following milestones (as any such milestone may be extended with
 the consent of the Administrative Agent and the ABL Term Loan Agent (in their sole and absolute
 discretion) for a period of not more than 10 days or for such longer period with the consent of the
 Administrative Agent, the ABL Term Loan Agent and the Required Lenders (in their sole and absolute
 discretion), collectively, the “DIP Milestones”), in each case on terms and conditions, and subject to
 documentation (including, in all cases, forms of all applicable orders) in form and substance, reasonably
 acceptable to the Administrative Agent and the ABL Term Loan Agent in all respects.

                   (i)       On the Petition Date, the Debtors shall file a motion seeking approval of the
          credit facilities evidenced by the Agreement and the DIP Term Loan Agreement.

                 (ii)     On or before 3 Business Days after the Petition Date, the Interim Order shall
          have been entered by the Bankruptcy Court.

                 (iii)   On or before 10 days after the Petition Date, the Debtors shall have filed a
          motion requesting, and within 35 days after the Petition Date shall have obtained, an order of the
          Bankruptcy Court extending the lease assumption/rejection period such that the lease
          assumption/rejection period shall be 210 days.

                   (iv)     On or before 35 days after the Petition Date, the Final Order authorizing and
          approving the facilities evidenced by the Agreement and the DIP Term Loan Agreement on a
          final basis shall have been entered by the Bankruptcy Court.

          (b)     Achieve each of the following milestones (as any such milestone may be extended with
 the consent of the Administrative Agent and the ABL Term Loan Agent (in their sole and absolute
 discretion) for a period of not more than 10 days or for such longer period with the consent of the
 Administrative Agent, the ABL Term Loan Agent and the Required Lenders (in their sole and absolute
 discretion), collectively, the “Plan Milestones”), in each case on terms and conditions, and subject to
 documentation (including, in all cases, forms of all applicable orders) in form and substance, reasonably
 acceptable to the Administrative Agent and the ABL Term Loan Agent in all respects.

                  (i)     On or before 5 days after the Petition Date, the Debtors shall have filed a Chapter
          11 plan of reorganization and a disclosure statement relating to such plan of reorganization,
          which plan of reorganization shall be supported by committed financing and the Restructuring
          Support Agreement and shall provide, among other things, for payment in full in cash of the
          Obligations and the Pre-Petition Obligations on the effective date, and the Administrative Agent
          and the ABL Term Loan Agent shall be reasonably satisfied that such plan of reorganization is
          reasonably anticipated to become effective on or prior to the 110th day after the Petition Date
          (any such Chapter 11 plan of reorganization, an “Acceptable Plan”).

                  (ii)     On or before 55 days after the Petition Date, the Debtors shall have obtained an
          order from the   Bankruptcy Court approving the disclosure statement and voting and solicitation
          procedures for   an Acceptable Plan, or if such disclosure statement and voting and solicitation
          procedures are   not approved by such date, the Debtors shall file on or before 60 days after the


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          Petition Date, a motion to approve a sale of substantially all of the Debtors’ assets (the “Sale”)
          pursuant to Section 363 of the Bankruptcy Code (the “Sale Motion”), and the terms of such Sale
          Motion and related bidding procedures shall be in form and substance reasonably acceptable to
          the Administrative Agent and the ABL Term Loan Agent.

                   (iii)   On or before 95 days after the Petition Date, either (A) the Debtors shall have
          obtained an order from the Bankruptcy Court confirming an Acceptable Plan or (B) the Debtors
          shall have obtained a stalking horse bid approved by the Administrative Agent and the ABL Term
          Loan Agent for a liquidation on an equity basis of the entire chain of Stores of the Debtors and all
          of the assets relating thereto under Section 363 of the Bankruptcy Code (the “Full Chain
          Liquidation”), which Full Chain Liquidation shall generate sufficient proceeds to repay in full in
          cash all of the Obligations and Pre-Petition Obligations.

                  (iv)    In the event that the Debtors have met Milestone (b)(iii)(B) above, on or before
          100 days after the Petition Date, the Debtors shall have obtained an order from the Bankruptcy
          Court approving bidding procedures for the Full Chain Liquidation, which bidding procedures
          shall be in form and substance reasonably acceptable to the Administrative Agent and the ABL
          Term Loan Agent.

                   (v)     In the event that the Debtors have met Milestone (b)(iii)(B), on or before 105
          days after the Petition Date, either (A) the Debtors shall have obtained an order from the
          Bankruptcy Court confirming an Acceptable Plan, which order shall be of immediate effect and
          include a waiver of the 14-day stay provision or (B) the Debtors shall have conducted an auction
          for the Full Chain Liquidation.

                  (vi)    On or before 110 days after the Petition Date, either (A) the Debtors shall have
          obtained an order of the Bankruptcy Court approving the Full Chain Liquidation or (B) the
          effective date of the Acceptable Plan shall have occurred in accordance with its terms, and the
          Debtors shall have emerged from the Chapter 11 Cases.

                  (vii)    In the event that the Debtors have met Milestone (b)(vi)(A), on or before 111
          days after the Petition Date, the Debtors shall have commenced the Full Chain Liquidation.

          (c)     Achieve each of the following milestones (as any such milestone may be extended with
 the consent of the Administrative Agent and the ABL Term Loan Agent (in their sole and absolute
 discretion) for a period of not more than 10 days or for such longer period with the consent of the
 Administrative Agent, the ABL Term Loan Agent and the Required Lenders (in their sole and absolute
 discretion), collectively, the “Sale Milestones”), in each case on terms and conditions, and subject to
 documentation (including, in all cases, forms of all applicable orders) in form and substance, reasonably
 acceptable to the Administrative Agent and the ABL Term Loan Agent in all respects.

                  (i)      If the disclosure statement and voting and solicitation procedures for an
          Acceptable Plan are not approved by the date specified in paragraph (b)(ii) above, on or before 60
          days after the Petition Date, the Debtors shall have filed the Sale Motion.

                  (ii)    If the disclosure statement and voting and solicitation procedures for an
          Acceptable Plan are not approved by the date specified in paragraph (b)(ii) above, on or before 75
          days after the Petition Date, the Bankruptcy Court shall have entered an order approving the
          bidding procedures.




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                  (iii)    If the disclosure statement and voting and solicitation procedures for an
          Acceptable Plan are not approved by the date specified in paragraph (b)(ii) above, on or before 95
          days after the Petition Date, the Bankruptcy Court shall have entered an order approving the Sale.

                 (iv)      If the disclosure statement and voting and solicitation procedures for an
          Acceptable Plan are not approved by the date specified in paragraph (b)(ii) above, on or before
          110 days after the Petition Date, the Debtors shall have consummated the Sale.

                  (v)     On or before July 17, 2017, the Debtors shall have obtained approval from the
          Bankruptcy Court to retain the Specified Liquidation Agent to assist the Debtors in conducting
          the Specified Store Closing Sales.

                  (vi)     On or before July 18, 2017, the Debtors shall have commenced, and shall
          thereafter continue, the Permitted Store Closing Sales, pursuant to the terms of the Specified
          Liquidation Agreement and any other relevant documentation referred to in the definition of
          Specified Store Closing Sales.

                  (vii)   On or before September 30, 2017, the Debtors shall have completed the
          Permitted Store Closing Sales, pursuant to the terms of the Specified Liquidation Agreement and
          any other relevant documentation referred to in the definition of Specified Store Closing Sales.

         The Loan Parties shall provide the Administrative Agent and the ABL Term Loan Agent with any
 information or materials reasonably requested by the Administrative Agent and the ABL Term Loan
 Agent in connection with the Loan Parties’ progress on achieving any Required Milestone.




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